USCA Case #22-7063     Document #1989387         Filed: 03/09/2023   Page 1 of 137



                 ORAL ARGUMENT NOT YET SCHEDULED
                                  No. 22-7063
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
            AMERICAN SOCIETY FOR TESTING AND MATERIALS, et al.,
                               Appellants
                                   v.
                       PUBLIC.RESOURCE.ORG, INC.,
                                Appellee

                  Appeal from the United States District Court
                          for the District of Columbia
                 Hon. Tanya S. Chutkan, No. 1:13-cv-1215-TSC

                             APPELLANTS’ BRIEF

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USCA Case #22-7063    Document #1989387        Filed: 03/09/2023   Page 2 of 137



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USCA Case #22-7063         Document #1989387          Filed: 03/09/2023      Page 3 of 137



   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         Pursuant to Circuit Rule 28(a)(1), Appellants certify as follows:

         A.    Parties and amici

         Appellants are American Society for Testing and Materials d/b/a/ ASTM

International (“ASTM”), National Fire Protection Association, Inc. (“NFPA”), and

American Society of Heating, Refrigerating, and Air Conditioning Engineers, Inc.

(“ASHRAE”), which were the Plaintiffs/Counter-Defendants in the district court.

Appellee is Public.Resource.Org, Inc., which was the Defendant/Counter-Plaintiff

in the district court.

         The following individuals/entities submitted amicus briefs to the district

court:

          Ann Bartow

          American Insurance Association

          American Library Association

          American National Standards Institute, Incorporated

          American Property Casualty Insurance Association

          American Society of Safety Engineers

          Brian L. Frye

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                                            i
USCA Case #22-7063       Document #1989387        Filed: 03/09/2023   Page 4 of 137



       Institute of Electrical and Electronics Engineers, Incorporated

       International Association of Plumbing & Mechanical Officials

       International Code Council, Inc.

       James Gibson

       Jessica Silbey

       Jennifer Urban

       Jonathan Zittrain

       Knowledge Ecology International

       National Electrical Manufacturers Association

       North American Energy Standards Board

       Pamela Samuelson

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       Rebecca Tushnet

       Reporters Committee for Freedom of the Press

       Sina Bahram

       Stacey Dogan

       Stacey M. Lantagne

       Underwriters Laboratories Inc.




                                         ii
USCA Case #22-7063      Document #1989387        Filed: 03/09/2023   Page 5 of 137



      B.     Rulings under review

      The rulings under review are (1) an Order, Dkt. 240 (Chutkan, J.), filed on

March 31, 2022, by the U.S. District Court for the District of Columbia in No. 13-

cv-1215, for which no reported citation exists; and (2) a Memorandum Opinion, Dkt.

239 (Chutkan, J.), and the Appendix thereto, Dkt. 239-1 (Chutkan, J.), filed on

March 31, 2022, by the U.S. District Court for the District of Columbia in No. 13-

cv-1215, available at 2022 WL 971735.

      C.     Related cases

      This case was previously before this Court in No. 17-7035, American Society

for Testing, et al v. Public.Resource.Org, Inc. Counsel are not aware of any other

related cases before this Court.




                                        iii
USCA Case #22-7063       Document #1989387          Filed: 03/09/2023   Page 6 of 137



                   CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit Rules

26.1 and 28(a)(1), Appellants respectfully submit the following corporate disclosure

statements.

         American Society for Testing and Materials (“ASTM”) hereby submits the

following disclosure as a nongovernmental corporate party: ASTM is a not-for-

profit corporation. It has no parent corporation and there is no publicly held

corporation that owns 10% or more of its stock.

         National Fire Protection Association, Inc. (“NFPA”) hereby submits the

following disclosure as a nongovernmental corporate party: NFPA is a not-for-profit

corporation. It has no parent corporation and there is no publicly held corporation

that owns 10% or more of its stock.

         American Society of Heating, Refrigerating, and Air Conditioning Engineers,

Inc. (“ASHRAE”) hereby submits the following disclosure as a nongovernmental

corporate party:     ASHRAE is a not-for-profit corporation.       It has no parent

corporation and there is no publicly held corporation that owns 10% or more of its

stock.




                                          iv
USCA Case #22-7063                Document #1989387                        Filed: 03/09/2023              Page 7 of 137



                                         TABLE OF CONTENTS

                                                                                                                     Page

CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES ..............i
CORPORATE DISCLOSURE STATEMENT ........................................................iv
TABLE OF CONTENTS ........................................................................................... v
TABLE OF AUTHORITIES ................................................................................. viii
GLOSSARY OF ABBREVIATIONS ................................................................... xiii
STATEMENT OF JURISDICTION.......................................................................... 1
STATEMENT OF ISSUES ....................................................................................... 1
STATUTES AND REGULATIONS ......................................................................... 1
INTRODUCTION ..................................................................................................... 2
STATEMENT OF THE CASE .................................................................................. 5
I.       BACKGROUND ............................................................................................. 5
         A.       Plaintiffs’ creation of voluntary consensus standards depends
                  on robust copyright protection. ............................................................. 5
         B.       Incorporation by reference is a longstanding public-private
                  partnership that protects copyright. ....................................................... 6
         C.       Plaintiffs make their IBR’d standards widely available to the
                  public, including through free online access. ........................................ 9
II.      PROCEDURAL HISTORY .......................................................................... 10
         A.       ASTM I ................................................................................................. 10
         B.       ASTM II ............................................................................................... 11
         C.       ASTM III .............................................................................................. 12
SUMMARY OF ARGUMENT ............................................................................... 14
STANDARD OF REVIEW ..................................................................................... 16
ARGUMENT ........................................................................................................... 17
I.       THE DISTRICT COURT ERRED IN ANALYZING FAIR USE. .............. 17
         A.       Factor 1: Public.Resource.Org’s wholesale distribution of
                  Plaintiffs’ Works is not transformed by purportedly making
                  “the law” available to the public. ........................................................ 18

                                                            v
USCA Case #22-7063           Document #1989387                        Filed: 03/09/2023              Page 8 of 137



                                   TABLE OF CONTENTS
                                       (continued)
                                                                                                                 Page

            1.       Public.Resource.Org does not limit its copying to
                     portions of Works that are essential to comprehending
                     legal duties. ............................................................................... 19
                     a.        Plaintiffs introduced substantial evidence showing
                               that whole Works and portions thereof were not
                               essential to complying with the law. .............................. 20
                     b.        The district court’s truncated review of the Works
                               did not follow this Court’s direction. ............................. 24
            2.       Under the “circumstances” of Public.Resource.Org’s
                     copying and distribution, Public.Resource.Org’s use is
                     not transformative because Plaintiffs already make their
                     standards freely available. ......................................................... 31
      B.    Factor 2: The “nature of the copyrighted works” does not favor
            fair use. ................................................................................................ 34
      C.    Factor 3: Public.Resource.Org copies and posts entire Works
            without attempting to limit its distribution to those portions of
            Works that are essential to complying with the law. .......................... 36
      D.    Factor 4: Public.Resource.Org’s substitutional use undermines
            the actual and potential markets for Plaintiffs’ Works. ...................... 39
            1.       Public.Resource.Org bears the burden on the fourth fair
                     use factor. .................................................................................. 40
            2.       Public.Resource.Org did not meet its burden. .......................... 42
II.   THE DISTRICT COURT ABUSED ITS DISCRETION IN NOT
      ENJOINING PUBLIC.RESOURCE.ORG FROM FUTURE
      INFRINGEMENT OF PLAINTIFFS’ COPYRIGHTS. ............................... 48
      A.    The district court correctly found that remedies available at law
            are inadequate and the balance of hardships favors an
            injunction. ............................................................................................ 49
      B.    The district court correctly found at least some irreparable harm
            and a public interest that favors an injunction. ................................... 50
      C.    The district court erred in not recognizing that Plaintiffs had
            proven several types of substantial irreparable harm. ......................... 51

                                                       vi
USCA Case #22-7063                Document #1989387                        Filed: 03/09/2023              Page 9 of 137



                                        TABLE OF CONTENTS
                                            (continued)
                                                                                                                      Page

                  1.       Public.Resource.Org’s copyright infringement threatens
                           Plaintiffs’ business models. ...................................................... 51
                  2.       Plaintiffs face irreparable harm to the exclusivity of their
                           rights.......................................................................................... 53
                  3.       Public.Resource.Org’s conduct poses substantial
                           reputational harm. ..................................................................... 54
         D.       The district court abused its discretion in allowing the
                  speculative possibility of future IBR to thwart entry of a
                  permanent injunction. .......................................................................... 55
CONCLUSION ........................................................................................................ 57
CERTIFICATE OF COMPLIANCE ....................................................................... 59
APPENDIX TO APPELLANTS’ BRIEF......................................................... APP-1
ADDENDUM OF STATUTES AND REGULATIONS ................................ADD-1
CERTIFICATE OF SERVICE .........................................................................COS-1




                                                           vii
USCA Case #22-7063               Document #1989387                      Filed: 03/09/2023           Page 10 of 137



                                      TABLE OF AUTHORITIES

                                                                                                            Page(s)

 FEDERAL CASES

 * Am. Soc’y for Testing & Materials v. Public.Resource.org, Inc.,
   2017 WL 473822 (D.D.C. Feb. 2, 2017) ........................................5, 6, 10, 11, 42

 * Am. Soc’y for Testing & Materials v. Public.Resource.Org, Inc.,
   896 F.3d 437 (D.C. Cir. 2018) ........ 2, 4, 5, 11, 12, 15, 17, 18, 19, 20, 22, 23, 24
    ...................... 26, 27, 28, 29, 30, 31, 32, 34, 35, 36, 37, 38, 43, 45, 45, 46, 47, 48

 Andy Warhol Foundation for the Visual Arts, Inc. v. Goldsmith,
   No. 21-869 (U.S.) ............................................................................................... 18

 Authors Guild, Inc. v. HathiTrust,
    755 F.3d 87 (2d Cir. 2014) ................................................................................. 32

 Authors Guild v. Google, Inc.,
    804 F.3d 202 (2d Cir. 2015) ............................................................................... 37

 Bell Helicopter Textron Inc. v. Airbus Helicopters,
    78 F. Supp. 3d 253 (D.D.C. 2015) ...................................................................... 49

 Bell v. Eagle Mountain Saginaw Indep. Sch. Dist.,
    27 F.4th 313 (5th Cir. 2022) ............................................................................... 41

 BMG Music v. Gonzalez,
   430 F.3d 888 (7th Cir. 2005) .............................................................................. 45

 Cambridge Univ. Press v. Patton,
   769 F.3d 1232 (11th Cir. 2014) ..............................................................40, 41, 42

 * Campbell v. Acuff-Rose Music, Inc.,
   510 U.S. 569 (1994) ....................................................... 19, 31, 33, 34, 39, 40, 43

 Capitol Sprinkler Inspection, Inc. v. Guest Servs., Inc.,
   630 F.3d 217 (D.C. Cir. 2011) ............................................................................ 16

 Cariou v. Prince,
   714 F.3d 694 (2d Cir. 2013) ............................................................................... 32


 * Authorities upon which Plaintiffs principally rely are marked with asterisks.
                                         viii
USCA Case #22-7063               Document #1989387                      Filed: 03/09/2023           Page 11 of 137



                                      TABLE OF AUTHORITIES
                                            (continued)
                                                                                                            Page(s)

 Disney Enterprises, Inc. v. VidAngel, Inc.,
    869 F.3d 848 (9th Cir. 2017) .............................................................................. 51

 Doe v. Mattis,
   889 F.3d 745 (D.C. Cir. 2018) ............................................................................ 16

 Dr. Seuss Enterprises, L.P. v. ComicMix LLC,
    983 F.3d 443 (9th Cir. 2020) .............................................................................. 41

 * eBay Inc. v. MercExchange, LLC,
    547 U.S. 388 (2006) ............................................................................................ 48

 Fox Broad. Co. v. Dish Network LLC,
   747 F.3d 1060 (9th Cir. 2014) ......................................................................41, 42

 Georgia v. Public.Resource.Org, Inc.,
   140 S. Ct. 1498 (2020) ........................................................................................ 13

 Groupe SEB USA, Inc. v. Euro-Pro Operating LLC,
   774 F.3d 192 (3d Cir. 2014) ............................................................................... 54

 Harper & Row Publishers, Inc. v. Nation Enterprises,
   471 U.S. 539 (1985) ......................................................................................39, 40

 Int’l Code Council, Inc. v. UpCodes, Inc.,
     2020 WL 2750636 (S.D.N.Y. May 27, 2020) ...................................................... 4

 Jennings v. Stephens,
    574 U.S. 271 (2015) ............................................................................................ 14

 Klein v. Perry,
    216 F.3d 571 (7th Cir. 2000) ........................................................................25, 29

 Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd.,
   518 F. Supp. 2d 1197 (C.D. Cal. 2007) .............................................................. 53

 Nat’l Fire Prot. Ass’n, Inc. v. UpCodes, Inc.,
   2021 WL 4913276 (C.D. Cal. Aug. 9, 2021) ................................................. 4, 48



                                                          ix
USCA Case #22-7063                 Document #1989387                      Filed: 03/09/2023            Page 12 of 137



                                       TABLE OF AUTHORITIES
                                             (continued)
                                                                                                               Page(s)

 OSI, Inc. v. United States,
   285 F.3d 947 (11th Cir. 2002) ............................................................................ 25

 Presidio Components, Inc. v. Am. Technical Ceramics Corp.,
    702 F.3d 1351 (Fed. Cir. 2012) .......................................................................... 51

 Sony Corporation of America v. Universal City Studios, Inc.,
    464 U.S. 417 (1984) ......................................................................................40, 41

 Stoe v. Barr,
    960 F.3d 627 (D.C. Cir. 2020) ............................................................................ 16

 Stormans, Inc. v. Selecky,
    586 F.3d 1109 (9th Cir. 2009) ............................................................................ 55

 Stuller, Inc. v. Steak N Shake Enterprises, Inc.,
    695 F.3d 676 (7th Cir. 2012) .............................................................................. 51

 Walt Disney Co. v. Powell,
   897 F.2d 565 (D.C. Cir. 1990) ......................................................................53, 56

 William R. Warner & Co. v Eli Lilly & Co.,
    265 U.S. 526 (1924) ............................................................................................ 53

 Worldwide Church of God v. Philadelphia Church of God, Inc.,
   227 F.3d 1110 (9th Cir. 2000) ............................................................................ 37

 FEDERAL STATUTES

 5 U.S.C. § 552(a)(1) ................................................................................................... 7

 17 U.S.C. § 107(1) ................................................................................................... 18

 17 U.S.C. § 107(3) ................................................................................................... 36

 17 U.S.C. § 107(4) ................................................................................................... 39

 17 U.S.C. § 502(a) ................................................................................................... 48




                                                             x
USCA Case #22-7063               Document #1989387                     Filed: 03/09/2023           Page 13 of 137



                                     TABLE OF AUTHORITIES
                                           (continued)
                                                                                                           Page(s)

 National Technology Transfer and Advancement Act of 1995, Pub. L.
   No. 104-113, § 12(d)(1), 110 Stat. 775 (1996) ..................................................... 7

 STATE STATUTES

 Alaska Stat. Ann. § 44.42.067(b)-(c) ....................................................................... 47

 Cal. Health and Safety Code § 18910 et seq.............................................................. 7

 30 Tex. Admin. Code § 217.326 .............................................................................. 47

 FEDERAL REGULATIONS

 1 C.F.R. § 51.1 et seq. (2021) .................................................................................... 7

 33 C.F.R. Pt. 154, App. C, § 2.3.1 (1999) ............................................................... 30

 33 C.F.R. Pt. 154, App. C, § 6.2 (1999) .................................................................. 30

 33 C.F.R. Pt. 154, App. C, § 6.3 (1999) .................................................................. 30

 33 C.F.R. Pt. 154, App. C, § 2.3.1 (2014) ............................................................... 30

 33 C.F.R. Pt. 154, App. C, § 6.2 (2014) .................................................................. 30

 33 C.F.R. Pt. 154, App. C, § 6.3 (2014) .................................................................. 30

 38 C.F.R. § 39.63 (2011) .............................................................................21, 28, 36

 40 C.F.R. Pt. 75, App. D (2010) ........................................................................22, 30

 40 C.F.R. § 136.3(a) (2003) ...............................................................................29, 39

 40 C.F.R. § 1065.1010 (2008) ................................................................................. 23

 40 C.F.R. § 1065.1010 (2021) ................................................................................. 24

 46 C.F.R. § 39.1005(h)(1) (2021) ............................................................................ 28

 46 C.F.R. § 39.2009(a)(1)(iii)(B) (2021) ................................................................. 28



                                                          xi
USCA Case #22-7063                 Document #1989387                       Filed: 03/09/2023             Page 14 of 137



                                        TABLE OF AUTHORITIES
                                              (continued)
                                                                                                                 Page(s)

 46 C.F.R. § 56.60-2 (1997) ...................................................................................... 20

 73 Fed. Reg. 25,098 (May 6, 2008) ......................................................................... 24

 79 Fed. Reg. 66,267 (Nov. 7, 2014)........................................................................... 8

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 Emily S. Bremer, Technical Standards Meet Administrative Law: A
   Teaching Guide on Incorporation by Reference, 71 Admin. L. Rev.
   315 (2019) ............................................................................................................. 8

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    (Feb. 19, 1998), as revised 81 Fed. Reg. 4673 (Jan. 27, 2016) ............................ 7

 4 Patry on Copyright § 10:148 ................................................................................ 41




                                                             xii
USCA Case #22-7063   Document #1989387         Filed: 03/09/2023    Page 15 of 137



                     GLOSSARY OF ABBREVIATIONS

 ASHRAE          American Society of        Heating,    Refrigerating,   and   Air
                 Conditioning Engineers

 ASTM            American Society for Testing and Materials

 IBR             Incorporation by Reference

 NFPA            National Fire Protection Association

 SMF             Plaintiffs’ Statement of Material Facts in Support of Their
                 Motion for Summary Judgment

 2d. Supp. SMF   Plaintiffs’ Second Supplemental Statement of Material Facts in
                 Support of Their Second Motion for Summary Judgment

 3d. Supp. SMF   Plaintiffs’ Third Supplemental Statement of Material Facts in
                 Support of Their Second Motion for Summary Judgment




                                     xiii
USCA Case #22-7063         Document #1989387          Filed: 03/09/2023    Page 16 of 137



                          STATEMENT OF JURISDICTION

          The district court had jurisdiction under, inter alia, 28 U.S.C. §§ 1331 and

 1338(a) because this case involves claims of copyright infringement in violation of

 17 U.S.C. § 501. On March 31, 2022, the district court issued an order and opinion

 granting in part and denying in part Plaintiffs’ motion for a permanent injunction.

 Plaintiffs filed a timely notice of appeal on April 28, 2022. This Court has

 jurisdiction under 28 U.S.C. § 1292(a)(1) because the district court denied in part

 Plaintiffs’ motion for injunctive relief.

                               STATEMENT OF ISSUES

          1.      Whether the district court erred in holding that Defendant

 Public.Resource.Org’s indiscriminate copying of Plaintiffs’ copyrighted works

 constituted a fair use under 17 U.S.C. § 107—a ruling that applied to 185 of the 217

 copyrighted works (the “Works”) at issue in Plaintiffs’ motion for summary

 judgment.

          2. Whether the district court erred in refusing to enter a permanent injunction

 after finding that Public.Resource.Org infringed 32 of the copyrighted works at

 issue.

                          STATUTES AND REGULATIONS

          Pertinent statutory and regulatory provisions are reproduced in the Addendum

 to this brief.



                                             1
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 17 of 137



                                 INTRODUCTION

       This case concerns Public.Resource.Org’s copying and distribution of

 hundreds of Plaintiffs’ copyrighted standards, many of which have been

 incorporated by reference (“IBR’d”) into statute or regulation. Public.Resource.Org

 tries to justify its mass infringement arguing that these privately authored standards

 are “the law.” Declining to adopt that sweeping argument, this Court remanded this

 case with instructions to “weigh the [statutory fair use] factors as applied to

 [Public.Resource.Org]’s use of each standard” in issue. Am. Soc’y for Testing &

 Materials v. Public.Resource.Org, Inc., 896 F.3d 437, 449 (D.C. Cir. 2018) (ASTM

 II) (emphasis added). Under that directive, the district court should have determined

 whether “the relevant portions of… particular standard[s]” that Public.Resource.Org

 copied and distributed were “essential to comprehending one’s legal duties” (factor

 one), and whether Public.Resource.Org’s actions created an “adverse impact on the

 market for the copyrighted works [Public.Resource.Org] reproduced” (factor four).

 Id. at 450, 452-53 (emphasis added).

       The district court failed to follow this Court’s direction. The district court

 ignored Plaintiffs’ uncontroverted evidence establishing that Public.Resource.Org

 copied and distributed substantial portions of Plaintiffs’ works that are neither

 “legally binding” nor “essential to comprehending one’s legal duties.” Id. at 447,

 450. This material included, for example, background information regarding the



                                           2
USCA Case #22-7063        Document #1989387            Filed: 03/09/2023    Page 18 of 137



 standards’ histories and material that expressly stated that it did not impose any

 requirement or obligation. On market harm, the district court committed legal error

 by placing on Plaintiffs the burden of negating the existence of such harm, when

 Public.Resource.Org has the burden of proving each factor of its fair use affirmative

 defense. The court compounded this error by failing to account for Plaintiffs’

 unrebutted evidence that unrestricted use of the type Public.Resource.Org made of

 Plaintiffs’ works would destroy the market for Plaintiffs’ works, and therefore

 concluding this factor favored Public.Resource.Org. Even for the couple dozen

 standards where the district court did not find fair use, it erred, denying the injunction

 Plaintiffs sought even where the court found they had met, at least in part, all four

 injunctive-relief factors.

       The result of these and other errors is a decision that threatens a public-private

 partnership that has made invaluable contributions to public safety and the country’s

 economic well-being for over a century. Plaintiffs and other self-funded, non-profit

 standards development organizations are able to create, maintain, and disseminate

 their works—including making those works available online for free viewing—only

 because copyright protects those organizations’ right to receive remuneration from

 the businesses and industry professionals who consume copies and downloads of

 those works in furtherance of their profit-making enterprises. Plaintiffs make the

 standards in issue available for free public viewing by anyone who wants to know



                                             3
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023   Page 19 of 137



 what they say. Public.Resource.Org’s indiscriminate mass copying and distribution

 of Plaintiffs’ works allows the same market participants who otherwise would pay

 for Plaintiffs’ works to, instead, freely copy and further disseminate those works,

 including substantial portions that are not essential for anyone to comprehend any

 legal duties.

       This Court specifically noted that the fair use defense was supposed to

 “allow[] copying only where it serves a public end rather than permitting competitors

 to merely sell duplicates at a lower cost.” ASTM II, 896 F.3d at 447. But in allowing

 Public.Resource.Org’s mass infringement, the district court’s decision invites

 exactly the result this Court sought to avoid. Already, a venture-capital-backed

 startup that directly competes with standards development organizations is arguing

 that fair use permits its wholesale copying and distribution of huge swaths of

 copyrighted standards that are IBR’d (including standards of Plaintiffs NFPA and

 ASHRAE), regardless of whether the copied portions may be said to impose any

 legal duties. See Nat’l Fire Prot. Ass’n, Inc. v. UpCodes, Inc., 2021 WL 4913276

 (C.D. Cal. Aug. 9, 2021); Int’l Code Council, Inc. v. UpCodes, Inc., 2020 WL

 2750636 (S.D.N.Y. May 27, 2020).

       The district court’s decision on fair use should be vacated and remanded for

 proper application of this Court’s fair use test, focusing on whether

 Public.Resource.Org has posted only material “essential” to complying with the law.



                                          4
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 20 of 137



 And, given Plaintiffs’ clear entitlement to a permanent injunction as to certain

 standards, the Court should also reverse the district court’s denial of that injunction.

                           STATEMENT OF THE CASE

 I.    Background

       A.     Plaintiffs’ creation of voluntary consensus standards depends on
              robust copyright protection.

       Plaintiffs—private non-profits—are standards development organizations

 whose public-service missions include promoting public health and safety and

 encouraging environmental sustainability. JA258, 270, 278 (SMF ¶¶9, 86, 129).

 The standards at issue include product specifications, methods for manufacturing

 and testing materials, and recommended practices to ensure safety and efficiency.

 See ASTM II, 896 F.3d at 441. Plaintiffs create their standards through a voluntary

 consensus process. Am. Soc’y for Testing & Materials v. Public.Resource.org, Inc.,

 2017 WL 473822, at *2 (D.D.C. Feb. 2, 2017) (ASTM I). That consensus process

 ensures that standards reflect balanced input and expertise of a wide range of

 interested parties, including consumer groups, industry representatives, academics,

 technical experts, and representatives from government. See id.; ASTM II, 896 F.3d

 at 441.

       It requires a substantial investment—millions a year—to create voluntary

 consensus standards. JA263, 273, 283 (SMF ¶¶44, 105, 152). Those expenses arise

 from work including convening technical committee meetings, collecting research


                                            5
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 21 of 137



 and data, employing technical experts, and gathering public input. JA263, 273, 283

 (SMF ¶¶43, 104, 152).

       Plaintiffs recoup those substantial costs, and support their overall mission-

 driven activities, the same way copyright owners generally do: by selling and

 licensing copies of their copyrighted standards. JA263-264, 273, 283-284, 301

 (SMF ¶¶43-47, 104-08, 152-56, 251-52). The companies and individuals who buy

 Plaintiffs’ standards are typically people in the affected industries who use standards

 in their professional trade. See ASTM I, 2017 WL 473822, at *4, 10-11; JA264, 273,

 283-284 (SMF ¶¶45-47, 106-08, 153-54). Plaintiffs generate the majority of their

 revenues (sometimes two-thirds or more) from selling copies of their standards.

 JA264, 273, 283 (SMF ¶¶47, 106, 153). Threatening Plaintiffs’ ability to enforce

 their copyright jeopardizes their ability to continue their current standards-

 development work. JA709-710, 772, 776 (Jarosz Report ¶¶6, 153, 163).

       B.     Incorporation by reference is a longstanding public-private
              partnership that protects copyright.

       Governments have long recognized the value of voluntary consensus

 standards. At the federal level, Congress mandated in the National Technology

 Transfer and Advancement Act of 1995 that agencies “use technical standards that

 are developed or adopted by voluntary consensus standards bodies, using such

 technical standards… to carry out policy objectives or activities.” Pub. L. No. 104-




                                           6
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 22 of 137



 113, § 12(d)(1), 110 Stat. 775, 783 (1996). Some states have similar requirements.

 See, e.g., Cal. Health and Safety Code § 18910 et seq.

       Governments are cognizant of the copyrights held by Plaintiffs and others and

 the importance of that protection to the overall public-private partnership. They

 have accordingly relied on those standards in their statutes and regulations through

 a process of IBR. Under this approach, rather than creating a new set of rules out of

 whole cloth, a government entity—for example, a federal agency or a state

 legislature—references the applicable standard as extrinsic material when drafting

 its statute or regulation. See 5 U.S.C. § 552(a)(1); 1 C.F.R. § 51.1 et seq. IBR serves

 an intentional balance: it saves governments (and, in turn, taxpayers) the cost and

 administrative burden of creating and updating their own standards, and also protects

 the copyrights of standards development organizations. See Office of Management

 and Budget Circular A-119, 63 Fed. Reg. 8546 (Feb. 19, 1998), as revised 81 Fed.

 Reg. 4673 (Jan. 27, 2016), available at 2016 WL 7664625, at *13, 19-20. Because

 standards reflect best practices and accordingly often already dictate industry norms,

 the IBR process decreases “the burden of complying with agency regulation.” Id. at

 13.   Further, IBR “provid[es] incentives” for private standards development

 organizations to create “standards that serve national needs… promoting efficiency,

 economic competition, and trade.” Id.




                                           7
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 23 of 137



       Given the tremendous public benefits that flow from reliance on private

 standards, the IBR process is incredibly widespread.          The Code of Federal

 Regulations has over 23,000 sections incorporating private standards. Emily S.

 Bremer, Technical Standards Meet Administrative Law: A Teaching Guide on

 Incorporation by Reference, 71 Admin. L. Rev. 315, 316-17 (2019). All 50 states

 and numerous localities also employ the practice. For example, NFPA standards

 have been IBR’d, either directly or indirectly, in over 16,000 state and local statutes

 and regulations.

       Because copyright protection is necessary for Plaintiffs to continue

 developing standards, that copyright protection is, in turn, necessary for

 governments to be able to rely on those standards. If Plaintiffs cannot fund their

 work through copyright, governments cannot use those standards in their statutes

 and regulations. As the Office of the Federal Register put it, making IBR’d standards

 free “would compromise the ability of regulators to rely on voluntary consensus

 standards, possibly requiring them to create their own standards, which is contrary

 to the [National Technology Transfer and Advancement Act of 1995] and the [Office

 of Management and Budget] Circular A-119.” 79 Fed. Reg. 66,267, 66,268 (Nov.

 7, 2014).




                                           8
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 24 of 137



        C.    Plaintiffs make their IBR’d standards widely available to the
              public, including through free online access.

        Consistent with Plaintiffs’ non-profit status and public-service missions,

 Plaintiffs make their IBR’d standards available to the public through multiple

 channels. Most notably, Plaintiffs make all their IBR’d standards available for free

 read-only access on their websites. JA5107 (2d. Supp. SMF ¶85); see also infra note

 10.1   That format allows anyone to read the text of a standard but prevents

 downloading and printing copies that would substitute for Plaintiffs’ paid offerings.

 See pp. 43-45, infra. Thus, this format permits Plaintiffs to further their public-

 interest missions, while preventing unauthorized distribution that would supplant

 Plaintiffs’ sales of standards to the industry professionals who rely on those

 standards in their work. JA5107-5108 (2d. Supp. SMF ¶¶85, 88-89).

        Given Plaintiffs’ efforts to ensure public access to their standards, it is

 unsurprising that there is no evidence in the record that anyone has ever been unable

 to access one of the standards at issue in this litigation to comply with a government

 regulation. To the contrary, the undisputed evidence shows that people who rely on




        1
          Plaintiffs also sell hard and digital copies of their standards, principally to
 industry professionals, at reasonable prices. JA265, 272, 284 (SMF ¶¶58, 99, 158)
 (prices generally ranged from $25 to $120, with no standard more than $200). Some
 standards are also available as part of a membership or subscription. JA5105 (2d.
 Supp. SMF ¶78).


                                            9
USCA Case #22-7063        Document #1989387            Filed: 03/09/2023    Page 25 of 137



 standards can obtain them with little difficulty. JA270, 305 (SMF ¶¶89, 275); JA703

 (Thomas Decl. ¶¶44-54); JA674-675 (Reiniche Decl. ¶¶18-20).

 II.    Procedural History

        A.    ASTM I

        Public.Resource.Org is a non-profit with the stated mission of “mak[ing] the

 law and other government materials more widely available.” ASTM I, 2017 WL

 473822, at *2 (citation omitted). Public.Resource.Org does not claim that it needs

 access to any of Plaintiffs’ standards to comply with government regulations.

 Instead, it seeks the right to post copies of Plaintiffs’ standards on its website so that

 others can copy, print, distribute, or make derivative works of Plaintiffs’ standards

 for free.

        Starting in December 2012, Public.Resource.Org began posting copies of

 Plaintiffs’ standards that it claimed (erroneously, in some instances, JA5070-5081

 (2d. Supp. SMF ¶36)) had been IBR’d on its website and on the Internet Archive.

 JA289 (SMF ¶186). Any user can download, copy, or print Public.Resource.Org’s

 versions of Plaintiffs’ standards for free, without any restrictions on use or further

 dissemination of the standards. ASTM I, 2017 WL 473822, at *23; JA289, 292 (SMF

 ¶¶185, 202, 204). Plaintiffs’ standards have been downloaded tens of thousands of

 times from the Public.Resource.Org and Internet Archive sites. JA299 (SMF ¶¶241-

 42); JA5110-5115 (2d. Supp. SMF ¶¶98, 102). And, while Public.Resource.Org



                                            10
USCA Case #22-7063      Document #1989387          Filed: 03/09/2023   Page 26 of 137



 posted those standards bearing Plaintiffs’ names and logos, Public.Resource.Org’s

 copying process introduced errors into the reproduced works. JA288-290, 294 (SMF

 ¶¶182, 185, 188-91, 195, 214-216). The net result is that Public.Resource.Org

 reproduces and displays wholesale, inferior copies of Plaintiffs’ standards with the

 purported aim of making IBR’d standards freely accessible—even though Plaintiffs

 already provide free access to all IBR’d standards.

       In 2013, Plaintiffs filed suit for copyright infringement to enjoin

 Public.Resource.Org’s mass copying and distribution of their standards. Rejecting

 Public.Resource.Org’s arguments across the board, the district court granted

 summary judgment and permanent injunctive relief to Plaintiffs. ASTM I, 2017 WL

 473822, at *25.

       B.     ASTM II

       On appeal, this Court understood both Plaintiffs and Public.Resource.Org to

 be seeking “a bright-line rule either prohibiting (the [Plaintiffs]) or permitting

 ([Public.Resource.Org]) all of [Public.Resource.Org]’s uses of every standard

 incorporated by reference into law.” ASTM II, 896 F.3d at 446. This Court declined

 to adopt such a rule. Instead, it remanded for further factual development regarding

 Public.Resource.Org’s argument that its use of Plaintiffs’ standards was a fair use

 on the theory that Public.Resource.Org was merely posting material “essential to

 understanding one’s legal obligations.” Id. at 453. The Court emphasized that the



                                         11
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 27 of 137



 fair use analysis would need to take account of the significant variation among

 standards and the way standards are IBR’d. See, e.g., id. at 443, 447. And it directed

 the district court to assess whether Public.Resource.Org had justified its fair use

 defense as to each portion of the standards it posted. Id. at 450. As this case involves

 about 200 standards, the Court suggested considering “whether the standards are

 susceptible to groupings that are relevant to the fair use analysis.” Id. at 449.

       C.     ASTM III

       On remand, the parties cross-moved for summary judgment as to 217 of

 Plaintiffs’ standards. Following this Court’s direction, Plaintiffs engaged in a

 detailed analysis of each standard, explaining why Public.Resource.Org’s fair use

 defense failed for (at least) portions of each standard, and offering various groupings

 “relevant to the fair use analysis,” ASTM II, 896 F.3d at 449. JA5070-5105 (2d.

 Supp. SMF ¶¶36-76). Disregarding this Court’s effort to avoid a “bright-line”

 resolution of the case, ASTM II, 896 F.3d at 446, Public.Resource.Org, by contrast,

 insisted that any standard that has been IBR’d in any way and to any extent could be

 freely posted in its entirety. See Public.Resource.Org Second Motion for Summary

 Judgment 21-30, Dkt. 202; JA5068 (2d. Supp. SMF ¶¶31-32) (Public.Resource.Org

 disavowing obligation to conduct fine-grained analysis of standards’ legal effect,

 claiming that “entirety of each standard” is IBR’d and Public.Resource.Org “is not

 an attorney” and could not provide legal advice). Public.Resource.Org largely did



                                           12
USCA Case #22-7063       Document #1989387             Filed: 03/09/2023     Page 28 of 137



 not respond to Plaintiffs’ arguments about why particular standards or particular

 portions thereof were not essential to complying with any legal duty.

       The district court granted in part and denied in part both motions. The court

 first ruled that Plaintiffs own valid copyrights in each standard. JA9280-9285

 (Memorandum       Opinion    16-21).       In   the    process,   the     court   rejected

 Public.Resource.Org’s argument—based on an erroneous reading of Georgia v.

 Public.Resource.Org, Inc., 140 S. Ct. 1498 (2020)—that Plaintiffs’ standards

 become     uncopyrightable      “government       edicts”    once       IBR’d.        See

 Public.Resource.Org Supplemental Brief 3-4, Dkt. 226. The district court correctly

 found that Public.Resource.Org did “not offer any evidence that a judge or legislator

 wrote any of Plaintiffs’ standards” or that “state legislators hired Plaintiffs to draft

 the standards.” JA9284 (Memorandum Opinion 20). As such, the court concluded

 that “[a] government body that merely incorporates a standard by reference does not

 independently create any content, and therefore does not become an ‘author’ of the

 standard.” JA9284 (Memorandum Opinion 20); accord Georgia, 140 S. Ct. at 1507

 (holding the government edicts doctrine “does not apply… to works created by…

 private parties… who lack the authority to make or interpret the law”).

       Turning to fair use, the district court rejected Public.Resource.Org’s fair use

 defense as to 32 standards that Public.Resource.Org had not shown were even

 IBR’d, but     found fair use        for 185 standards        (the “Works”)        where



                                           13
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 29 of 137



 Public.Resource.Org had identified some past or current incorporating statute or

 regulation. The district court acknowledged that this Court had directed an analysis

 that “consider[ed] the variations and legal status of each of the standards.” JA9271

 (Memorandum Opinion 7). And it issued a lengthy appendix that addressed each of

 the four fair use factors for each of the standards. JA9312-9498 (District Court

 Appendix). For the most part, though, the district court offered the same conclusory

 reasoning as to each fair use factor for each Work. And, with a few exceptions, it

 examined standards in their entirety, ignoring Plaintiffs’ arguments about (and this

 Court’s direction to consider) portions of Works that Public.Resource.Org copied

 that did not impose any legal obligations.

       Despite finding infringement, the court denied a permanent injunction as to

 the 32 standards where it concluded Public.Resource.Org’s fair use defense failed.

 JA9311 (Memorandum Opinion 47). Plaintiffs appealed.2

                           SUMMARY OF ARGUMENT

       I. Because this case implicates substantial policy considerations, this Court

 rejected any “bright-line rule,” including one that would permit “all of



       2
          Public.Resource.Org did not cross-appeal. It is accordingly barred from
 presenting any argument that would “enlarg[e] [its] own rights” or “lessen[]
 [Plaintiffs’] rights” under the district court’s judgment, Jennings v. Stephens, 574
 U.S. 271, 276 (2015) (citation omitted)—e.g., any argument that would require
 setting aside the district court’s ruling that Public.Resource.Org had infringed 32 of
 Plaintiffs’ copyrights.


                                          14
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023     Page 30 of 137



 [Public.Resource.Org]’s uses of every standard incorporated by reference into law.”

 ASTM II, 896 F.3d at 446. This Court instead remanded for a “narrower” fair-use

 analysis, which the Court recognized would need to consider that standards “vary

 considerably in form, substance, and effect.” Id. at 443, 447.3

       Fair use is an affirmative defense so, on remand, Public.Resource.Org was

 required to justify its copying as to each portion of (or the entirety of) each standard

 that it posted. See, e.g., id. at 450, 452. It did not. Plaintiffs, by contrast, did that

 work and identified the copyrighted material that Public.Resource.Org posted for

 which, under this Court’s prior analysis, verbatim copying was unjustified (including

 by grouping standards into categories based on type of non-essential material). The

 district court all but ignored Plaintiffs’ analysis. While issuing a lengthy appendix,

 the district court largely copied and pasted the same conclusory reasoning as to each

 factor for each of the 185 Works—and did not consider that large portions of each

 Work were not essential to understanding legal duties.

       Public.Resource.Org also had the burden to establish that its unauthorized use

 would not harm the market for Plaintiffs’ Works. The district court committed legal

 error—and parted ways with two courts of appeals—by improperly shifting to




       3
         Plaintiffs recognize ASTM II is binding but respectfully preserve their
 arguments that the decision’s interpretation of the fair use factors as applied to IBR’d
 standards was in error.


                                            15
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023     Page 31 of 137



 Plaintiffs the burden on factor four, tainting the court’s entire analysis of market

 harm. The undisputed evidence on this factor favors Plaintiffs.

        The upshot was that the district court adopted the bright-line rule this Court

 rejected: without exception, when the court found a standard had been IBR’d, it

 found fair use. This Court should remand for the analysis it required.

        II. The district court also erred in failing to grant a permanent injunction after

 finding that Public.Resource.Org infringed the copyrights of 32 standards. Plaintiffs

 showed that each of the four injunctive-relief factors favored entering such relief and

 that they are not adequately protected absent an injunction. The Court should reverse

 that ruling.

                              STANDARD OF REVIEW

        This Court reviews a decision on summary judgment de novo, “viewing the

 evidence in the light most favorable to [the non-moving party], and drawing all

 reasonable inferences in [its] favor.” Stoe v. Barr, 960 F.3d 627, 629 (D.C. Cir.

 2020); Capitol Sprinkler Inspection, Inc. v. Guest Servs., Inc., 630 F.3d 217, 223

 (D.C. Cir. 2011). The Court reviews the district court’s balancing of injunctive-

 relief factors for an abuse of discretion, “review[ing] any underlying legal

 conclusions de novo.” Doe v. Mattis, 889 F.3d 745, 751 (D.C. Cir. 2018).




                                            16
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 32 of 137



                                     ARGUMENT

 I.    The District Court Erred In Analyzing Fair Use.

       Public.Resource.Org did not meet its burden of demonstrating fair use as to

 the Works, and it was not entitled to summary judgment. Plaintiffs recognize that,

 under ASTM II, fair use permits some use of their standards, but

 Public.Resource.Org’s use is not fair. It involves wholesale, indiscriminate copying

 of the entirety of Plaintiffs’ standards. At a minimum, disputed factual questions

 regarding the extent to which vast portions of each of the Works impose any binding

 obligation and the impact on the market preclude summary judgment. This Court

 should vacate and remand for the district court to apply the four fair use factors as

 this Court directed. In particular, the Court should direct the district court to do the

 following on remand:

             Address whether the incorporating regulation makes the entire Work or
              only some portion thereof “essential to understanding one’s legal
              obligations,” ASTM II, 896 F.3d at 453;

             Address whether the Work includes portions that are not “essential” but
              merely “help[ful]” to understanding the Work, id. at 450;

             Address whether Plaintiffs and Public.Resource.Org have overlapping
              purposes and, if so, whether Public.Resource.Org’s use can nonetheless
              be considered transformative;

             Analyze the record evidence regarding market harm with the burden of
              proof properly allocated to Public.Resource.Org; and

             Explain its conclusions regarding each factor either for each Work or
              for representative Works (e.g., why a Work is or is not a reference


                                           17
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 33 of 137



              procedure) and how those conclusions weigh into its bottom-line
              holding regarding fair use.

       A.     Factor 1:     Public.Resource.Org’s wholesale distribution of
              Plaintiffs’ Works is not transformed by purportedly making “the
              law” available to the public.

       The first fair use factor requires courts to consider “the purpose and character

 of the use.” 17 U.S.C. § 107(1).4 In its prior opinion, this Court directed the district

 court to consider “whether, in certain circumstances, distributing copies of the law

 for purposes of facilitating public access could constitute transformative use.”

 ASTM II, 896 F.3d at 450 (emphasis added). The Court made clear that “the law”

 for these purposes was not co-extensive with all IBR’d material and that the fairness

 of “[Public.Resource.Org]’s specific use” must be assessed for each portion of a

 standard.   See id. at 450-51.       The summary judgment record demonstrates

 conclusively that Public.Resource.Org’s wholesale copying and public distribution

 of Plaintiffs’ standards is not transformative for two independent reasons. First,

 Public.Resource.Org does not limit its copying and distribution to “relevant portions

 of… particular standard[s]” that could be called “the law” under any approach,

 instead indiscriminately posting text that is “not essential to complying with any



       4
         This Term, the Supreme Court will hear Andy Warhol Foundation for the
 Visual Arts, Inc. v. Goldsmith, No. 21-869, which raises an issue regarding what
 constitutes a transformative use. Given the importance of transformativeness to this
 appeal, this Court may wish to consider ordering supplemental briefing once that
 decision is issued.


                                           18
USCA Case #22-7063                 Document #1989387            Filed: 03/09/2023     Page 34 of 137



 legal duty.” Id. Second, Plaintiffs already make the Works freely accessible to the

 public and Public.Resource.Org’s copies serve the same purpose.5

                    1.          Public.Resource.Org does not limit its copying to portions of
                                Works that are essential to comprehending legal duties.

          Public.Resource.Org’s threat to Plaintiffs is so dire because it copies and

 distributes the Works wholesale—i.e., far more than what is essential to complying

 with the law. In ASTM II, the Court distinguished between specific portions of

 standards that are “essential to comprehending one’s legal duties” (which could tilt

 toward a transformative use as to those portions), and those portions that just “help

 inform one’s understanding of the law” (which would cut against transformation for

 those portions). ASTM II, 896 F.3d at 450 (emphasis added). It emphasized that this

 inquiry would require assessing the legal significance of particular portions of

 standards, and the particular way in which each standard was incorporated. See id.

 at 450-51. The record demonstrates that Public.Resource.Org has posted significant

 portions of material from each Work that are not essential to comprehending legal

 duties       and        that     Plaintiffs   are   entitled   to   summary        judgment   that

 Public.Resource.Org’s copying of these sections is not transformative. At the least,



          5
         Although this Court previously concluded that Public.Resource.Org’s use
 was not commercial, it made clear that this was merely one “facet” of the first fair
 use factor and “‘does not insulate [Public.Resource.Org] from a finding of
 infringement.’” ASTM II, 896 F.3d at 449 (quoting Campbell v. Acuff-Rose Music,
 Inc., 510 U.S. 569, 584 (1994)).

                                                     19
USCA Case #22-7063          Document #1989387        Filed: 03/09/2023   Page 35 of 137



 there are factual questions about whether those portions are necessary to comply

 with the law such that Public.Resource.Org did not meet its burden of demonstrating

 transformative use.

                       a.     Plaintiffs introduced substantial evidence showing that
                              whole Works and portions thereof were not essential to
                              complying with the law.

       Following this Court’s direction, Plaintiffs exhaustively detailed the many

 reasons that Public.Resource.Org’s postings do not consist of only portions of Works

 that are critical to complying with the law.

       Works where only portions are relevant to incorporation: When only specific

 portions of incorporated standards are relevant to an incorporating regulation,

 posting the irrelevant portions cannot be transformative. See ASTM II, 896 F.3d at

 450 (explaining that posting “the relevant portions” of a standard could be

 considered transformative); see also id. at 452.             Yet for every Work,

 Public.Resource.Org posted the standard in its entirety even though, for numerous

 Works, only a portion was relevant to the incorporating regulation. See, e.g.,

 JA5085-5086 (2d. Supp. SMF ¶48); JA8860-8861 (3d. Supp. SMF ¶8).

       For example, Public.Resource.Org relied on 46 C.F.R. § 56.60-2 (1997) as the

 basis for posting ASTM B85 (1984). JA9370-9371 (District Court Appendix ¶71).

 That regulation provides that “[m]inimum values” for certain tension tests “shall be

 those listed in table X-2 of ASTM B85.” 46 C.F.R. § 56.60-2, n.14 (1997). The



                                            20
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 36 of 137



 parts of ASTM B85 outside of table X-2 are unnecessary to determine the minimum

 values in X-2. JA5085 (2d. Supp. SMF ¶48(b)). Nonetheless, Public.Resource.Org

 posted the entirety of ASTM B85.

       Similarly, Public.Resource.Org sought to justify its posting of the full text of

 NFPA 11 (2005) based on a regulation that provides that “[f]ixed extinguishing

 systems” must comply with the standard. JA9318-9319 (District Court Appendix

 ¶8). The standard, however, includes provisions related to not just fixed, but also

 semifixed and portable systems. The standard’s provisions related to semifixed and

 portable systems are not necessary to complying with the regulation

 Public.Resource.Org identified. See JA8860-8861 (3d. Supp. SMF ¶8).

       And, by the same token, the regulation that Public.Resource.Org identified

 requiring veterans cemeteries to meet the architectural and structural requirements

 of NFPA 101 (2003), JA9333 (District Court Appendix ¶25 (citing 38 C.F.R. § 39.63

 (2011))), does not require compliance with, for example, NFPA 101’s provisions

 related to one- and two-family dwellings, day-care occupancies, and educational

 occupancies. JA8860-8861 (3d. Supp. SMF ¶8).

       Works incorporated as reference procedures: This Court explained that

 Public.Resource.Org likely could not show a transformative use for a standard that

 was incorporated “as a reference procedure”—i.e., in instances where the regulation




                                          21
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023   Page 37 of 137



 explains that complying with the standard would “satisf[y] the codified

 requirements.” ASTM II, 896 F.3d at 443, 450.

       Yet many of the Works were incorporated as reference procedures. See, e.g.,

 JA5084-5085 (2d. Supp. SMF ¶¶46-47). For example, Public.Resource.Org relied

 on 40 C.F.R. Appendix D to Part 75 (2010) as the regulation incorporating ASTM

 D1217 1993 (1998). See JA9374 (District Court Appendix ¶76). As Plaintiffs

 explained, that regulation expressly provides an “Optional SO2 Emissions Data

 Protocol for Gas-Fired and Oil-Fired Units” that “may be used in lieu of” alternative

 options. 40 C.F.R. Pt. 75, App. D (2010) (emphasis added). The subsection

 referencing D1217 provides a list of options for “[d]etermin[ing] the density or

 specific gravity of the oil sample,” including D1217, other incorporated standards,

 or “any consensus standard method prescribed for the affected unit under part 60 of

 this chapter.” Id. § 2.2.6. D1217 is thus an option, provided as a reference point,

 but it is not itself “essential to complying with any legal duty.” ASTM II, 896 F.3d

 at 450 (emphasis added).

       Non-mandatory portions of Works: Plaintiffs’ standards are designed to be

 comprehensive documents describing the authoring Plaintiff’s view of best practices

 for performing work in a particular field or context, not statute books containing a

 list of mandatory rules. For that reason, each of the Works contains significant

 optional or explanatory material—i.e., information that, when IBR’d, would, at



                                          22
USCA Case #22-7063      Document #1989387          Filed: 03/09/2023   Page 38 of 137



 most, be “help[ful]” for following that regulation, but would not be “essential” for

 doing so.   ASTM II, 896 F.3d at 450.        That material includes informational

 appendices and annexes that are expressly non-mandatory, JA5086-5088, 5100-

 5104 (2d. Supp. SMF ¶¶51(a), 52, 67, 72-74); prefatory and background material

 regarding, for example, the history and development of standards, JA5096-5097,

 5103 (2d. Supp. SMF ¶¶62-63, 71); reference and informational notes that state that

 they are “informational only” and “not enforceable as requirements” of the standard,

 JA5098-5099 (2d. Supp. SMF ¶64); diagrams, figures, illustrations, and examples

 that illustrate concepts for guidance but do not impose any requirements themselves,

 JA5099-5100 (2d. Supp. SMF ¶¶65-66); statements regarding the developing

 organization’s policy positions, JA5105 (2d. Supp. SMF ¶76); provisions that

 “describe options or alternative methods,” but are not “required” portions of the

 standards, JA5094-5096 (2d. Supp. SMF ¶¶57-60); and sections identifying the

 “location of selected changes” from previous editions, JA5087-5089 (2d. Supp. SMF

 ¶¶51(b), 53). None of that information could possibly be considered essential to

 complying with the law, but Public.Resource.Org copied it all anyway.

       Works that are not IBR’d by in-force regulations: Plaintiffs identified dozens

 of instances where Public.Resource.Org identified only an outdated regulation

 incorporating the Works. See, e.g., JA8860 (3d. Supp. SMF ¶5). For example,

 Public.Resource.Org pointed to 40 C.F.R. § 1065.1010 (2008) as the regulation that



                                         23
USCA Case #22-7063        Document #1989387           Filed: 03/09/2023     Page 39 of 137



 IBR’d ASTM D2163-91 (1996).6 JA9386 (District Court Appendix ¶91). That

 regulation was amended in 2008 and it no longer incorporates that version of that

 standard. JA8925 (Wise Decl., Ex. 176, at 61); see also 73 Fed. Reg. 25,098, 25,349

 (May 6, 2008) (IBR’ing ASTM D2163-05); 40 C.F.R. § 1065.1010 (2021) (IBR’ing

 ASTM D2163-07). Whatever the significance of D2163-91 (1996) prior to 2008,

 that version can no longer be said to have a “direct legal effect on any private party’s

 conduct.” ASTM II, 896 F.3d at 443.

                     b.     The district court’s truncated review of the Works did not
                            follow this Court’s direction.

       The district court largely ignored Plaintiffs’ detailed analysis. For 132 of the

 185 Works, the court stated only that “the incorporated standard provides

 information essential for a private entity to comprehend its legal duties,” supporting

 fair use. Brief Appendix §§ B.1-B.2 (132 Works).7 For nearly all the other Works,

 the court concluded that the standard did “not provide information essential for a

 private entity to comprehend its legal duties” because it was incorporated as a


       6
         For ASTM standards, numbers after a dash indicate the original adoption or
 revision year and a year in parentheses denotes a reapproval without changes in that
 year. JA5069-5070 (2d. Supp. SMF ¶35).
       7
         As to one of these 132 Works, the court limited its conclusion about
 “essential” information to the standard’s Test Methods A and B. JA9312 (District
 Court Appendix ¶1).
       For the Court’s convenience, Plaintiffs have prepared a summary appendix
 quoting the district court’s different treatments of each fair use factor and identifying
 each standard to which the district court applied that treatment. See Brief Appendix.


                                            24
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 40 of 137



 reference or discretionary procedure. Brief Appendix § B.3 (48 Works). Here, too,

 the court provided almost no additional explanation for its conclusion.8 For the

 remaining Works, the court found two were incorporated as discretionary procedures

 but nonetheless were essential to complying with the law; and three were not

 essential to any private entity’s compliance with the law but helped “facilitate[]

 public debate.” Brief Appendix §§ B.4-B.5 (5 Works).

       This is not what ASTM II directed the district court to do. And, by addressing

 the Works this way, the court failed to provide any meaningful basis for appellate

 review. See OSI, Inc. v. United States, 285 F.3d 947, 953 (11th Cir. 2002) (vacating

 summary judgment: “[o]ur review would be greatly facilitated by a comprehensive

 analysis by the district court of the relevant facts as to which there is no genuine

 dispute and by a comprehensive analysis of the legal issues”); Klein v. Perry, 216

 F.3d 571, 575 (7th Cir. 2000) (vacating summary judgment: “district court was not

 as thorough as it should have been” and provided “unsupported conclusion [that] is

 insufficient to permit this court to engage in meaningful review”). More particularly,




       8
         For six Works, the court provided some (often minimal) standard-specific
 statement. See, e.g., JA9318 (District Court Appendix ¶7) (standard “is incorporated
 as a reference procedure for a public Department” (emphasis added)); see also
 JA9321-9322, 9359-9361, 9435-9437 (District Court Appendix ¶¶11, 57, 59, 150-
 51). But for the remaining 42 Works, the court’s conclusion was a summary
 sentence stating the standard was “incorporated as a discretionary procedure” or “as
 a reference procedure”—either of which weighed against fair use.


                                          25
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 41 of 137



 the court’s evaluation of the essential-to-complying issue suffered from three

 fundamental errors.

       First, despite finding 48 Works were not essential to complying with the law,

 the court did not appear to factor that conclusion into its overall fair use balancing.

 Brief Appendix § B.3. The court held Public.Resource.Org could post all of those

 Works. Brief Appendix §§ F.1-F.2. In other words, the factor-one analysis not only

 did not change the court’s bottom-line conclusion, but the court gave no indication

 that it even weighed this factor into its ultimate holding. Public.Resource.Org did

 not need to prevail on every fair use factor, but it is inexplicable how

 Public.Resource.Org could prevail on a defense predicated on “inform[ing] the

 public about the law,” ASTM II, 896 F.3d at 453, for Works the court concluded were

 not the law.

       Second, as to 182 of the Works, the court did not consider which specific

 portions were essential to complying with the law. This Court was explicit that

 Public.Resource.Org’s fair use defense could justify “reproduc[ing] in full the

 relevant portions of th[e] particular standard” that were “essential to comprehending

 one’s legal duties.” ASTM II, 896 F.3d at 450 (emphasis added). With only three

 exceptions, see JA9312, 9382, 9412 (District Court Appendix ¶¶1, 85, 122),

 however, the district court did not engage in any portion-by-portion analysis on the

 first factor. As explained above, Plaintiffs provided groupings of particular portions



                                           26
USCA Case #22-7063       Document #1989387          Filed: 03/09/2023     Page 42 of 137



 of standards for which Public.Resource.Org’s transformative use argument failed,

 identifying numerous (1) portions of standards that were non-mandatory, and (2)

 instances where a standard was incorporated in such a way that only parts of it could

 be considered relevant to complying with the law. See pp. 20-23, supra. The district

 court disregarded this framework and the extensive record Plaintiffs developed in

 support.

       As to the non-mandatory sections of all 185 Works, the decision says nothing

 in response to Plaintiffs’ arguments and the hundreds of supporting examples they

 provided. A section of an IBR’d standard regarding NFPA’s history or ASHRAE’s

 goals concerning the environmental impact of its activities, JA5097, 5105 (2d. Supp.

 SMF ¶¶63, 76), could not “help inform one’s understanding of the law,” much less

 be “essential to complying with any legal duty.” ASTM II, 896 F.3d at 450.

       As to incorporations that make only portions of standards relevant, for 182 of

 185 Works, the court responded that the incorporating regulation did not “specify

 that only certain provisions” are incorporated or “indicate which specific

 provisions… are relevant for compliance.” Brief Appendix §§ A.1-A.3; see also

 Brief Appendix § D.1. In other words, because almost no regulations use the magic

 words “only X, Y, and Z provisions are incorporated by reference,” the court deemed

 the   entirety   of   (sometimes   hundreds-of-pages)    standards     “essential” to

 comprehending those regulations. That illogical conclusion cannot be squared with



                                          27
USCA Case #22-7063       Document #1989387          Filed: 03/09/2023    Page 43 of 137



 ASTM II. There, this Court discussed the example of 46 C.F.R. § 39.1005(h)(1),

 which incorporates NFPA 70 (2011) for § 39.2009(a)—though without specifying

 that any particular sections are incorporated. Section 39.2009(a), in turn, dictates

 that certain cargo tank barges should meet “NFPA 70, Articles 406.9 and 501-145.”

 46 C.F.R. § 39.2009(a)(1)(iii)(B). This Court said that the regulation might justify

 reproducing those two provisions.      ASTM II, 896 F.3d at 450, 452.         Section

 39.1005(h)(1) does not “specify that only certain provisions” were incorporated, but

 this Court did not say or suggest this could justify Public.Resource.Org posting the

 entirety of the standard.

       Plaintiffs gave numerous examples of analogous regulations.           In some

 instances, the regulation specifically refers to a particular portion of the standard—

 e.g., the regulation that refers to specific portions of table X-2 in ASTM B85. See

 pp. 20-21, supra. In other instances, the regulation’s scope makes clear that only

 portions of that standard are relevant—e.g., while parts of NFPA 101 (2003) may be

 necessary to comply with 38 C.F.R. § 39.63 (2011)’s requirement that veterans

 cemeteries meet the “[a]rchitectural and structural requirements” of that standard,

 surely Chapter 16, specifying rules for “New Day-Care Occupancies” is not. See p.

 21, supra.




                                          28
USCA Case #22-7063         Document #1989387            Filed: 03/09/2023    Page 44 of 137



          The district court did not address any of this evidence.9 Its reasoning collapses

 largely into just whether the standard had been IBR’d or not, contrary to this Court’s

 direction to examine “the way in which [standards] are incorporated,” ASTM II, 896

 F.3d at 449 (emphasis added).

          Third, the district court failed to explain its conclusions that certain Works

 were essential to complying with the law, while others were not. For 180 of the 185

 Works, the court said the standard either was or was not essential for complying with

 legal duties—but never adequately explained its summary conclusion.                 Brief

 Appendix §§ B.1-B.3. It is impossible to know why the district court reached those

 conclusions—as inconsistencies in its decision make particularly plain. To take just

 a few:

               The court concluded that Public.Resource.Org could reproduce only
                Test Methods A and B of ASTM D2036 (1998) because the
                incorporating regulation stated that the “full text of the referenced test
                procedures are incorporated by reference,” and the regulation
                referenced only test methods A and B. JA9312 (District Court
                Appendix ¶1 (quoting 40 C.F.R. § 136.3(a) (2003))). But precisely the
                same regulation incorporates only specified test procedures from
                ASTM D1688 (1995) and ASTM D512 1989 (1999), and the district
                court held that Public.Resource.Org could produce those standards in
                full. JA9382, 9412 (District Court Appendix ¶¶85, 122).




          9
          The district court stated that it “d[id] not rely on the disputed evidence.”
 JA9273 (Memorandum Opinion 9 n.3). To the extent the court failed to account for
 Plaintiffs’ evidence without any articulated basis for doing so, the refusal to consider
 such evidence constitutes reversible error. See Klein, 216 F.3d at 575.


                                             29
USCA Case #22-7063      Document #1989387            Filed: 03/09/2023     Page 45 of 137



            The district court held that ASTM F715 (1995) and ASTM F715 1981
             (1986) were incorporated as “discretionary procedure[s] because
             entities may comply with the regulation by relying on ‘other test[s]
             approved by the Coast Guard.’” JA9435-9437 (District Court
             Appendix ¶¶150-51 (citing 33 C.F.R. Pt. 154, App. C, § 2.3.1 (1999);
             33 C.F.R. Pt. 154, App. C, § 2.3.1 (2014))). By contrast, the court
             found that ASTM F631 (1993) and ASTM F631 1980 (1985)
             “provide[d] information essential for… comprehend[ing]… legal
             duties.” JA9433-9435 (District Court Appendix ¶¶148-49). Yet the
             F631 standards are also incorporated as merely one option: a regulated
             entity may comply with the incorporating regulation by, inter alia, (1)
             using a formula expressly stated in the regulation, (2) using the
             standard, or (3) using “an equivalent test approved by the Coast Guard.”
             33 C.F.R. Pt. 154, App. C, §§ 6.2-6.3 (1999); 33 C.F.R. Pt. 154, App.
             C, §§ 6.2-6.3 (2014); JA9433-9435 (District Court Appendix ¶¶148-
             49). If anything, then, the F631 standards are even more discretionary
             than the F715 standards, as complying with the regulations related to
             the F631 standards does not even require the Coast Guard to approve
             another test—the regulatory text already provides a way of complying.

            The court, without explanation, rejected Plaintiffs’ argument that 40
             C.F.R. Appendix D to Part 75 (2010) incorporated ASTM D1217 as a
             reference procedure. See p. 22, supra. That holding is difficult to
             square with the court’s finding that 48 Works were incorporated as
             discretionary or reference procedures. And it cannot be explained by
             any convincing rebuttal specific to that standard: Public.Resource.Org
             did not engage in any standard-specific arguments. It is impossible to
             know why the district court held this standard was essential to
             complying with the law because it did not say.

       Plaintiffs do not (and did not) argue that the district court had to examine every

 line of every standard to determine what was “essential to complying” with the law.

 ASTM II, 896 F.3d at 450. Nor do Plaintiffs suggest the court had to address every

 example they provided as to every standard. The court could have analyzed a few

 standards Plaintiffs argued were reference procedures and explained why it accepted



                                           30
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023     Page 46 of 137



 some arguments but not others. Or it could have “direct[ed] the parties… to file

 briefs addressing whether the standards are susceptible to groupings that are relevant

 to the fair use analysis.” Id. at 449. Indeed, following this Court’s direction, see id.,

 Plaintiffs did propose various ways of grouping the standards. See, e.g., JA5087-

 5105 (2d. Supp. SMF ¶¶52-57, 59, 62-68, 70-76); JA8860-8861 (3d. Supp. SMF

 ¶¶7-9). Public.Resource.Org, by contrast, “poorly served the court,” ASTM II, 896

 F.3d at 449, by refusing to engage in the analysis this Court directed and, instead,

 insisting that its use of the entirety of any standard that had been IBR’d was fair. See

 pp. 12-13, supra.

       To be sure, the required fair use analysis is substantial. But that is only

 because the scope of Public.Resource.Org’s infringement is so massive. The fact

 that Public.Resource.Org appropriated hundreds of works does not excuse

 Public.Resource.Org from its burden of proving transformativeness or justify the

 district court’s truncated analysis. The court’s failure to grapple with Plaintiffs’

 arguments regarding the reasons standards and portions thereof are not essential for

 legal compliance was error.

              2.     Under the “circumstances” of Public.Resource.Org’s copying
                     and distribution, Public.Resource.Org’s use is not
                     transformative because Plaintiffs already make their standards
                     freely available.

       a. A transformative use “adds something new, with a further purpose or

 different character” from the original work. Campbell, 510 U.S. at 579. The


                                            31
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 47 of 137



 pertinent question is whether a defendant’s use of a work “serves a new and different

 function from the original work and is not a substitute for it.” Authors Guild, Inc. v.

 HathiTrust, 755 F.3d 87, 96 (2d Cir. 2014). And that inquiry is an objective one

 focused on “how the work in question appears to the reasonable observer, not simply

 what an [accused infringer] might say about a particular piece or body of work.”

 Cariou v. Prince, 714 F.3d 694, 707 (2d Cir. 2013).

       The prior panel recognized that the context of Public.Resource.Org’s copying

 matters for this analysis, directing consideration of whether “in certain

 circumstances, distributing copies of the law for purposes of facilitating public

 access could constitute transformative use.” ASTM II, 896 F.3d at 450 (emphasis

 added). The circumstances here are that Plaintiffs make all of the IBR’d Works

 available for free, read-only access in their online reading rooms. See JA5107 (2d.

 Supp. SMF ¶85).10 Plaintiffs do so to “provid[e] a resource for individuals to educate




       10
          At the time Plaintiffs moved for summary judgment, the only Works that
 were not available in Plaintiffs’ reading rooms were certain ASTM standards for
 which ASTM was not aware of any IBR’ing regulation. See JA8861 (3d.Supp.SMF
 ¶9). In Public.Resource.Org’s summary judgment filings, it, for the first time,
 identified regulations IBR’ing some of those standards. Consistent with ASTM’s
 policy of making IBR’d standards available to the public for free, JA266 (SMF ¶63),
 ASTM placed those standards in its reading room. At present, the only Works that
 are not available in Plaintiffs’ reading rooms are certain ASTM standards where a
 regulation IBR’s a substantively identical ASTM standard; in those instances, the
 substantively identical ASTM standard (i.e., the one actually IBR’d) is available in
 ASTM’s reading rooms.


                                           32
USCA Case #22-7063        Document #1989387         Filed: 03/09/2023      Page 48 of 137



 themselves as to the contents of standards, including standards that have been

 incorporated by reference.” JA5107 (2d. Supp. SMF ¶86); see also JA272 (SMF

 ¶101), JA5108 (2d. Supp. SMF ¶90) (describing other tools Plaintiffs developed to

 educate the public about incorporated standards). Under these circumstances,

 Public.Resource.Org’s copies serve no purpose beyond Plaintiffs’ copies. Far from

 meeting the standard for transformativeness, Public.Resource.Org admittedly just

 offers an inferior substitute for what Plaintiffs already provide. See JA5065 (2d.

 Supp. SMF ¶20) (Public.Resource.Org’s copies of standards direct readers to consult

 with standards development organizations or governments for “definitive

 versions”);     JA5064   (2d.   Supp.   SMF     ¶¶13-18)    (discussing     errors   in

 Public.Resource.Org’s postings); see also, e.g., JA5081-5082 (2d. Supp. SMF ¶37)

 (Public.Resource.Org posting stating standard had been IBR’d by non-existent

 section of C.F.R.). While the analysis might be different if an organization did not

 make its works accessible at no charge, the context here matters.

       b.      The district court’s opinion does not address whether, under the

 circumstances, Public.Resource.Org’s unauthorized copying serves “a further

 purpose or different character” from Plaintiffs’ free-access offerings. Campbell, 510

 U.S. at 579. The decision considered only whether Public.Resource.Org had posted

 material that was “essential to comprehending one’s legal duties,” but it never

 addressed whether—even if Public.Resource.Org had—that conduct would add any



                                          33
USCA Case #22-7063       Document #1989387             Filed: 03/09/2023    Page 49 of 137



 purpose or character beyond Plaintiffs’ activities. JA9291 (Memorandum Opinion

 27 (citation omitted)).11 Skipping over that critical predicate question was error. It

 cannot be transformative for an unauthorized use to merely duplicate the copyright

 holder’s use.     Because that is all Public.Resource.Org does, its use is not

 transformative.

                                     *      *      *

       In short, the district court’s analysis of the first fair use factor neither follows

 this Court’s instructions nor provides any meaningful basis for this Court’s review.

 For each of the Works, Plaintiffs have identified reasons that the Work or significant

 portions thereof are definitively not essential to complying with the law such that

 factor one should weigh against fair use. At the least, however, there are genuine

 factual disputes that preclude summary judgment in favor of Public.Resource.Org.

       B.     Factor 2: The “nature of the copyrighted works” does not favor
              fair use.

       The second fair use factor (“the nature of the copyrighted work”) asks whether

 the work is “close[] to the core of intended copyright protection.” Campbell, 510

 U.S. at 586. Plaintiffs’ standards are original and complex works that take enormous


       11
          As to each standard, the district court repeated this Court’s statement that
 Public.Resource.Org’s “attempt to freely distribute standards incorporated by
 reference into law qualifie[s] as a use that further[s] the purposes of the fair use
 defense.” Brief Appendix n.2. But that statement was about Public.Resource.Org’s
 non-profit status, not whether its use was transformative. See ASTM II, 896 F.3d at
 449.


                                            34
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 50 of 137



 resources to produce and that serve important public functions, including promoting

 public safety, supporting building and construction, and advancing product testing.

 See, e.g., JA263, 273, 283, 285-286, 303 (SMF ¶¶43-44, 104-05, 152, 164-67, 266).

 Indeed, it is for that reason that voluntary consensus standards have been IBR’d in

 tens of thousands of instances and form a critical part of the United States’ regulatory

 landscape. See p. 8, supra. Providing an incentive for Plaintiffs to develop and

 publish these standards is at the core of copyright law. Additionally, this Court’s

 previous opinion emphasized that this factor “demands an individual appraisal of

 each standard and its incorporation” to determine whether the standard has been

 incorporated in a way that makes it “virtually indistinguishable” from being

 “expressly copied into law.” ASTM II, 896 F.3d at 451-52.

       The district court failed to conduct that individualized inquiry. For 181 of the

 185 Works, the district court asserted that the standard was incorporated “without

 limitation[], such that ‘the consequence of the incorporation by reference is virtually

 indistinguishable from a situation in which the standard had been expressly copied

 into law.’” Brief Appendix § C.1. As to the remaining four Works, the court held

 that the standard was only partially incorporated, making Public.Resource.Org’s

 copying “harder to justify.” Brief Appendix § C.2.

       But many standards other than the four the district court identified are also at

 best “only partially incorporated.” For instance, the IBR’ing regulation for ASTM



                                           35
USCA Case #22-7063        Document #1989387            Filed: 03/09/2023   Page 51 of 137



 D1688 is the same one that the court held only partially incorporated four of the

 Works, but the court inexplicably held D1688 was incorporated “without limitation.”

 Compare JA9382 (District Court Appendix ¶85), with JA9312-9313, 9398-9399,

 9412 (District Court Appendix ¶¶1, 105-06, 122). In other instances, the IBR’ing

 regulations incorporate Works that include portions that have absolutely no

 relevance to the regulations. See pp. 20-21, supra. Returning again to 38 C.F.R.

 § 39.63, its requirement that veterans cemeteries meet the “[a]rchitectural and

 structural requirements” of NFPA 101 (2003) is not “indistinguishable” from a

 regulation that “expressly copied into law” the standard’s chapter on day-care

 occupancies—that chapter is entirely irrelevant to the regulation. ASTM II, 896 F.3d

 at 452.

       Moreover, as with factor one, even for the four Works where the district court

 held that this factor did not favor fair use, it reached the same ultimate conclusion,

 holding that Public.Resource.Org could copy them. It is thus, again, unclear how, if

 at all, the court weighed this factor into the fair use analysis.

       C.     Factor 3: Public.Resource.Org copies and posts entire Works
              without attempting to limit its distribution to those portions of
              Works that are essential to complying with the law.

       The third fair use factor looks to “the amount and substantiality of the portion

 used in relation to the copyrighted work as a whole.” 17 U.S.C. § 107(3). “While

 ‘wholesale copying’” like Public.Resource.Org’s “‘does not preclude fair use per



                                            36
USCA Case #22-7063      Document #1989387             Filed: 03/09/2023   Page 52 of 137



 se,’ copying an entire work ‘militates against a finding of fair use.’” Worldwide

 Church of God v. Philadelphia Church of God, Inc., 227 F.3d 1110, 1118 (9th Cir.

 2000) (citation omitted). As the quantity of copied material increases, so too does

 the likelihood that the copy “could serve [someone] as an effective, free substitute

 for the purchase.” Authors Guild v. Google, Inc., 804 F.3d 202, 222 (2d Cir. 2015).

       This    Court   instructed    the   district   court    to   consider   whether

 Public.Resource.Org had “limit[ed] its copying to only what is required to fairly

 describe the standard’s legal import” and, “where the incorporation merely makes

 reference” to the standard, whether “a paraphrase or a summary” would suffice.

 ASTM II, 896 F.3d at 452. As explained above, Public.Resource.Org has not even

 attempted to so limit its copying. It always posts the entirety of each of the Works—

 some of which run hundreds of pages long. See JA5068 (2d. Supp. SMF ¶32).

 Public.Resource.Org’s copying and distribution of large quantities of material that

 “does not govern any conduct” makes this factor lean decidedly in Plaintiffs’ favor.

 ASTM II, 896 F.3d at 452.

       Again, the district court did not do what this Court required. The district court

 asserted that “this third inquiry is ill-suited to wholesale resolution,” JA9293

 (Memorandum Opinion 29), but then copied and pasted nearly identical analyses

 about the entirety of 182 of the 185 Works, asserting that because the incorporating

 regulation “does not specify that only certain provisions” are IBR’d or “indicate



                                           37
USCA Case #22-7063        Document #1989387         Filed: 03/09/2023   Page 53 of 137



 which specific provisions of the standard are relevant for regulatory compliance…

 ‘a greater amount of the standard’s text might be fairly reproduced,’” Brief

 Appendix § D.1. That reasoning runs headlong into this Court’s prior opinion,

 which recognized that only portions of standards might be relevant even where a

 regulation did not state that “only certain provisions” were being incorporated. See

 pp. 27-28, supra. Whatever is necessary to “fairly describe” the “legal import” of a

 standard incorporated for a veterans-cemetery regulation, a chapter on day-care

 occupancies is not it.

       Moreover, this Court stated that this factor might not support fair use for

 standards that were incorporated as reference procedures, see ASTM, 896 F.3d at

 452, yet the district court held that each of the 48 Works it concluded were

 incorporated as reference procedures could be copied in full. Compare Brief

 Appendix § B.3, with §§ D.1 & F.1. And non-mandatory portions of a standard—

 like informational appendices and notes that are expressly “not enforceable as

 requirements” or lists of changes from a prior version of a standard, see pp. 22-23,

 supra—“do[] not govern any conduct,” ASTM II, 896 F.3d at 452, yet the district

 court ignored those portions in examining this factor.

       Looking to the three Works where the district court applied standard-specific

 reasoning only makes its analysis harder to follow. The court concluded that the

 incorporation of ASTM D2036 (1998) supported posting only the test procedures



                                          38
USCA Case #22-7063      Document #1989387          Filed: 03/09/2023   Page 54 of 137



 that the regulation referenced, because the incorporating regulation stated that the

 “full text of the referenced test procedures are incorporated by reference.” JA9312

 (District Court Appendix ¶1 (quoting 40 C.F.R. § 136.3(a) (2003))). But the same

 regulatory language incorporates specific test procedures in ASTM D1688 (1995)

 and ASTM D512 1989 (1999), and the district court concluded that, for those Works,

 “copying and republishing the standard’s background sections and appendix ‘are

 reasonable in relation to the purpose of the copying.’” JA9382, 9412 (District Court

 Appendix ¶¶85, 122 (quoting Campbell, 510 U.S. at 586-87)). If the background

 and appendix were not necessary to describe the legal import of D2306, then they

 are not necessary to describe the legal import of D1688 and D512. The unexplained

 inconsistency in the court’s analysis demonstrates the need for further review on

 remand.

       D.    Factor 4: Public.Resource.Org’s substitutional use undermines the
             actual and potential markets for Plaintiffs’ Works.

       The fourth fair use factor—harm to the copyright owner’s “potential

 market[s]” or the “value of the copyrighted work,” 17 U.S.C. § 107(4)—requires the

 Court to consider “‘whether unrestricted and widespread conduct of the sort engaged

 in by the defendant… would result in a substantially adverse impact on the potential

 market’” for both the original and derivative works. Campbell, 510 U.S. at 590

 (citation omitted); Harper & Row Publishers, Inc. v. Nation Enterprises, 471 U.S.

 539, 568 (1985). The district court concluded that this factor weighed in favor of


                                         39
USCA Case #22-7063         Document #1989387           Filed: 03/09/2023    Page 55 of 137



 fair use, but it did so based on the premise that it was Plaintiffs’ burden to prove

 market harm. That is not the law. Public.Resource.Org bears the burden on each of

 the   four   factors     of   its   affirmative   defense,   including    market   harm.

 Public.Resource.Org did not meet that burden. This Court should either reverse the

 district court’s ruling as to market harm or remand for an analysis under the

 appropriate framework.

              1.        Public.Resource.Org bears the burden on the fourth fair use
                        factor.

       Fair use is an affirmative defense. Campbell, 510 U.S. at 590; Harper & Row,

 471 U.S. at 561. A defendant accordingly bears the burden on each of its factors—

 including the fourth one. The Supreme Court was explicit on this point in Campbell,

 explaining that “[s]ince fair use is an affirmative defense, its proponent would have

 difficulty carrying the burden of demonstrating fair use without favorable evidence

 about relevant markets.” 510 U.S. at 590.

       The district court erred in ruling otherwise. It appeared to reason that

 Campbell was limited to the commercial context and that the Supreme Court’s

 earlier decision in Sony Corporation of America v. Universal City Studios, Inc., 464

 U.S. 417 (1984), dictates that a plaintiff bears the burden on the fourth factor where

 a use is noncommercial. See JA9294 (Memorandum Opinion 30). But that is not

 what Campbell says: it makes an across-the-board statement about the factor-four

 burden. See Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1280 n.36 (11th Cir.


                                             40
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023   Page 56 of 137



 2014) (rejecting argument that “the Campbell court was dealing with commercial

 use and did not disapprove Sony’s shifting of the burden in noncommercial cases”

 and noting Campbell “Court’s unqualified statement”). Moreover, “[t]he portion of

 Sony” on which the district court relied “discusses a presumption that commercial

 uses are not fair use and noncommercial uses are fair use,” but Campbell “clarified

 that such presumptions have no place in the fair use analysis.” Id.; see JA9294

 (Memorandum Opinion 30 (quoting Sony, 464 U.S. at 451)); see also Bell v. Eagle

 Mountain Saginaw Indep. Sch. Dist., 27 F.4th 313, 324 n.4 (5th Cir. 2022)

 (“Although some courts once interpreted Sony as creating a presumption of de

 minimis harm for nonprofit uses, the Supreme Court has since clarified that no such

 presumption exists.” (citations omitted)).    Other circuits have thus concluded

 following Campbell that the burden on the fourth factor rests with the defendant,

 even in cases of noncommercial use. See Bell, 27 F.4th at 324 n.4; Cambridge Univ.

 Press, 769 F.3d at 1280 & n.36; see also 4 Patry on Copyright § 10:148.12


       12
           The district court rested its contrary conclusion on two pre-Campbell
 opinions (one a concurrence) and a Ninth Circuit decision from 2014. See JA9294
 (Memorandum Opinion 30 (citing, inter alia, Fox Broad. Co. v. Dish Network LLC,
 747 F.3d 1060 (9th Cir. 2014))). But the Ninth Circuit has subsequently clarified
 that it has “never adopted th[e] view” that it might “sometimes [be] ‘reasonable to
 place’” even the burden of production on a plaintiff. Dr. Seuss Enterprises, L.P. v.
 ComicMix LLC, 983 F.3d 443, 459 n.6 (9th Cir. 2020) (quoting Cambridge Univ.
 Press, 769 F.3d at 1279). Dr. Seuss correctly recognized Campbell’s rejection of
 presumptions and that it “squarely forecloses” an argument that a copyright plaintiff
 must “prove potential market harm.” Id. at 459. And any discussion in Fox, on
 which the district court relied, about the market-harm burden was, at most, dicta, as

                                          41
USCA Case #22-7063       Document #1989387          Filed: 03/09/2023   Page 57 of 137



 Public.Resource.Org bears the burden on the fourth factor and the district court’s

 contrary ruling should be reversed.

                 2.   Public.Resource.Org did not meet its burden.

        With the burden properly allocated, the fourth factor heavily favors

 Plaintiffs.13

        a. Both common sense and the summary judgment evidence demonstrate that

 widespread use similar to Public.Resource.Org’s would be detrimental to Plaintiffs’

 markets. See Cambridge Univ. Press, 769 F.3d at 1276 (“The central question… is

 not whether Defendants’ use of Plaintiffs’ Works caused Plaintiffs to lose some

 potential revenue. Rather, it is whether Defendants’ use—taking into account the

 damage that might occur if ‘everybody did it’—would cause substantial economic

 harm….”). As the district court explained in its initial decision, users can choose

 between purchasing a standard from Plaintiffs or downloading “an identical standard

 for no cost [from Public.Resource.Org]. The only logical conclusion is that this

 choice negatively impacts the potential market for Plaintiffs’ standards.” ASTM I,

 2017 WL 473822 at *18 (emphasis added). The only expert evidence as to market

 harm confirmed that logical inference: Plaintiffs’ expert concluded that “Plaintiffs



 Fox held that the alleged market harm did not even result from activity that
 “implicate[d] any copyright interest.” Fox, 747 F.3d at 1069.
        13
          Even if Plaintiffs did bear the burden, Plaintiffs raised a genuine issue of
 material fact with respect to this factor, precluding summary judgment.


                                          42
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 58 of 137



 are likely to stand to lose a majority of their revenue and gross profits from the loss

 of copyright protection here.” JA766 (Jarosz Report ¶138); see also JA762-771

 (Jarosz Report ¶¶130-49).

       Public.Resource.Org never offered any evidence in rebuttal, either initially or

 on remand—even though the absence of “favorable evidence about relevant

 markets” makes it “difficult[]” for a defendant to show fair use. Campbell, 510 U.S.

 at 590. At a minimum, it was error to conclude that uses like Public.Resource.Org’s

 were, as a matter of law, not likely to cause market harm. See id. at 594 (“[I]t is

 impossible to deal with the fourth factor except by recognizing that a silent record

 on an important factor bearing on fair use disentitled the proponent of the defense…

 to summary judgment.”).

       b. In its previous opinion, this Court directed the district court to consider

 three questions relating to this factor. Plaintiffs’ unrebutted evidence as to each

 question demonstrates that Public.Resource.Org cannot meet its burden of

 demonstrating this factor weighs in its favor as to any Work.

       First, this Court urged consideration of whether Public.Resource.Org’s

 activities could lead to “additional [market] harm” where Plaintiffs themselves offer

 free access online “presumably… without entirely cannibalizing sales of their

 standards.” ASTM II, 896 F.3d at 453. Plaintiffs’ provision of free online access

 advances their market for disseminating their standards.        Plaintiffs offer their



                                           43
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 59 of 137



 standards in a read-only format: this carefully controlled environment, designed to

 be educational and informational, does not substitute or compete in the commercial

 marketplace for the sale of less restricted versions of Plaintiffs’ standards. JA5107

 (2d. Supp. SMF ¶¶85, 88).        As Plaintiffs’ expert explained, “parties that are

 interested in or affected by [Plaintiffs’ standards], but who do not necessarily need

 a digital or hardcopy of the standards” are well served by Plaintiffs’ online versions.

 JA744 (Jarosz Rep. ¶86). By contrast, Plaintiffs’ websites would not be a substitute

 for purchasing a downloadable and searchable copy from Plaintiffs for industry

 professionals and tradespeople who purchase the standards to use in their work.

 JA745 (Jarosz Rep. ¶¶88-89). Indeed, Plaintiffs view the provision of free access as

 furthering their overall mission by encouraging more users to visit Plaintiffs’

 websites, and to do so more frequently, thus creating opportunities for website

 visitors to learn about Plaintiffs’ other mission-driven activities and potentially to

 purchase the materials so they can have a copy to download. JA744-745 (Jarosz

 Rep. ¶¶86-87).

       Public.Resource.Org’s postings, by contrast, substitute for and cannibalize

 Plaintiffs’ sales, licensing efforts, and free access distribution. Public.Resource.Org

 intentionally makes its versions of Plaintiffs’ standards—which are widely viewed,

 see, e.g., JA5110-5115 (2d. Supp. SMF ¶¶98, 102)—available on an anonymous and

 unrestricted basis. JA5108, 5115-5116 (2d. Supp. SMF ¶¶92, 104). This means its



                                           44
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023     Page 60 of 137



 users include those individuals and entities who would otherwise purchase or license

 copies of Plaintiffs’ standards. JA5108-5109 (2d. Supp. SMF ¶93). Its users also

 include further infringers who, by virtue of the anonymity Public.Resource.Org and

 the Internet Archive offer, can easily profit unlawfully from selling

 Public.Resource.Org’s copies. See JA5116 (2d. Supp. SMF ¶¶105-06);14 JA299

 (SMF ¶240); see also BMG Music v. Gonzalez, 430 F.3d 888, 890 (7th Cir. 2005)

 (noting that because “[m]usic downloaded for free from the Internet is a close

 substitute for purchased music[,] many people are bound to keep the downloaded

 files without buying originals”). That Plaintiffs’ free access does not entirely

 cannibalize their sales does not mean that Public.Resource.Org’s free substitute is

 not a serious threat to Plaintiffs’ ability to generate revenue from their standards.

       Second, the Court asked whether there would continue to be a market for

 Plaintiffs’ standards if, when “only a few select provisions of a much longer

 standard” are IBR’d, Public.Resource.Org limited its copying to only IBR’d

 provisions. ASTM II, 896 F.3d at 453. Public.Resource.Org has no supporting




       14
          The district court held that this argument was “tenuous” because Plaintiffs
 had not shown that third parties were infringing as “a result of Defendant’s actions.”
 JA296 (Memorandum Opinion 32 (citing 2d. Supp. SMF ¶¶105-06)). Even if that
 did not misconstrue the appropriate burden, it is wrong: Plaintiffs presented
 evidence that third parties were charging for access to ASTM standards that included
 the Public.Resource.Org cover sheet—i.e., for copies that came from
 Public.Resource.Org. JA5116 (2d. Supp. SMF ¶¶105-06).


                                           45
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 61 of 137



 evidence to answer this question because, as demonstrated, Public.Resource.Org

 does not so limit its copying and has maintained that position since the remand,

 despite this Court’s direction that Public.Resource.Org should revisit its wholesale

 copying.    Accordingly, Public.Resource.Org failed to meet its burden on this

 question.

       Third, this Court directed the district court to consider whether

 Public.Resource.Org’s conduct would harm any markets for derivative works, e.g.,

 if Public.Resource.Org’s posting of out-of-date standards would help or harm the

 market for the current versions of the same standards. See ASTM II, 896 F.3d at 453.

 The evidence is undisputed that Public.Resource.Org’s use harms the market for the

 current and most up-to-date works which Plaintiffs both distribute directly and

 through authorized licensees. ASTM frequently reapproves the identical standard in

 an updated version, making the old version a perfect substitute for the up-to-date

 version. JA5109 (2d. Supp. SMF ¶96). Even when standards are revised in

 subsequent versions, the latest frequently retains substantial portions of the prior

 version. JA5069-5070 (2d. Supp. SMF ¶35). As a result, a copy of the prior version

 may be a perfect or near-perfect substitute for the current version, such that the

 unrestricted download and distribution of Plaintiffs’ standards will interfere with the

 authorized market for these derivative works. JA5109 (2d. Supp. SMF ¶96).




                                           46
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023   Page 62 of 137



       The evidence also shows that Public.Resource.Org does not limit its copying

 to out-of-date standards. Many jurisdictions incorporate—and Public.Resource.Org

 promptly posts—the most recently published versions of Plaintiffs’ standards. See,

 e.g., 30 Tex. Admin. Code § 217.326 (incorporating most recent version of NFPA 1

 and NFPA 70); Alaska Stat. Ann. § 44.42.067(b)-(c) (same for ASHRAE 90.1). For

 example, after the parties filed their initial summary judgment motions, NFPA

 published the NFPA 70 (2017). Public.Resource.Org has now copied and distributed

 that version. JA5117 (2d. Supp. SMF ¶110). The undisputed evidence on this

 question—like the prior two—reveals that Public.Resource.Org cannot meet its

 burden on the fourth fair use factor.

                                     *     *     *

       This Court viewed fair use as a “narrow[] approach” that would “limit[] the

 economic consequences that might result from [Plaintiffs] losing copyright” and

 “avoid[] creating… sui generis caveats to copyright law for incorporated standards.”

 ASTM II, 896 F.3d at 447. The district court’s opinion, however, is anything but

 narrow. Under the district court’s approach, any time a regulation IBR’s a standard

 in any way without expressly limiting its IBR to a portion of the standard, it is fair

 use for Public.Resource.Org to post the entirety of that standard. In other words, the

 district court adopted precisely the “bright-line rule” this Court sought to avoid

 through fair use, threatening disastrous “economic consequences” for Plaintiffs and



                                          47
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023    Page 63 of 137



 their important public-interest work15 and creating a “sui generis caveat[] to

 copyright law for incorporated standards.” Id. at 446-47. This Court should not

 allow that decision—and its far-reaching consequences—to stand.

 II.   The District Court Abused Its Discretion In Not Enjoining
       Public.Resource.Org From Future Infringement Of Plaintiffs’
       Copyrights.

       A court may grant “final injunctions on such terms as it may deem reasonable

 to prevent or restrain infringement of a copyright.” 17 U.S.C. §502(a). When

 assessing entitlement to a permanent injunction, a court must look to a plaintiff’s

 evidence “(1) that it has suffered an irreparable injury; (2) that remedies available at

 law, such as monetary damages, are inadequate to compensate for that injury; (3)

 that, considering the balance of hardships between the plaintiff and defendant, a

 remedy in equity is warranted; and (4) that the public interest would not be disserved

 by a permanent injunction.” eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391

 (2006). Here, each of these four factors weighs in favor of enjoining future copyright


       15
           The district court’s decision loses sight of this Court’s concern about the
 “economic consequences” that might follow if competitors were permitted to “sell
 duplicates at a lower cost.” ASTM II, 896 F.3d at 447. That concern is anything but
 hypothetical: Using Public.Resource.Org’s “IBR’d standards are the law”
 playbook, UpCodes, Inc., a venture-capital-backed startup, copies and posts dozens
 of privately developed standards (including NFPA’s and ASHRAE’s) and attempts
 to sell industry professionals a paid “premium” service that allows them to access
 the standards using various features—all without even an attempt at licensing or
 authorization from the copyright owners. See UpCodes, Inc., 2021 WL 4913276, at
 *1-3. And UpCodes, just like Public.Resource.Org, claims that this activity
 constitutes fair use. See id. at *2.

                                           48
USCA Case #22-7063      Document #1989387          Filed: 03/09/2023   Page 64 of 137



 infringement.   The district court abused its discretion in refusing to enjoin

 Public.Resource.Org from engaging in future copyright infringement. That ruling

 should be reversed.

       A.    The district court correctly found that remedies available at law
             are inadequate and the balance of hardships favors an injunction.

       As the district court correctly concluded, the second and third eBay

 considerations favor an injunction. JA9310-9311 (Memorandum Opinion 46-47).

 First, money damages are inadequate both because the types of harms Plaintiffs have

 suffered (e.g., harm to their goodwill and threats to their business models) and the

 amounts of that harm (given the likelihood of down-the-line infringement) are

 difficult to quantify, and because Public.Resource.Org’s limited assets are plainly

 insufficient to pay the potential damages. JA299-300, 304 (SMF ¶¶241-44, 272-73);

 JA5108, 5117 (2d. Supp. SMF ¶¶92, 111); see Bell Helicopter Textron Inc. v. Airbus

 Helicopters, 78 F. Supp. 3d 253, 274-75 (D.D.C. 2015) (“losses to… customer base

 and reputation defy attempts at valuation[] and are unlikely to be remedied through

 a simple damages calculation” (citations omitted)). Second, as Public.Resource.Org

 has admitted, it will face no financial harm if forced to stop posting Plaintiffs’

 copyrighted standards. JA305 (SMF ¶277). The balance of hardships thus “weighs

 strongly in favor of an injunction.” JA9311 (Memorandum Opinion 47).




                                         49
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023     Page 65 of 137



       B.     The district court correctly found at least some irreparable harm
              and a public interest that favors an injunction.

       The district court also found that Plaintiffs had shown irreparable harm—

 though “meager”—and thus met the first factor. JA9309-9311 (Memorandum

 Opinion 45-47). As explained in the next section, the district court plainly erred by

 not recognizing that (1) the irreparable harm took several forms and (2) far exceeded

 the “meager” label it was given.        That error should be corrected on appeal.

 Nonetheless, the district court found at least a threshold amount of irreparable harm.

       On the fourth factor, the district court correctly found that an injunction serves

 the “policy interests that underlie the Copyright Act itself” by preserving the

 necessary financial incentives to “ensure continued development of technical

 standards.” JA9311 (Memorandum Opinion 47). It went on, however, to assert that

 the public interest would be disserved if the standards at issue were later IBR’d.

 JA9311 (Memorandum Opinion 47). As explained below, see pp. 55-56, infra,

 giving that speculative possibility significant weight was error.

       In short, the district court found all four factors, at least in part, supported

 Plaintiffs. Once the errors as to the first and fourth factors are corrected, see pp. 51-

 56, infra, entry of a permanent injunction is the only outcome that the record can

 reasonably support.




                                            50
USCA Case #22-7063        Document #1989387         Filed: 03/09/2023       Page 66 of 137



       C.     The district court erred in not recognizing that Plaintiffs had
              proven several types of substantial irreparable harm.

              1.       Public.Resource.Org’s copyright         infringement    threatens
                       Plaintiffs’ business models.

       Public.Resource.Org’s activities threaten severe economic harm to Plaintiffs.

 See pp. 42-47, supra. That economic harm, in turn, poses a threat of irreparable

 injury through shifts it may force to Plaintiffs’ business models. See Disney

 Enterprises, Inc. v. VidAngel, Inc., 869 F.3d 848, 866 (9th Cir. 2017) (finding

 irreparable harm when defendant’s services undermined the value of plaintiffs’

 business model); Stuller, Inc. v. Steak N Shake Enterprises, Inc., 695 F.3d 676, 680

 (7th Cir. 2012) (finding irreparable harm where defendant’s conduct would force a

 “significant change to its business model and… would negatively affect its

 revenue”); see also Presidio Components, Inc. v. Am. Technical Ceramics Corp.,

 702 F.3d 1351, 1363 (Fed. Cir. 2012) (“Direct competition in the same market is

 certainly one factor suggesting strongly the potential for irreparable harm without

 enforcement of the right to exclude.”).

       Specifically,     Plaintiffs’   expert’s   unrebutted      opinion     was    that

 Public.Resource.Org’s actions pose two significant threats to Plaintiffs’ existing

 business models. First, Plaintiffs rely primarily on users of their standards to fund

 standards development, rather than charging upfront fees before developing a

 standard. JA302 (SMF ¶257). That “back-loaded” model presents extremely low



                                           51
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 67 of 137



 barriers to participating in the standards-creation process. JA302 (SMF ¶258).

 Public.Resource.Org’s conduct threatens to force Plaintiffs to shift to a more “front-

 loaded” system that charges for participation in the standards-creation process,

 which would preclude the participation of certain stakeholders and increase the risk

 of industry capture. JA302 (SMF ¶¶259-60). Second, Plaintiffs currently decide

 whether to develop standards by considering factors like public safety and industry

 need—not whether the standard will generate significant revenues.              JA302

 (SMF ¶261). If Public.Resource.Org’s conduct continues, Plaintiffs may be forced

 to focus on developing only the most profitable standards, JA302 (SMF ¶¶259,

 262)—undermining their critical public-interest work.

       Additionally, if Public.Resource.Org’s conduct goes unchecked, it will act as

 a signal to the market that the creation of unauthorized versions of standards is

 acceptable. That will accelerate the proliferation of new versions of Plaintiffs’

 standards on other sites, thereby compounding Plaintiffs’ harm over time. JA301

 (SMF ¶254); see also JA5116 (2d. Supp. SMF ¶106), JA300 (SMF ¶249) (copies of

 Public.Resource.Org-versions of ASTM standards have been posted to third-party

 websites). In turn, the pressure for Plaintiffs to change their business models will

 only increase.




                                          52
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023     Page 68 of 137



              2.    Plaintiffs face irreparable harm to the exclusivity of their rights.

       a. Interference with Plaintiffs’ right to prevent repeated infringement is an

 ongoing irreparable harm. The loss of exclusive control over Plaintiffs’ works is

 magnified by the realities of the online environment where unauthorized copies are

 repeatedly downloaded and shared. See Metro-Goldwyn-Mayer Studios, Inc. v.

 Grokster, Ltd., 518 F. Supp. 2d 1197, 1218 (C.D. Cal. 2007) (“every downloader…

 of the copyrighted works is in turn capable of also transmitting perfect copies of the

 works…. threatening virtually unstoppable infringement of the copyright.” (citations

 omitted)). Indeed, since the inception of the lawsuit, third parties have posted and

 charged fees for copies of Plaintiffs’ standards obtained from Public.Resource.Org.

 JA5116 (2d. Supp. SMF ¶¶105-06); JA300 (SMF ¶249). And there is a serious risk

 that if Public.Resource.Org’s conduct goes unchecked, it will encourage other third

 parties to create unauthorized versions of Plaintiffs’ works. JA301 (SMF ¶254).

       b. The district court wrote off this harm because of Public.Resource.Org’s

 “voluntary removal” of Plaintiffs’ standards, many years into the litigation with

 Plaintiffs. JA9309 (Memorandum Opinion 45). But the “sudden[] reform” where a

 defendant “simply took the action that best suited him at the time” and stopped only

 when “he was caught red-handed” does not reduce the likelihood that he will infringe

 again. Walt Disney Co. v. Powell, 897 F.2d 565, 568 (D.C. Cir. 1990) (citation

 omitted); see also William R. Warner & Co. v Eli Lilly & Co., 265 U.S. 526, 532



                                          53
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 69 of 137



 (1924) (plaintiff “entitled to relief, is entitled to effective relief; and any doubt…

 must be resolved… against [defendant], which has shown by its conduct that it is

 not to be trusted”). Although Public.Resource.Org “voluntarily” removed Plaintiffs’

 standards at the district court’s prompting, see JA64 (November 4, 2015 Hearing Tr.

 20), Public.Resource.Org has continued to post additional standards owned by

 Plaintiffs since the lawsuit commenced, and Public.Resource.Org has indicated that

 it has no intention of stopping its conduct absent intervention from a court. JA298

 (SMF ¶¶235-36); JA5117 (2d. Supp. SMF ¶110). Moreover, the record is replete

 with examples of Public.Resource.Org’s reckless and inexact posting of its

 standards. See pp. 10-11, 33, supra. The district court erred in concluding that

 Plaintiffs would be adequately protected absent an injunction.

              3.    Public.Resource.Org’s conduct poses substantial reputational
                    harm.

       Finally, Public.Resource.Org’s conduct poses a significant risk of reputational

 injury because Public.Resource.Org’s versions of Plaintiffs’ standards contain errors

 that significantly altered the utility of standards. See, e.g., JA295 (SMF ¶219)

 (describing error in NFPA standard mistaking “M” (an abbreviation for meters) for

 “IN” (an abbreviation for inches)); JA5064 (2d. Supp. SMF ¶¶14-18) (errors have

 not been fixed by Public.Resource.Org); Groupe SEB USA, Inc. v. Euro-Pro

 Operating LLC, 774 F.3d 192, 204-05 (3d Cir. 2014) (“‘Grounds for irreparable

 injury include loss of control of reputation, loss of trade, and loss of goodwill.’”


                                          54
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 70 of 137



 (citation omitted)).   The district court itself acknowledged that this form of

 irreparable harm existed here and found Public.Resource.Org’s claims that it would

 correct errors to be “hardly reassuring.” JA9310 (Memorandum Opinion 46). While

 the court connected this finding specifically to Public.Resource.Org’s use of

 Plaintiffs’ logos, it applies equally to all standards where Public.Resource.Org

 infringed Plaintiffs’ copyrights.    Because Public.Resource.Org identifies these

 standards as emanating from Plaintiffs, the risk that a reader will attribute erroneous

 material to Plaintiffs exists regardless of whether Public.Resource.Org also uses

 Plaintiffs’ trademarked logos.

       D.     The district court abused its discretion in allowing the speculative
              possibility of future IBR to thwart entry of a permanent injunction.

       The district court abused its discretion by finding that the public would be

 “greatly disserved” by an injunction if the 32 standards were later IBR’d. JA9311

 (Memorandum Opinion 47). There is no evidence suggesting that any of these works

 are likely to be IBR’d in the future. Allowing this future speculative possibility to

 thwart entry of a permanent injunction was error. See Stormans, Inc. v. Selecky, 586

 F.3d 1109, 1139 (9th Cir. 2009) (directing the district court to “weigh the public

 interest in light of the likely consequences of the injunction… [which] must not be

 too remote, insubstantial, or speculative and must be supported by evidence”).

       Additionally, the conclusory assertion fails to address that Plaintiffs

 themselves provide free public access to all of their standards that are IBR’d.


                                           55
USCA Case #22-7063       Document #1989387             Filed: 03/09/2023   Page 71 of 137



 JA5107 (2d. Supp. SMF ¶85). Therefore, even if any of those 32 standards were

 later IBR’d, the public would have free public access to those standards. After nearly

 a decade of litigation, the record contains not even a single instance of lack of access

 to the Plaintiffs’ standards that would support finding a “great[] disserv[ice].”

 Rather, the public is greatly disserved by relying on Public.Resource.Org’s error-

 ridden copies of Plaintiffs’ standards. See pp. 54-55, supra.

                                     *      *      *

       In sum, each of the permanent injunction factors weighs in favor of enjoining

 Public.Resource.Org’s conduct. The district court abused its discretion in denying

 a permanent injunction, and this Court should remand for entry of a permanent

 injunction for any of Plaintiffs’ standards that have not been IBR’d. See Walt

 Disney, 897 F.2d at 568 (finding permanent injunction against future infringement

 of works owned by plaintiff but not in suit appropriate “[w]here… there has been a

 history of continuing infringement and a significant threat of future infringement

 remains”).




                                           56
USCA Case #22-7063     Document #1989387            Filed: 03/09/2023     Page 72 of 137



                                 CONCLUSION

       The    Court   should   (1)   vacate   the    district   court’s   ruling   that

 Public.Resource.Org had shown fair use as to the 185 Works and remand for analysis

 under the appropriate framework, and (2) reverse the district court’s denial of a

 permanent injunction for the 32 standards where Public.Resource.Org’s fair use

 defense failed.




                                        57
USCA Case #22-7063     Document #1989387      Filed: 03/09/2023   Page 73 of 137



 Dated September 23, 2022             Respectfully submitted,

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                                      58
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023   Page 74 of 137



                       CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitation of Rule 32(a)(7)(B). As

 measured by the word-processing system used to prepare this brief, there are 12,992

 words in the brief excluding the parts of the brief exempted by Fed. R. App. P. 32(f)

 and D.C. Cir. Rule 32(e)(1).

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 Dated: January 27, 2023                       /s/ J. Kevin Fee
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                                          59
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023   Page 75 of 137



                           CERTIFICATE OF SERVICE

       I certify that on January 27, 2023, a true and correct copy of this Appellants’

 Brief was filed via the Court’s electronic filing system, which will forward a copy

 to all counsel of record. I certify that all participants in this case are registered

 CM/ECF users.

 Dated: January 27, 2023                      /s/ J. Kevin Fee
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                                       COS-1
USCA Case #22-7063   Document #1989387   Filed: 03/09/2023   Page 76 of 137




                        APPENDIX
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023    Page 77 of 137



                           Appendix to Appellants’ Brief

 A.    Introductory Discussion Regarding Incorporation

                                                           District Court Appendix
                District Court’s Analysis
                                                               Paragraph Nos.
  1. 176 Works: An incorporating regulation “does
  not specify that only certain provisions of [the
  standard] are incorporated by reference into law” and      4-16, 18, 20-56, 58, 60-
  does not “indicate which specific provisions of [the        84, 86-121, 123-185
  standard] are relevant for compliance with the
  regulation.” 1
  2. 1 Work: An incorporating regulation requires                        17
  compliance with the standard “generally.”
  3. 1 Work: An incorporating regulation                                 19
  incorporates the standard “in full.”
  4. 3 Works: The incorporating regulation                          1, 85, 122
  incorporates only certain portions of the standard.
  5. 4 Works: The introductory discussion does not                 2-3, 57, 59
  include an explicit conclusion about which portions
  of the standard have been incorporated by reference
  or are relevant to compliance with the regulation.




       1
         The district court used slightly different but substantively identical language
 with respect to some Works. See, e.g., Appendix ¶ 4 (“The regulation does not
 specify that only certain provisions of ASHRAE 90.1 (2010) are incorporated by
 reference into law, nor does it indicate which specific provisions of ASHRAE 90.1
 (2010) are relevant for regulatory compliance with the regulation.” (emphasis
 added)). For one Work, the district court stated that an incorporating regulation
 “does not specify which provisions of [the standard] are relevant” to the particular
 subject matter of the regulation, but did not include a statement that the regulation
 did not specify that only certain provisions are incorporated. Id. ¶ 33.

                                         APP-1
USCA Case #22-7063      Document #1989387           Filed: 03/09/2023    Page 78 of 137



 B.    First Factor 2

                                                         District Court Appendix
               District Court’s Analysis
                                                              Paragraph Nos.
                                                         8-9, 12-20, 22-27, 31, 35-
  1. 131 Works: “[T]he incorporated standard             36, 46-47, 54, 56, 58, 60-
  provides information essential for a private entity to 85, 87-129, 132, 134-141,
  comprehend its legal duties, which weighs heavily in 143-149, 152-153, 157-
  favor of permitting Defendant’s reproduction.”          161, 164, 169-172, 174,
                                                             176-181, 184-185
  2. 1 Work: “[T]he incorporated standard provides
  information essential for a private entity to
  comprehend its legal duties regarding Test Methods                  1
  A and B, which weighs heavily in favor of
  permitting Defendant’s reproduction.”
  3. 48 Works: “[T]he court finds that the
  incorporated standard does not provide information     5-7, 11, 21, 28-30, 32-34,
  essential for a private entity to comprehend its legal 37-45, 48-53, 55, 57, 59,
  duties,” but rather is incorporated as a reference or   86, 130-131, 142, 150-
  discretionary procedure. “[T]hus, Defendant’s use is 151, 154-156, 162-163,
  less transformative and ‘its wholesale copying, in      165-168, 173, 175, 182-
  turn, less justified.’” (quoting ASTM II, 896 F.3d at             183
  450).
  4. 2 Works: The standard is incorporated as a
  discretionary procedure, but “provides information
  essential for a private entity to comprehend its legal           10, 133
  duties . . . which weighs heavily in favor of
  permitting Defendant’s reproduction.”


       2
          For each of the 185 Works, the Appendix includes a substantively identical
 introductory section. See, e.g., Appendix ¶ 1 (“There is no indication that Defendant
 stands to profit from republishing this standard; Defendant’s apparent purpose is to
 inform the public about the law and facilitate public debate. Defendant’s ‘attempt
 to freely distribute standards incorporated by reference into law qualifie[s] as a use
 that further[s] the purposes of the fair use defense.’” (quoting Am. Soc’y for Testing
 & Materials v. Public.Resource.Org, Inc., 896 F.3d 437, 449 (D.C. Cir. 2018)
 (ASTM II)) (citing ASTM II, 896 F.3d at 449; PRO Second Motion for Summary
 Judgment 16, Dkt. 202)).

                                        APP-2
USCA Case #22-7063       Document #1989387          Filed: 03/09/2023     Page 79 of 137



                                                            District Court Appendix
               District Court’s Analysis
                                                                Paragraph Nos.
  5. 3 Works: “[T]he regulation does not incorporate
  the standard in a manner that requires a private entity
  to comprehend the standard to comply with its legal                   2-4
  duties. . . . Allowing public access to [the standard]
  facilitates public debate . . . .”

 C.    Second Factor 3

                                                            District Court Appendix
               District Court’s Analysis
                                                                Paragraph Nos.
  1. 181 Works: PRO posted text that was
  “incorporated into law without limitation[] such that
  ‘the consequence of the incorporation by reference is
                                                            2-104, 107-121, 123-185
  virtually indistinguishable from a situation in which
  the standard had been expressly copied into law.’”
  (quoting ASTM II, 896 F.3d at 452).
  2. 4 Works: The standard is only partially
  incorporated so “Defendant’s wholesale reproduction
                                                                1, 105-106, 122
  is [] ‘harder to justify.’” (quoting ASTM II, 896 F.3d
  at 451).




       3
         For each of the 185 Works, the Appendix includes a substantively identical
 introductory section. See, e.g., Appendix ¶ 1 (“The ‘express text of the law falls
 plainly outside the realm of copyright protection.’” (quoting ASTM II, 896 F.3d at
 451)).

                                        APP-3
USCA Case #22-7063       Document #1989387           Filed: 03/09/2023       Page 80 of 137



 D.    Third Factor

                                                           District Court Appendix
                District Court’s Analysis
                                                               Paragraph Nos.
  1. 182 Works: An “incorporating regulation does
  not specify that only certain provisions [of this
  standard or its text] are incorporated by reference
  into law, nor does it indicate which specific
                                                             2-84, 86-121, 123-185
  provisions of the standard are relevant for regulatory
  compliance, suggesting that ‘a greater amount of the
  standard’s text might be fairly reproduced.’”
  (quoting ASTM II, 896 F.3d at 452). 4
  2. 2 Works: “The incorporating regulation specifies
  that only specific portions of the standard are
  incorporated by reference into law, specifically, Test
  Procedures A, B, and C, which justifies posting the
  specific text of those provisions. Those test
  procedures, however, constitute a substantial portion
                                                                     85, 122
  of the standard republished by Defendant.
  Moreover, copying and republishing the standard’s
  background sections and appendix ‘are reasonable in
  relation to the purpose of the copying.’” (quoting
  Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569,
  586-87 (1994) (citing ASTM II, 896 F.3d at 452)). 5
  3. 1 Work: “The incorporating regulation specifies
  that only specific portions of the standard are
  incorporated by reference into law. While that
                                                                         1
  incorporation justifies posting the specific text of
  those provisions—the text of Test Methods A and
  B—it does not justify posting the entire standard.”


       4
         For four Works, the district court stated that an incorporating regulation does
 “not [indicate] which specific provisions of the standard are relevant for regulatory
 compliance,” but did not include a statement that the regulation did not specify that
 only certain provisions are incorporated. Appendix ¶¶ 17, 20, 105-106.
       5
         For one Work, the district court appended the following to the text quoted
 above: “given that they relate to the standard’s full text and assist readers with
 understanding the standard’s legal import.” Appendix ¶ 85.

                                         APP-4
USCA Case #22-7063       Document #1989387            Filed: 03/09/2023        Page 81 of 137



 E.    Fourth Factor

                                                            District Court Appendix
                District Court’s Analysis
                                                                Paragraph Nos.
  1. 185 Works: “Defendant’s reproductions have not
  had a ‘substantially adverse impact on the potential
  market for the originals,’ nor have Plaintiffs shown
                                                                      1-185
  by a preponderance of the evidence that there is a
  meaningful likelihood of future harm.’” (quoting
  Memorandum Opinion 30-36).


 F.    Conclusion

                                                            District Court Appendix
                District Court’s Analysis
                                                                Paragraph Nos.
  1. 183 Works: “Defendant may fairly reproduce”
  the standard’s text “in its entirety.”                         2-170, 172-185
  2. 1 Work: “Defendant may fairly reproduce the
  text of” the standard.                                                  171
  3. 1 Work: “Defendant may fairly reproduce”
  certain portions of the standard, but not others.                        1




                                         APP-5
USCA Case #22-7063   Document #1989387   Filed: 03/09/2023   Page 82 of 137




                        ADDENDUM
  USCA Case #22-7063                 Document #1989387                     Filed: 03/09/2023           Page 83 of 137

                                            TABLE OF CONTENTS



5 U.S.C. § 552 (excerpts) ................................................................................ ADD-1

17 U.S.C. § 107 (excerpts) .............................................................................. ADD-2

17 U.S.C. § 502 ............................................................................................... ADD-4

Pub. L. No. 104-113, § 12(d)(1), 110 Stat. 775 (1996) (excerpts) ................. ADD-5

33 C.F.R. Pt. 154, App. C (1999).................................................................... ADD-8

33 C.F.R. Pt. 154, App. C (2014).................................................................. ADD-16

38 C.F.R. § 39.63 (2011)............................................................................... ADD-24

40 C.F.R. Pt. 75, App. D (2010) (excerpts) .................................................. ADD-26

40 C.F.R. § 136.3 (2003)............................................................................... ADD-28

40 C.F.R. § 1065.1010 (2008) ...................................................................... ADD-43

40 C.F.R. § 1065.1010 (2021) ...................................................................... ADD-46

46 C.F.R. § 39.1005 (2021)........................................................................... ADD-50

46 C.F.R. § 39.2009 (2021)........................................................................... ADD-52

46 C.F.R. § 56.60-2 (1997) ........................................................................... ADD-53
USCA Case #22-7063                       Document #1989387                             Filed: 03/09/2023               Page 84 of 137



       Page 25                       TITLE 5—GOVERNMENT ORGANIZATION AND EMPLOYEES                                                    § 552

               HISTORICAL AND REVISION NOTES—CONTINUED                                ‘‘(1) a description of the sources of administrative
                                                                                   subpoena power and the scope of such subpoena power
                                                     Revised Statutes and          within executive branch agencies;
        Derivation              U.S. Code             Statutes at Large
                                                                                      ‘‘(2) a description of applicable subpoena enforce-
                                                Mar. 30, 1948, ch. 161, § 301,     ment mechanisms;
                                                 62 Stat. 99.                         ‘‘(3) a description of any notification provisions and
       (2)–(13) .......   5 U.S.C. 1001 (less   June 11, 1946, ch. 324, § 2        any other provisions relating to safeguarding privacy
                            (a)).                (less (a)), 60 Stat. 237.         interests;
                                                                                      ‘‘(4) a description of the standards governing the is-
         In paragraph (1), the sentence ‘‘Nothing in this Act                      suance of administrative subpoenas; and
       shall be construed to repeal delegations of authority as                       ‘‘(5) recommendations from the Attorney General
       provided by law,’’ is omitted as surplusage since there                     regarding necessary steps to ensure that administra-
       is nothing in the Act which could reasonably be so con-                     tive subpoena power is used and enforced consistently
       strued.                                                                     and fairly by executive branch agencies.
         In paragraph (1)(G), the words ‘‘or naval’’ are omitted                   ‘‘(b) REPORT ON FREQUENCY OF USE OF ADMINISTRA-
       as included in ‘‘military’’.                                              TIVE SUBPOENAS.—
         In paragraph (1)(H), the words ‘‘functions which by                          ‘‘(1) IN GENERAL.—The Attorney General and the
       law expire on the termination of present hostilities,                       Secretary of the Treasury shall report in January of
       within any fixed period thereafter, or before July 1,                       each year to the Committees on the Judiciary of the
       1947’’ are omitted as executed. Reference to the ‘‘Selec-                   Senate and the House of Representatives on the num-
       tive Training and Service Act of 1940’’ is omitted as                       ber of administrative subpoenas issued by them under
       that Act expired Mar. 31, 1947. Reference to the ‘‘Sugar                    this section and the identity of the agency or compo-
       Control Extension Act of 1947’’ is omitted as that Act                      nent of the Department of Justice or the Department
       expired on Mar. 31, 1948. References to the ‘‘Housing                       of the Treasury issuing the subpoena and imposing
       and Rent Act of 1947, as amended’’ and the ‘‘Veterans’                      the charges.
       Emergency Housing Act of 1946’’ have been consoli-                             ‘‘(2) EXPIRATION.—The reporting requirement of this
       dated as they are related. The reference to former sec-                     subsection shall terminate in 3 years after the date of
       tion 1641(b)(2) of title 50, appendix, is retained notwith-                 the enactment of this section [Dec. 19, 2000].’’
       standing its repeal by § 111(a)(1) of the Act of Sept. 21,                § 552. Public information; agency rules, opinions,
       1961, Pub. L. 87–256, 75 Stat. 538, since § 111(c) of the Act
       provides that a reference in other Acts to a provision
                                                                                     orders, records, and proceedings
       of law repealed by § 111(a) shall be considered to be a                     (a) Each agency shall make available to the
       reference to the appropriate provisions of Pub. L.                        public information as follows:
       87–256.                                                                     (1) Each agency shall separately state and cur-
         In paragraph (2), the words ‘‘of any character’’ are
       omitted as surplusage.
                                                                                 rently publish in the Federal Register for the
         In paragraph (3), the words ‘‘and a person or agency                    guidance of the public—
       admitted by an agency as a party for limited purposes’’                       (A) descriptions of its central and field orga-
       are substituted for ‘‘but nothing herein shall be con-                      nization and the established places at which,
       strued to prevent an agency from admitting any person                       the employees (and in the case of a uniformed
       or agency as a party for limited purposes’’.                                service, the members) from whom, and the
         In paragraph (9), a comma is supplied between the                         methods whereby, the public may obtain infor-
       words ‘‘limitation’’ and ‘‘amendment’’ to correct an                        mation, make submittals or requests, or ob-
       editorial error of omission.
                                                                                   tain decisions;
         In paragraph (10)(C), the words ‘‘of any form’’ are
       omitted as surplusage.
                                                                                     (B) statements of the general course and
         Standard changes are made to conform with the defi-                       method by which its functions are channeled
       nitions applicable and the style of this title as outlined                  and determined, including the nature and re-
       in the preface to the report.                                               quirements of all formal and informal proce-
                                                                                   dures available;
                                      CODIFICATION
                                                                                     (C) rules of procedure, descriptions of forms
         Section 551 of former Title 5, Executive Departments                      available or the places at which forms may be
       and Government Officers and Employees, was trans-                           obtained, and instructions as to the scope and
       ferred to section 2242 of Title 7, Agriculture.                             contents of all papers, reports, or examina-
                                      AMENDMENTS                                   tions;
                                                                                     (D) substantive rules of general applicability
         2011—Par. (1)(H). Pub. L. 111–350 struck out ‘‘chapter
       2 of title 41;’’ after ‘‘title 12;’’.                                       adopted as authorized by law, and statements
         1994—Par. (1)(H). Pub. L. 103–272 substituted ‘‘sub-                      of general policy or interpretations of general
       chapter II of chapter 471 of title 49; or sections’’ for ‘‘or               applicability formulated and adopted by the
       sections 1622,’’.                                                           agency; and
         1976—Par. (14). Pub. L. 94–409 added par. (14).                             (E) each amendment, revision, or repeal of
                     EFFECTIVE DATE OF 1976 AMENDMENT
                                                                                   the foregoing.
         Amendment by Pub. L. 94–409 effective 180 days after                    Except to the extent that a person has actual
       Sept. 13, 1976, see section 6 of Pub. L. 94–409, set out as               and timely notice of the terms thereof, a person
       an Effective Date note under section 552b of this title.                  may not in any manner be required to resort to,
                                                                                 or be adversely affected by, a matter required to
         STUDY AND REPORTS ON ADMINISTRATIVE SUBPOENAS
                                                                                 be published in the Federal Register and not so
         Pub. L. 106–544, § 7, Dec. 19, 2000, 114 Stat. 2719, pro-               published. For the purpose of this paragraph,
       vided that:                                                               matter reasonably available to the class of per-
         ‘‘(a) STUDY ON USE OF ADMINISTRATIVE SUBPOENAS.—                        sons affected thereby is deemed published in the
       Not later than December 31, 2001, the Attorney General,
                                                                                 Federal Register when incorporated by reference
       in consultation with the Secretary of the Treasury,
       shall complete a study on the use of administrative                       therein with the approval of the Director of the
       subpoena power by executive branch agencies or enti-                      Federal Register.
       ties and shall report the findings to the Committees on                     (2) Each agency, in accordance with published
       the Judiciary of the Senate and the House of Rep-                         rules, shall make available for public inspection
       resentatives. Such report shall include—                                  and copying—


                                                                  ADD-1
      USCA Case #22-7063                                Document #1989387                                 Filed: 03/09/2023               Page 85 of 137


                      Page 25                                           TITLE 17—COPYRIGHTS                                                       § 107

                             (B) to prevent any destruction of a work of                    ership of any copy of a work of visual art, or of
                           recognized stature, and any intentional or                       a copyright or any exclusive right under a copy-
                           grossly negligent destruction of that work is                    right, shall not constitute a waiver of the rights
                           a violation of that right.                                       conferred by subsection (a). Except as may oth-
                        (b) SCOPE AND EXERCISE OF RIGHTS.—Only the                          erwise be agreed by the author in a written in-
                      author of a work of visual art has the rights                         strument signed by the author, a waiver of the
                      conferred by subsection (a) in that work, wheth-                      rights conferred by subsection (a) with respect
                      er or not the author is the copyright owner. The                      to a work of visual art shall not constitute a
                      authors of a joint work of visual art are co-                         transfer of ownership of any copy of that work,
                      owners of the rights conferred by subsection (a)                      or of ownership of a copyright or of any exclu-
                      in that work.                                                         sive right under a copyright in that work.
                        (c) EXCEPTIONS.—(1) The modification of a                           (Added Pub. L. 101–650, title VI, § 603(a), Dec. 1,
                      work of visual art which is a result of the pas-                      1990, 104 Stat. 5128.)
                      sage of time or the inherent nature of the mate-
                      rials is not a distortion, mutilation, or other                                             Editorial Notes
                      modification described in subsection (a)(3)(A).                                           REFERENCES IN TEXT
                        (2) The modification of a work of visual art
                      which is the result of conservation, or of the                          Section 610(a) of the Visual Artists Rights Act of 1990
                      public presentation, including lighting and                           [Pub. L. 101–650], referred to in subsec. (d), is set out as
                                                                                            an Effective Date note below.
                      placement, of the work is not a destruction, dis-
                      tortion, mutilation, or other modification de-                                  Statutory Notes and Related Subsidiaries
                      scribed in subsection (a)(3) unless the modifica-
                      tion is caused by gross negligence.                                                         EFFECTIVE DATE
                        (3) The rights described in paragraphs (1) and                        Pub. L. 101–650, title VI, § 610, Dec. 1, 1990, 104 Stat.
                      (2) of subsection (a) shall not apply to any repro-                   5132, provided that:
                      duction, depiction, portrayal, or other use of a                        ‘‘(a) IN GENERAL.—Subject to subsection (b) and ex-
                      work in, upon, or in any connection with any                          cept as provided in subsection (c), this title [enacting
                      item described in subparagraph (A) or (B) of the                      this section, amending sections 101, 107, 113, 301, 411,
                                                                                            412, 501, and 506 of this title, and enacting provisions set
                      definition of ‘‘work of visual art’’ in section 101,
                                                                                            out as notes under this section and section 101 of this
                      and any such reproduction, depiction, portrayal,                      title] and the amendments made by this title take ef-
                      or other use of a work is not a destruction, dis-                     fect 6 months after the date of the enactment of this
                      tortion, mutilation, or other modification de-                        Act [Dec. 1, 1990].
                      scribed in paragraph (3) of subsection (a).                             ‘‘(b) APPLICABILITY.—The rights created by section
                        (d) DURATION OF RIGHTS.—(1) With respect to                         106A of title 17, United States Code, shall apply to—
                      works of visual art created on or after the effec-                         ‘‘(1) works created before the effective date set
                      tive date set forth in section 610(a) of the Visual                     forth in subsection (a) but title to which has not, as
                      Artists Rights Act of 1990, the rights conferred                        of such effective date, been transferred from the au-
                                                                                              thor, and
                      by subsection (a) shall endure for a term con-
                                                                                                 ‘‘(2) works created on or after such effective date,
                      sisting of the life of the author.                                      but shall not apply to any destruction, distortion,
                        (2) With respect to works of visual art created                       mutilation, or other modification (as described in
                      before the effective date set forth in section                          section 106A(a)(3) of such title) of any work which oc-
                      610(a) of the Visual Artists Rights Act of 1990,                        curred before such effective date.
                      but title to which has not, as of such effective                        ‘‘(c) SECTION 608.—Section 608 [set out below] takes
                      date, been transferred from the author, the                           effect on the date of the enactment of this Act.’’
                      rights conferred by subsection (a) shall be coex-                                    STUDIES BY COPYRIGHT OFFICE
                      tensive with, and shall expire at the same time
                                                                                              Pub. L. 101–650, title VI, § 608, Dec. 1, 1990, 104 Stat.
                      as, the rights conferred by section 106.
                                                                                            5132, directed the Register of Copyrights to study the
                        (3) In the case of a joint work prepared by two
                                                                                            extent to which authorship rights have been waived by
                      or more authors, the rights conferred by sub-                         visual artists under this section and to submit a final
                      section (a) shall endure for a term consisting of                     report to Congress not later than 5 years after Dec. 1,
                      the life of the last surviving author.                                1990, and also directed the Register of Copyrights to
                        (4) All terms of the rights conferred by sub-                       study the feasibility of implementing a requirement
                      section (a) run to the end of the calendar year in                    that, after the first sale of a work of art, would enable
                      which they would otherwise expire.                                    authors of visual art to share monetarily in the resale
                        (e) TRANSFER AND WAIVER.—(1) The rights con-                        and enhanced value of that work, with a report to Con-
                      ferred by subsection (a) may not be transferred,                      gress due not later than 18 months after Dec. 1, 1990.
                      but those rights may be waived if the author ex-                      § 107. Limitations on exclusive rights: Fair use
                      pressly agrees to such waiver in a written in-
                      strument signed by the author. Such instrument                          Notwithstanding the provisions of sections 106
                      shall specifically identify the work, and uses of                     and 106A, the fair use of a copyrighted work, in-
                      that work, to which the waiver applies, and the                       cluding such use by reproduction in copies or
                      waiver shall apply only to the work and uses so                       phonorecords or by any other means specified by
                      identified. In the case of a joint work prepared                      that section, for purposes such as criticism,
                      by two or more authors, a waiver of rights under                      comment, news reporting, teaching (including
                      this paragraph made by one such author waives                         multiple copies for classroom use), scholarship,
                      such rights for all such authors.                                     or research, is not an infringement of copyright.
                        (2) Ownership of the rights conferred by sub-                       In determining whether the use made of a work
                      section (a) with respect to a work of visual art                      in any particular case is a fair use the factors to
                      is distinct from ownership of any copy of that                        be considered shall include—
                      work, or of a copyright or any exclusive right                            (1) the purpose and character of the use, in-
                      under a copyright in that work. Transfer of own-                        cluding whether such use is of a commercial




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                                                                                  ADD-2
          USCA Case #22-7063                             Document #1989387                               Filed: 03/09/2023              Page 86 of 137
                      § 107                                              TITLE 17—COPYRIGHTS                                                  Page 26

                        nature or is for nonprofit educational pur-                          long controversy over the related problems of fair use
                        poses;                                                               and the reproduction (mostly by photocopying) of copy-
                          (2) the nature of the copyrighted work;                            righted material for educational and scholarly pur-
                          (3) the amount and substantiality of the por-                      poses. For example, the reference to fair use ‘‘by repro-
                                                                                             duction in copies or phonorecords or by any other
                        tion used in relation to the copyrighted work                        means’’ is mainly intended to make clear that the doc-
                        as a whole; and                                                      trine has as much application to photocopying and tap-
                          (4) the effect of the use upon the potential                       ing as to older forms of use; it is not intended to give
                        market for or value of the copyrighted work.                         these kinds of reproduction any special status under
                      The fact that a work is unpublished shall not                          the fair use provision or to sanction any reproduction
                                                                                             beyond the normal and reasonable limits of fair use.
                      itself bar a finding of fair use if such finding is                    Similarly, the newly-added reference to ‘‘multiple cop-
                      made upon consideration of all the above fac-                          ies for classroom use’’ is a recognition that, under the
                      tors.                                                                  proper circumstances of fairness, the doctrine can be
                      (Pub. L. 94–553, title I, § 101, Oct. 19, 1976, 90 Stat.               applied to reproductions of multiple copies for the
                      2546; Pub. L. 101–650, title VI, § 607, Dec. 1, 1990,                  members of a class.
                                                                                               The Committee has amended the first of the criteria
                      104 Stat. 5132; Pub. L. 102–492, Oct. 24, 1992, 106                    to be considered—‘‘the purpose and character of the
                      Stat. 3145.)                                                           use’’—to state explicitly that this factor includes a
                                   HISTORICAL AND REVISION NOTES                             consideration of ‘‘whether such use is of a commercial
                                                                                             nature or is for non-profit educational purposes.’’ This
                                           HOUSE REPORT NO. 94–1476                          amendment is not intended to be interpreted as any
                         General Background of the Problem. The judicial doc-                sort of not-for-profit limitation on educational uses of
                      trine of fair use, one of the most important and well-                 copyrighted works. It is an express recognition that, as
                      established limitations on the exclusive right of copy-                under the present law, the commercial or non-profit
                      right owners, would be given express statutory recogni-                character of an activity, while not conclusive with re-
                      tion for the first time in section 107. The claim that a               spect to fair use, can and should be weighed along with
                      defendant’s acts constituted a fair use rather than an                 other factors in fair use decisions.
                      infringement has been raised as a defense in innumer-                    General Intention Behind the Provision. The state-
                      able copyright actions over the years, and there is                    ment of the fair use doctrine in section 107 offers some
                      ample case law recognizing the existence of the doc-                   guidance to users in determining when the principles of
                      trine and applying it. The examples enumerated at                      the doctrine apply. However, the endless variety of sit-
                      page 24 of the Register’s 1961 Report, while by no means               uations and combinations of circumstances that can
                      exhaustive, give some idea of the sort of activities the               rise in particular cases precludes the formulation of
                      courts might regard as fair use under the cir-                         exact rules in the statute. The bill endorses the purpose
                      cumstances: ‘‘quotation of excerpts in a review or criti-              and general scope of the judicial doctrine of fair use,
                      cism for purposes of illustration or comment; quotation                but there is no disposition to freeze the doctrine in the
                      of short passages in a scholarly or technical work, for                statute, especially during a period of rapid techno-
                      illustration or clarification of the author’s observa-                 logical change. Beyond a very broad statutory expla-
                      tions; use in a parody of some of the content of the                   nation of what fair use is and some of the criteria ap-
                                                                                             plicable to it, the courts must be free to adapt the doc-
                      work parodied; summary of an address or article, with
                                                                                             trine to particular situations on a case-by-case basis.
                      brief quotations, in a news report; reproduction by a li-
                                                                                             Section 107 is intended to restate the present judicial
                      brary of a portion of a work to replace part of a dam-
                                                                                             doctrine of fair use, not to change, narrow, or enlarge
                      aged copy; reproduction by a teacher or student of a
                                                                                             it in any way.
                      small part of a work to illustrate a lesson; reproduction                Intention as to Classroom Reproduction. Although
                      of a work in legislative or judicial proceedings or re-                the works and uses to which the doctrine of fair use is
                      ports; incidental and fortuitous reproduction, in a                    applicable are as broad as the copyright law itself,
                      newsreel or broadcast, of a work located in the scene of               most of the discussion of section 107 has centered
                      an event being reported.’’                                             around questions of classroom reproduction, particu-
                         Although the courts have considered and ruled upon
                                                                                             larly photocopying. The arguments on the question are
                      the fair use doctrine over and over again, no real defini-
                                                                                             summarized at pp. 30–31 of this Committee’s 1967 report
                      tion of the concept has ever emerged. Indeed, since the                (H.R. Rep. No. 83, 90th Cong., 1st Sess.), and have not
                      doctrine is an equitable rule of reason, no generally ap-              changed materially in the intervening years.
                      plicable definition is possible, and each case raising the               The Committee also adheres to its earlier conclusion,
                      question must be decided on its own facts. On the other                that ‘‘a specific exemption freeing certain reproduc-
                      hand, the courts have evolved a set of criteria which,                 tions of copyrighted works for educational and schol-
                      though in no case definitive or determinative, provide                 arly purposes from copyright control is not justified.’’
                      some gauge for balancing the equities. These criteria                  At the same time the Committee recognizes, as it did
                      have been stated in various ways, but essentially they                 in 1967, that there is a ‘‘need for greater certainty and
                      can all be reduced to the four standards which have                    protection for teachers.’’ In an effort to meet this need
                      been adopted in section 107: ‘‘(1) the purpose and char-               the Committee has not only adopted further amend-
                      acter of the use, including whether such use is of a                   ments to section 107, but has also amended section
                      commercial nature or is for nonprofit educational pur-                 504(c) to provide innocent teachers and other non-profit
                      poses; (2) the nature of the copyrighted work; (3) the                 users of copyrighted material with broad insulation
                      amount and substantiality of the portion used in rela-                 against unwarranted liability for infringement. The
                      tion to the copyrighted work as a whole; and (4) the ef-               latter amendments are discussed below in connection
                      fect of the use upon the potential market for or value                 with Chapter 5 of the bill [§ 501 et seq. of this title].
                      of the copyrighted work.’’                                               In 1967 the Committee also sought to approach this
                         These criteria are relevant in determining whether                  problem by including, in its report, a very thorough
                      the basic doctrine of fair use, as stated in the first sen-            discussion of ‘‘the considerations lying behind the four
                      tence of section 107, applies in a particular case: ‘‘Not-             criteria listed in the amended section 107, in the con-
                      withstanding the provisions of section 106, the fair use               text of typical classroom situations arising today.’’
                      of a copyrighted work, including such use by reproduc-                 This discussion appeared on pp. 32–35 of the 1967 report,
                      tion in copies or phonorecords or by any other means                   and with some changes has been retained in the Senate
                      specified by that section, for purposes such as criti-                 report on S. 22 (S. Rep. No. 94–473, pp. 63–65). The Com-
                      cism, comment, news reporting, teaching (including                     mittee has reviewed this discussion, and considers that
                      multiple copies for classroom use), scholarship, or re-                it still has value as an analysis of various aspects of
                      search, is not an infringement of copyright.’’                         the problem.
                         The specific wording of section 107 as it now stands is               At the Judiciary Subcommittee hearings in June
                      the result of a process of accretion, resulting from the               1975, Chairman Kastenmeier and other members urged




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                                                                                   ADD-3
      USCA Case #22-7063                                 Document #1989387                                Filed: 03/09/2023               Page 87 of 137


                      § 502                                              TITLE 17—COPYRIGHTS                                                 Page 168

                          CAUSES OF ACTION ARISING UNDER PREDECESSOR                         been impounded. The protective order shall pro-
                                          PROVISIONS                                         vide for appropriate procedures to ensure that
                        Pub. L. 94–553, title I, § 112, Oct. 19, 1976, 90 Stat. 2600,        confidential, private, proprietary, or privileged
                      provided that: ‘‘All causes of action that arose under                 information contained in such records is not im-
                      title 17 before January 1, 1978, shall be governed by                  properly disclosed or used.
                      title 17 as it existed when the cause of action arose.’’                 (3) The relevant provisions of paragraphs (2)
                      § 502. Remedies for infringement: Injunctions                          through (11) of section 34(d) of the Trademark
                                                                                             Act (15 U.S.C. 1116(d)(2) through (11)) shall ex-
                        (a) Any court having jurisdiction of a civil ac-                     tend to any impoundment of records ordered
                      tion arising under this title may, subject to the                      under paragraph (1)(C) that is based upon an ex
                      provisions of section 1498 of title 28, grant tem-                     parte application, notwithstanding the provi-
                      porary and final injunctions on such terms as it                       sions of rule 65 of the Federal Rules of Civil Pro-
                      may deem reasonable to prevent or restrain in-                         cedure. Any references in paragraphs (2) through
                      fringement of a copyright.                                             (11) of section 34(d) of the Trademark Act to sec-
                        (b) Any such injunction may be served any-                           tion 32 of such Act shall be read as references to
                      where in the United States on the person en-                           section 501 of this title, and references to use of
                      joined; it shall be operative throughout the                           a counterfeit mark in connection with the sale,
                      United States and shall be enforceable, by pro-                        offering for sale, or distribution of goods or serv-
                      ceedings in contempt or otherwise, by any                              ices shall be read as references to infringement
                      United States court having jurisdiction of that                        of a copyright.
                      person. The clerk of the court granting the in-                          (b) As part of a final judgment or decree, the
                      junction shall, when requested by any other                            court may order the destruction or other reason-
                      court in which enforcement of the injunction is                        able disposition of all copies or phonorecords
                      sought, transmit promptly to the other court a                         found to have been made or used in violation of
                      certified copy of all the papers in the case on file                   the copyright owner’s exclusive rights, and of
                      in such clerk’s office.                                                all plates, molds, matrices, masters, tapes, film
                      (Pub. L. 94–553, title I, § 101, Oct. 19, 1976, 90 Stat.               negatives, or other articles by means of which
                      2584.)                                                                 such copies or phonorecords may be reproduced.

                                   HISTORICAL AND REVISION NOTES
                                                                                             (Pub. L. 94–553, title I, § 101, Oct. 19, 1976, 90 Stat.
                                                                                             2585; Pub. L. 110–403, title I, § 102(a), Oct. 13, 2008,
                                           HOUSE REPORT NO. 94–1476                          122 Stat. 4258; Pub. L. 111–295, § 6(d), Dec. 9, 2010,
                        Section 502(a) [subsec. (a) of this section] reasserts               124 Stat. 3181.)
                      the discretionary power of courts to grant injunctions                              HISTORICAL AND REVISION NOTES
                      and restraining orders, whether ‘‘preliminary,’’ ‘‘tem-
                      porary,’’ ‘‘interlocutory,’’ ‘‘permanent,’’ or ‘‘final,’’ to                            HOUSE REPORT NO. 94–1476
                      prevent or stop infringements of copyright. This power
                      is made subject to the provisions of section 1498 of title               The two subsections of section 503 deal respectively
                      28 dealing with infringement actions against the United                with the courts’ power to impound allegedly infringing
                      States. The latter reference in section 502(a) makes it                articles during the time an action is pending, and to
                      clear that the bill would not permit the granting of an                order the destruction or other disposition of articles
                      injunction against an infringement for which the Fed-                  found to be infringing. In both cases the articles af-
                      eral Government is liable under section 1498.                          fected include ‘‘all copies or phonorecords’’ which are
                        Under subsection (b), which is the counterpart of pro-               claimed or found ‘‘to have been made or used in viola-
                      visions in sections 112 and 113 of the present statute                 tion of the copyright owner’s exclusive rights,’’ and
                      [sections 112 and 113 of former title 17], a copyright                 also ‘‘all plates, molds, matrices, masters, tapes, film
                      owner who has obtained an injunction in one State will                 negatives, or other articles by means of which such
                      be able to enforce it against a defendant located any-                 copies of phonorecords may be reproduced.’’ The alter-
                      where else in the United States.                                       native phrase ‘‘made or used’’ in both subsections en-
                                                                                             ables a court to deal as it sees fit with articles which,
                      § 503. Remedies for infringement: Impounding                           though reproduced and acquired lawfully, have been
                          and disposition of infringing articles                             used for infringing purposes such as rentals, perform-
                                                                                             ances, and displays.
                        (a)(1) At any time while an action under this                          Articles may be impounded under subsection (a) ‘‘at
                      title is pending, the court may order the im-                          any time while an action under this title is pending,’’
                      pounding, on such terms as it may deem reason-                         thus permitting seizures of articles alleged to be in-
                                                                                             fringing as soon as suit has been filed and without
                      able—
                                                                                             waiting for an injunction. The same subsection empow-
                          (A) of all copies or phonorecords claimed to                       ers the court to order impounding ‘‘on such terms as it
                        have been made or used in violation of the ex-                       may deem reasonable.’’ The present Supreme Court
                        clusive right of the copyright owner;                                rules with respect to seizure and impounding were
                          (B) of all plates, molds, matrices, masters,                       issued even though there is no specific provision au-
                        tapes, film negatives, or other articles by                          thorizing them in the copyright statute, and there ap-
                        means of which such copies or phonorecords                           pears no need for including a special provision on the
                        may be reproduced; and                                               point in the bill.
                                                                                               Under section 101(d) of the present statute [section
                          (C) of records documenting the manufacture,
                                                                                             101(d) of former title 17], articles found to be infringing
                        sale, or receipt of things involved in any such                      may be ordered to be delivered up for destruction. Sec-
                        violation, provided that any records seized                          tion 503(b) of the bill would make this provision more
                        under this subparagraph shall be taken into                          flexible by giving the court discretion to order ‘‘de-
                        the custody of the court.                                            struction or other reasonable disposition’’ of the arti-
                                                                                             cles found to be infringing. Thus, as part of its final
                        (2) For impoundments of records ordered under                        judgment or decree, the court could order the infring-
                      paragraph (1)(C), the court shall enter an appro-                      ing articles sold, delivered to the plaintiff, or disposed
                      priate protective order with respect to discovery                      of in some other way that would avoid needless waste
                      and use of any records or information that has                         and best serve the ends of justice.




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                                                                                   ADD-4
USCA Case #22-7063   Document #1989387   Filed: 03/09/2023   Page 88 of 137




                                 ADD-5
USCA Case #22-7063   Document #1989387   Filed: 03/09/2023   Page 89 of 137




                                 ADD-6
USCA Case #22-7063   Document #1989387   Filed: 03/09/2023   Page 90 of 137




                                 ADD-7
A Case #22-7063               Document #1989387                                       Filed: 03/09/2023                           Page 91 of


         Coast Guard, DOT                                                                                Pt. 154, App. C
                             ATTACHMENT 1                                       area. These conditions vary widely based on
                                                                                location and season. Therefore, it is difficult
                                              Experimental max-                 to identify a single stockpile of response
                Inflammable gas or             imum safe gap
                                             vapor                              equipment that will function effectively in
                                                               mm       in.     each geographic location.
                                                                                  2.2 Facilities handling, storing, or trans-
         Methane ...........................................     1.170   0.046  porting oil in more than one operating envi-
         Blast furnace gas ............................          1.193   0.047  ronment as indicated in Table 1 of this ap-
         Propane ...........................................     0.965   0.038
         Butane .............................................    1.066   0.042  pendix must identify equipment capable of
         Pentane ...........................................     1.016   0.040  successfully functioning in each operating
         Hexane ............................................     0.965   0.038  environment.
         Heptane ..........................................      0.965   0.038    2.3 When identifying equipment for re-
         Iso-octane ........................................     1.040   0.041  sponse plan credit, a facility owner or oper-
         Decane ............................................     1.016   0.040  ator must consider the inherent limitations
         Benzene ..........................................      0.99    0.039  in the operability of equipment components
         Xylene ..............................................   1.066   0.042
         Cyclohexane ....................................                       and response systems. The criteria in Table
                                                                 0.94    0.037
         Acetone ...........................................     1.016   0.040  1 of this appendix should be used for evalu-
         Ethylene ...........................................    0.71    0.028  ating the operability in a given environment.
         Methyl-ethyl-ketone .........................           1.016   0.040  These criteria reflect the general conditions
         Carbon monoxide ............................            0.915   0.036  in certain operating areas.
         Methyl-acetate .................................        0.990   0.039    2.3.1 The Coast Guard may require docu-
         Ethyl-acetate ....................................      1.04    0.041  mentation that the boom identified in a re-
         Propyl-acetate .................................        1.04    0.041
         Butyl-acetate ....................................      1.016          sponse plan meets the criteria in Table 1. Ab-
                                                                         0.040
         Amyl-acetate ....................................       0.99    0.039  sent acceptable documentation, the Coast
         Methyl alcohol .................................        0.915   0.036  Guard may require that the boom be tested
         Ethyl alcohol ....................................      1.016   0.040  to demonstrate that it meets the criteria in
         Iso-butyl-alcohol .......................               0.965   0.038 Table 1. Testing must be in accordance with
         Butyl-alcohol (Normal) .....................            0.94    0.037 ASTM F 715, ASTM F 989, or other tests ap-
         Amyl-alcohol ....................................       0.99    0.039 proved by the Coast Guard.
         Ethyl-ether .......................................     0.864   0.034
         Coal gas (H 57%) ..........................                              2.4 Table 1 of this appendix lists criteria
                                                                 0.482   0.019
         Acetylene .........................................   <0.025  <0.001  for oil recovery devices and boom. All other
         Carbon disulphide ...........................           0.203   0.008  equipment    necessary to sustain or support
         Hydrogen .........................................      0.102   0.004 response operations in the specified oper-
         Blue water gas (H2 53% CO 47%)                          0.203   0.008 ating environment must be designed to func-
         Ethyl nitrate .....................................   <0.025  <0.001  tion in the same conditions. For example,
         Am monia .........................................     13.33  10.133  boats which deploy or support skimmers or
         Ethylene oxide .................................        0.65    0.026 boom must be capable of being safely oper-
         Ethyl nitrite .......................................   0.922   0.038
                                                                               ated in the significant wave heights listed
           'Approximately.                                                     for the applicable operating environment.
                                                                                  2.5 A facility owner or operator must
         [CGD 88-102, 55 FR 25441, June 21, 1990, as                           refer to the applicable local contingency
         amended by USCG-1999-5832, 64 FR 34715,                               plan or ACP, as appropriate, to determine if
         June 29, 1999]                                                        ice, debris, and weather-related visibility are
                                                                               significant factors in evaluating the oper-
         APPENDIX C TO PART 154-GUIDELINES                                     ability of equipment. The local contingency
                FOR DETERMINING AND EVALUATING                                 plan or ACP will also identify the average
                REQUIRED RESPONSE RESOURCES FOR                                temperature ranges expected in the facility's
                FACILITY RESPONSE PLANS                                        operating area. All-equipment identified in a
                                                                               response plan must be designed to operate
                                            1. Purpose                         within those conditions or ranges.
                                                                                  2.6 The requirements of subparts F, G, H
            1.1 The purpose of this appendix is to de-                         and I of this part establish response resource
         scribe the procedures for identifying re-                             mobilization and response times. The dis-
         sponse resources to meet the requirements of                          tance of the facility from the storage loca-
         subpart F of this part. These guidelines will                         tion of the response resources must be used
         be used by the facility owner or operator in                          to determine whether the resources can ar-
         preparing the response plan and by the Cap-                           rive on scene within the stated time. A facil-
         tain of the Port (COTP) when reviewing                                ity owner or operator shall include the time
         them. Response resources identified in sub-                           for notification, mobilization, and travel
         parts H and I of this part should be selected                         time of response resources identified to meet
         using the guidelines in section 2 and Table 1                         the maximum most probable discharge and
         of this appendix.                                                     Tier 1 worst case discharge response time re-
               2. Equipment Operability and Readiness                          quirements. For subparts F and G, tier 2 and
                                                                               3 response resources must be notified and
           2.1 All equipment identified in a response                          mobilized as necessary to meet the require-
         plan must be designed to operate in the con- ments for arrival on scene in accordance
         ditions expected in the facility's geographic                         with §§ 154.1045 or 154.1047 of subpart F, or




                                                             ADD-8
A Case #22-7063          Document #1989387                               Filed: 03/09/2023                     Page 92 of


         Pt. 154, App. C                                               33 CFR Ch. I (7-1-99 Edition)
         §154.1135 of subpart G, as appropriate. An on      must be designed to operate in the applicable
         water speed of 5 knots and a land speed of 35      operating environment specified in Table 1 of
         miles per hour is assumed unless the facility      this appendix.
         owner or operator can demonstrate other-             4.2 Oil recovery devices identified to meet
         wise.                                              the applicable maximum most probable dis-
            2.7 For subparts F and G, in identifying        charge volume planning criteria must be lo-
         equipment, the facility owner or operator          cated such that they arrive on scene within
         shall list the storage location, quantity, and     6 hours in higher volume port areas (as de-
         manufacturer's make and model. For oil re-         fined in 154.1020) and the Great Lakes and
         covery devices, the effective daily recovery       within 12 hours in all other areas.
         capacity, as determined using section 6 of
                                                              4.3 Because rapid control, containment,
         this appendix must be included. For boom,
                                                            and removal of oil is critical to reduce spill
         the    overall   boom    height   (draft plus
                                                            impact, the effective daily recovery capacity
         freeboard) should be included. A facility
                                                            for oil recovery devices must equal 50 per-
         owner or operator is responsible for ensuring
                                                            cent of the planning volume applicable for
         that identified boom has compatible connec-
                                                            the facility as determined in section 4.1 of
         tors.
                                                            this appendix. The effective daily recovery
           2.8 For subparts H and I, in identifying
         equipment, the facility owner or operator          capacity for oil recovery devices identified in
         shall list the storage location, quantity, and     the plan must be determined using the cri-
         manufacturer's make and model. For boom,           teria in section 6 of this appendix.
         the    overall   boom    height   (draft plus        4.4 In addition to oil recovery capacity,
         freeboard) should be included. A facility          the plan must identify sufficient quantities
         owner or operator is responsible for ensuring      of containment boom available, by contract
         that identified boom has compatible connec-        or other approved means as described in
         tors.                                              §154.1028(a), to arrive within the required re-
                                                            sponse times for oil collection and contain-
         3. Determining Response Resources Required for     ment and for protection of fish and wildlife
              the Average Most Probable Discharge           and sensitive environments. While the regu-
            3.1 A facility owner or operator shall         lation does not set required quantities of
         identify sufficient response resources avail-     boom for oil collection and containment, the
         able, through contract or other approved          response plan must identify and ensure, by
         means as described in § 154.1028(a), to respond   contract or other approved means as de-
         to the average most probable discharge. The       scribed in § 154.1028(a), the availability of the
         equipment must be designed to function in         boom identified in the plan for this purpose.
         the operating environment at the point of            4.5 The plan must indicate the avail-
         expected use.                                     ability of temporary storage capacity to
            3.2 The response resources must include:       meet the guidelines of section 9.2 of this ap-
            3.2.1 1,000 feet of containment boom or        pendix. If available storage capacity is insuf-
         two times the length of the largest vessel        ficient to meet this level, then the effective
         that regularly conducts oil transfers to or       daily recovery capacity must be derated to
         from the facility, whichever is greater, and a    the limits of the available storage capacity.
         means deploying it available at the spill site       4.6 The following is an example of a max-
         within 1 hour of the discovery of a spill.        imum most probable discharge volume plan-
            3.2.2 Oil recovery devices with an effec-      ning calculation for equipment identifica-
         tive daily recovery capacity equal to the         tion in a higher volume port area: The facili-
         amount of oil discharged in an average most       ty's worst case discharge volume is 20,000
         probable discharge or greater available at        barrels. Ten percent of this is 2,000 barrels.
         the facility within 2 hours of the detection of   Since this is greater than 1,200 barrels, 1,200
         an oil discharge.                                 barrels is used as the planning volume. The
           3.2.3 Oil storage capacity for recovered        effective daily recovery capacity must be 50
         oily material indicated in section 9.2 of this    percent of this, or 600 barrels per day. The
         appendix.                                         ability of oil recovery devices to meet this
                                                           capacity will be calculated using the proce-
         4. Determining Response Resources Required for    dures in section 6 of this appendix. Tem-
             the Maximum Most ProbableDischarge
                                                           porary storage capacity available on scene
           4.1 A facility owner or operator shall          must equal twice the daily recovery rate as
         identify sufficient response resources avail-     indicated in section 9 of this appendix, or
         able, by contract or other approved means as      1,200 barrels per day. This is the information
         described in § 154.1028(a), to respond to dis-    the facility owner or operator will use to
         charges up to the maximum most probable           identify and ensure the availability of,
         discharge volume for that facility. This will     through contract or other approved means as
         require response resources capable of con-        described in §154.1028(a), the required re-
         taining and collecting up to 1,200 barrels of     sponse resources. The facility owner will also
         oil or 10 percent of the worst case discharge,    need to identify how much boom is available
         whichever is less. All equipment identified       for use.




                                                   ADD-9
A Case #22-7063           Document #1989387                               Filed: 03/09/2023                     Page 93 of


         Coast Guard, DOT                                                                 Pt. 154, App. C
         5. Determining Response Resources Required for        5.5 When selecting response resources nec-
            the Worst Case Discharge to the Maximum Ex-      essary to meet the response plan require-
            tent Practicable                                 ments, the facility owner or operator must
                                                             ensure that a portion of those resources are
            5.1 A facility owner or operator shall
                                                             capable of being used in close-to-shore re-
          identify and ensure availability of, by con-
                                                             sponse activities in shallow water. The fol-
          tract or other approved means, as described
                                                             lowing percentages of the on-water response
          in §154.1028(a), sufficient response resources     equipment identified for the applicable geo-
          to respond to the worst case discharge of oil
                                                             graphic area must be capable of operating in
          to the maximum extent practicable. Section         waters of 6 feet or less depth:
          7 of this appendix describes the method to           (i) Offshore-10 percent
          determine the required response resources.           (ii)    Nearshore/inland/Great    Lakes/rivers
            5.2 Oil spill response resources identified      and canals-20 percent.
          in the response plan and available through           5.6 In addition to oil spill recovery de-
          contract or other approved means, as de-           vices, a facility owner or operator shall iden-
          scribed in § 154.1028(a), to meet the applicable   tify sufficient quantities of boom that are
          worst case discharge planning volume must          available, by contract or other approved
         be located such that they can arrive at the         means as described in §154.1028(a), to arrive
          scene of a discharge within the times speci-       on scene within the required response times
          fied for the applicable response tiers listed in   for oil containment and collection. The spe-
         § 154.1045.                                         cific quantity of boom required for collection
            5.3 The effective daily recovery capacity        and containment will depend on the specific
          for oil recovery devices identified in a re-       recovery equipment and strategies em-
          sponse plan must be determined using the           ployed. A facility owner or operator shall
          criteria in section 6 of this appendix. A facil-   also identify sufficient quantities of oil con-
          ity owner or operator shall identify the stor-     tainment boom to protect fish and wildlife
         age locations of all response resources that        and sensitive environments for the number
         must be used to fulfill the requirements for        of days and geographic areas specified in
          each tier. The owner or operator of a facility     Table 2.      Sections 154.1035(b)(4)(iii)   and
         whose required daily recovery capacity ex-          154.1040(a), as appropriate, shall be used to
         ceeds the applicable response capability caps       determine the amount of containment boom
         in Table 5 of this appendix shall identify          required, through contract or other approved
         sources of additional equipment, their loca-        means as described in § 154.1028(a), to protect
          tions, and the arrangements made to obtain         fish and wildlife and sensitive environments.
          this equipment during a response. The owner          5.7 A facility owner or operator must also
          or operator of a facility whose calculated         identify, through contract or other approved
         planning volume exceeds the applicable con-         means as described in §154.1028(a), the avail-
         tracting caps in Table 5 shall identify             ability of an oil spill removal organization
         sources of additional equipment equal to            capable of responding to a shoreline cleanup
         twice the cap listed in Tiers 1, 2, and 3 or the    operation involving the calculated volume of
         amount necessary to reach the calculated            oil and emulsified oil that might impact the
         planning volume, whichever is lower. The re-        affected shoreline. The volume of oil that
         sources identified above the cap must be ca-        must be planned for is calculated through
         pable of arriving on scene not later than the       the application of factors contained in Ta-
         Tiers 1, 2, and 3 response times in §154.1045.      bles 2 and 3. The volume calculated from
         No contract is required. While general list-        these tables is intended to assist the facility
         ings of available response equipment may be         owner or operator in identifying a contractor
         used to identify additional sources, a re-          with sufficient resources and expertise. This
         sponse plan must identify the specific              planning volume is not used explicitly to de-
         sources, locations, and quantities of equip-        termine a required amount of equipment and
         ment that a facility owner or operator has          personnel.
         considered in his or her planning. When list-             6. DeterminingEffective Daily Recovery
         ing Coast Guard classified oil spill removal
         organization(s) which have sufficient re-                  Capacityfor Oil Recovery Devices
         moval capacity to recover the volume above            6.1 Oil recovery devices identified by a fa-
         the response capability cap for the specific        cility owner or operator must be identified
         facility, as specified in Table 5 of this appen-    by manufacturer, model, and effective daily
         dix, it is not necessary to list specific quan-     recovery capacity. These rates must be used
         tities of equipment.                                to determine whether there is sufficient ca-
            5.4 A facility owner or operator shall           pacity to meet the applicable planning
         identify the availability of temporary stor-        critieria for the average most probable dis-
         age capacity to meet the requirements of            charge, maximum most probable discharge,
         section 9.2 of this appendix. If available stor-    and worst case discharge to the maximum
         age capacity is insufficient to meet this re-       extent practicable.
         quirement, then the effective daily recovery          6.2 For the purpose of determining the ef-
         capacity must be derated to the limits of the       fective daily recovery capacity of oil recov-
         availabile storage capacity.                        ery devices, the formula listed in section




                                                   ADD-10
A Case #22-7063           Document #1989387                              Filed: 03/09/2023                    Page 94 of


        Pt. 154, App. C                                               33 CFR Ch. I (7-1-99 Edition)
        6.2.1 of this appendix will be used. This meth-    following is an example of these calcula-
         od considers potential limitations due to         tions:
         available daylight, weather, sea state, and         A weir skimmer identified in a response
         percentage of emulsified oil in the recovered     plan has a manufacturer's rated throughput
         material. The Coast Guard may assign a            at the pump of 267 gallons per minute (gpm).
         lower efficiency factor to equipment listed in    267 gpm=381 barrels per hour
         a response plan if it determines that such a      R=381x24x.2=1829 barrels per day
        reduction is warranted.
                                                             After testing using ASTM procedures, the
           6.2.1 The following formula must be used        skimmer's oil recovery rate is determined to
         to calculate the effective daily recovery ca-     be 220 gpm. The facility owner of operator
        pacity:                                            identifies sufficient response resources avail-
        R=Tx24 hoursxE                                     able to support operations 12 hours per day.
        R=Effective daily recovery capacity                220 gpm=314 barrels per hour
        T=Throughout rate in barrels per hour              R=314x12=3768 barrels per day
              (nameplate capacity)                           The facility owner or operator will be able
        E=20 percent Efficiency factor (or lower fac-      to use the higher rate if sufficient temporary
              tor as determined by Coast Guard)            oil storage capacity is available. Determina-
           6.2.2 For those devices in which the pump       tions of alternative efficiency factors under
        limits the throughput of liquid, throughput        paragraph 6.2 or alternative effective daily
        rate will be calculated using the pump ca-         recovery capacities under paragraph 6.3 of
        pacity.                                            this appendix will be made by Commandant,
           6.2.3 For belt or mop type devices, the         (G-MOR), Coast Guard Headquarters, 2100
        throughput rate will be calculated using the      Second Street SW., Washington, DC 20593.
        speed of the belt or mop through the device,      Response contractors or equipment manufac-
        assumed thickness of oil adhering to or col-      -turers may submit required information on
        lected by the device, and surface area of the     behalf of multiple facility owners or opera-
        belt or mop. For purposes of this calculation,     tors directly in lieu of including the request
        the assumed thickness of oil will be 1/4 inch.    with the response plan submission.
           6.2.4 Facility owners or operators includ-
        ing oil recovery devices whose throughput is          7. Calculatingthe Worst Case Discharge
        not measurable using a pump capacity or                         Planning Volumes
        belt/mop speed may provide information to
                                                            7.1 The facility owner or operator shall
        support an -alternative method of calcula-        plan for a response to a facility's worst case
        tion. This information must be submitted
                                                          discharge. The planning for on-water recov-
        following the procedures in paragraph 6:3.2 of
                                                          ery must take into account a loss of some oil
        this appendix.
                                                          to the environment due to evaporative and
           6.3 As an alternative to 6.2, a facility
                                                          natural dissipation, potential increases in
        owner or operator may submit adequate evi-        volume due to emulsification, and the poten-
        dence that a different effective daily recov-     tial for deposit of some oil on the shoreline.
        ery capacity should be applied for a specific
                                                            7.2 The following procedures must be used
        oil recovery device. Adequate evidence is ac-
                                                          to calculate the planning volume used by a
        tual verified performance data in spill condi-
                                                          facility owner or operator for determining
        tions or tests using ASTM F 631, ASTM F
                                                          required on water recovery capacity:
        808, or an equivalent test approved by the
                                                            7.2.1 The following must be determined:
        Coast Guard.
                                                          The worst case discharge volume of oil in the
           6.3.1 The following formula must be used
                                                          facility; the appropriate group(s) for the type
        to calculate the effective daily recovery ca-
                                                          of oil handled, stored, or transported at the
        pacity under this alternative:
                                                          facility (non-persistent (Group I) or per-
        R=DxU                                             sistent (Groups II, III, or IV)); and the facili-
        R=Effective daily recovery capacity               ty's specific operating area. Facilities which
        D=Average Oil Recovery Rate in barrels per        handle, store, or transport oil from different
             hour (Item 26 in ASTM F 808; Item 13.1.15    petroleum oil groups must calculate each
             in ASTM F 631; or actual performance         group separately. This information is to be
             data)                                        used with Table 2 of this appendix to deter-
        U=Hours per day that a facility owner or op-      mine the percentages of the total volume to
             erator can document capability to oper-      be used for removal capacity planning. This
             ate equipment under spill conditions.        table divides the volume into three cat-
             Ten hours per day must be used unless a      egories: Oil lost to the environment; oil de-
             facility owner or operator can dem-          posited on the shoreline; and oil available for
             onstrate that the recovery operation can     on-water recovery.
             be sustained for longer periods.               7.2.2 The on-water oil recovery volume
           6.3.2 A facility owner or operator pro-        must be adjusted using the appropriate
        posing a different effective daily recovery       emulsification factor found in Table 3 of this
        rate for use in a response plan shall provide     appendix. Facilities which handle, store, or
        data for the oil recovery devices listed. The     transport    oil from different       petroleum




                                                  ADD-11
A Case #22-7063           Document #1989387                                      Filed: 03/09/2023                                   Page 95 of


         Coast Guard, DOT                                                                                Pt. 154, App. C
         groups must assume that the oil group re-            percentages of the total planning volume to
         sulting in the largest on-water recovery vol-        be used for shoreline cleanup resource plan-
         ume will be stored in the tank or tanks iden-        ning.
         tified as constituting the worst case dis-             7.3.2 The shoreline cleanup planning vol-
         charge.                                              ume must be adjusted to reflect an emulsi-
            7.2.3 The adjusted volume is multiplied by        fication factor using the same procedure as
         the on-water oil recovery resource mobiliza-         described in section 7.2.2.
         tion favor found in Table 4 of this appendix           7.3.3 The resulting volume will be used to
         from the appropriate operating area and re-          identify an oil spill removal organization
         sponse tier to determine the total on-water          with the appropriate shoreline cleanup capa-
         oil recovery capacity in barrels per day that        bility.
         must be identified or contracted for to arrive         7.3.4 The following is an example of the
         on-scene with the applicable time for each           procedure described above: A facility re-
         response tier. Three tiers are specified. For
                                                              ceives oil from barges via a dock located on
         higher volume port areas, the contracted             a bay and transported by piping to storage
         tiers of resources must be located such that         tanks. The facility handles Number 6 oil
         they can arrive on scene within 6, 30, and 54
                                                              (specific gravity .96) and stores the oil in
         hours of the discovery of an oil discharge.
                                                              tanks where it is held prior to being burned
         For all other river, inland, nearshore, off-         in an electric generating plant. The MTR
         shore areas, and the Great Lakes, these tiers
                                                              segment of the facility has six 18-inch diame-
         are 12, 36, and 60 hours.
            7.2.4 The resulting on-water recovery ca-         ter pipelines running one mile from the
                                                              dock-side manifold to several storage tanks
         pacity in barrels per day for each tier must
                                                              which are located in the non-transportation-
         be used to identify response resources nec-
                                                              related portion of the facility. Although the
         essary to sustain operations in the applica-
                                                              facility piping has a normal working pres-
         ble operating area. The equipment must be
         capable of sustaining operations for the time        sure of 100 pounds per square inch, the piping
                                                              has a maximum allowable working pressure
         period specified in Table 2 of this appendix.
         The facility owner or operator must identify         (MAW?) of 150 pounds per square inch. At
         and ensure the availability, through con-            MAW?, the pumping system can move 10,000
         tract or other approved means as described           barrels (bbls) of Number 6 oil every hour
         in § 154.1028(a), of sufficient oil spill recovery   through each pipeline. The facility has a rov-
         devices to provide the effective daily recov-        ing watchman who is required to drive the
         ery oil recovery capacity required. If the re-       length of the piping every 2 hours when the
         quired capacity exceeds the applicable cap           facility is receiving oil from a barge. The fa-
         specified in Table 5 of this appendix, then a        cility operator estimates that it will take
         facility owner or operator shall ensure, by          approximately 10 minutes to secure pumping
         contract or other approved means as de-              operations when a discharge is discovered.
         scribed in §154.1028(a), only for the quantity       Using the definition of worst case discharge
         of resources required to meet the cap, but           provided in §154.1029(b)(ii), the following cal-
         shall identify sources of additional resources       culation is provided:
         as indicated in §154.1045(m). The owner or op-
         erator of a facility whose planning volume                                                                         bbls.
         exceeds the cap for 1993 must make arrange-          2 hrs + 0.17 hour x 10,000 bbls per hour .........           21,700
         ments to identify and ensure the avail-                                          3        3
                                                              Piping volume = 37,322 ft * 5.6 ft /bbl .........            +6,664
         ability, through contract or other approved
         means as described in §154.1028(a), of the ad-       Discharge volume per pipe ...........................         28,364
         ditional capacity in 1998 or 2003, as appro-         Num ber of pipelines .....................................        x6
         priate. For a facility that handles, stores, or
         transports multiple groups of oil, the re-           Worst case discharge from MTR facility .....                 170,184
         quired effective daily recovery capacity for           To calculate the planning volumes for on-
         each group is calculated before applying the         shore recovery:
         cap.                                                 Worst case discharge: 170,184 bbls. Group IV
           7.3 The following procedures must be used
                                                                oil
         to calculate the planning volume for identi-
                                                              Emulsification factor (from Table 3): 1.4
         fying shoreline cleanup capacity:
                                                              Operating Area impacted: Inland
           7.3.1 The following must be determined:
         The worst case discharge volume of oil for           Planned percent oil onshore recovery (from
         the facility; the appropriate group(s) for the         Table 2): Inland 70%
         type of oil handled, stored, or transported at       Planning volumes for onshore recovery: In-
         the facility (non-persistent (Group I) or per-         land 170,184 x.7 x 1.4 = 166,780 bbls.
         sistent (Groups II, Ill, or IV)); and the oper-        Conclusion: The facility owner or operator
         ating area(s) in which the facility operates.        must contract with a response resource capa-
         For a facility storing oil from different            ble of managing a 166,780 barrel shoreline
         groups, each group must be calculated sepa-          cleanup.
         rately. Using this information, Table 2 of             To calculate the planning volumes for on-
         this appendix must be used to determine the          water recovery:




                                                    ADD-12
A Case #22-7063                      Document #1989387                                     Filed: 03/09/2023                   Page 96 of


         Pt. 154, App. C                                                                33 CFR Ch. I (7-1-99 Edition)
         Worst case discharge: 170,184 bbls. Group IV                         cilities to apply the dispersant and monitor
           oil                                                                its effectiveness at the scene of an oil dis-
         Emulsification factor (from Table 3): 1.4                            charge.
         Operating Area impacted: Inland                                         8.2.1 Sufficient volumes of dispersants
         Planned percent oil on-water recovery (from                          must be available to treat the oil at the dos-
           Table 2): Inland 50%                                               age rate recommended by the dispersant
         Planning volumes for on-water recovery: In-                          manufacturer. Dispersants identified in a re-
           land 170,184 x .5 x 1.4 = 119,128 bbls.                            sponse plan must be on the NCP Product
           To determine the required resources for                            Schedule that is maintained by the Environ-
         on-water recovery for each tier, use the mo-                         mental Protection Agency. (Some states
         bilization factors from Table 4:                                     have a list of approved dispersants and with-
                                                                              in state waters only they can be used.)
                                                  Tier 1   Tier 2   Tier 3       8.2.2 Dispersant application equipment
         Inland = 119,128 bbls ................    x .15    x .25    x .40    identified in a response plan for credit must
                                                                              be located where it can be mobilized to
         Barrels per day (pbd) ................   17,869   29,782   47,652    shoreside staging areas to meet the time re-
                                                                              quirements in section 8.1 of this appendix.
           Conclusion: Since the requirements for all                         Sufficient equipment capacity and sources of
        tiers for inland exceed the caps, the facility                        appropriate dispersants should be identified
        owner will only need to contract for 10,000                           to sustain dispersant application operations
        bpd for Tier 1, 20,000 bpd for Tier 2, and 40,000                     for at least 3 days.
        bpd for Tier 3. Sources for the bpd on-water                             8.2.3 Credit against on-water recovery ca-
        recovery resources above the caps for all                             pacity in preapproved areas will be based on
        three Tiers need only be identified in the re-                        the ability to treat oil at a rate equivalent
        sponse plan.                                                          to this credit. For example, a 2,500 barrel
           Twenty percent of the capability for In-                           credit against the Tier 1 10,000 barrel on-
        land, for all tiers, must be capable of oper-                         water cap would require the facility owner or
        ating in water with a depth of 6 feet or less.                        operator to demonstrate the ability to treat
           The facility owner or operator will also be                       2,500 barrel/day of oil at the manufacturers
        required to identify or ensure, by contract or                       recommended dosage rate. Assuming a dos-
        other approved means as described in                                  age rate of 10:1, the plan would need to show
        §154.1028(a), sufficient response resources re-                      stockpiles and sources of 250 barrels of
        quired under §§ 154.1035(b)(4) and 154.1045(k) to                    dispersants at a rate of 250 barrels per day
        protect fish and wildlife and sensitive envi-                        and the ability to apply the dispersant at
        ronments identified in the response plan for                         that daily rate for 3 days in the geographic
        the worst case discharge from the facility.                          area in which the facility is located. Similar
          The COTP has the discretion to accept                              data would need to be provided for any addi-
        that a facility can operate only a limited                           tional credit against Tier 2 and 3 resources.
        number- of the total pipelines at a dock at a                           8.3 In addition to the equipment and sup-
        time. In those circumstances, the worst case                         plies required, a facility owner or operator
        discharge must include the drainage volume                           shall identify a source of support to conduct
        from the piping normally not in use in addi-                         the monitoring and post-use effectiveness
        tion to the drainage volume and volume of                            evaluation required by applicable regional
        oil discharged during discovery and shut                             plans and ACPs.
        down of the oil discharge from the operating                            8.4 Identification    of the response re-
        piping.                                                              sources for dispersant application does not
                                                                             imply that the use of this technique will be
          8. Determining the Availability of Alternative
                                                                             authorized. Actual authorization for use dur-
                       Response Methods
                                                                             ing a spill response will be governed by the
          8.1 Response plans for facilities that han-                        provisions of the NCP and the applicable re-
        dle, store, or transport Groups II or I per-                         gional plan or ACP. A facility owner or oper-
        sistent oils that operate in an area with                            ator who operates a facility in areas with
        year-round preapproval for dispersant use                            year-round preapproval of dispersant can re-
        may receive credit for up to 25 percent of                           duce the required on-water recovery capacity
        their required on-water recovery capacity for                        for 1993 up to 25 percent. A facility owner or
        1993 if the availability of these resources is                       operator may reduce the required on water
        ensured by contract or other approved means                          recovery cap increase for 1998 and 2003 up to
        as described in § 154.1028(a). For response plan                     50 percent by identifying pre-approved alter-
        credit, these resources must be capable of                           native response methods.
        being on-scene within 12 hours of a dis-                                8.5 In addition to the credit identified
        charge.                                                              above, a facility owner or operator that oper-
          8.2 To receive credit against any required                         ates in a year-round area pre-approved for
        on-water recover capacity a response plan                            dispersant use may reduce their required on
        must identify the locations of dispersant                            water recovery cap increase for 1998 and 2003
        stockpiles, methods of shipping to a staging                         by up to 50 percent by identifying non-me-
        area, and appropriate aircraft, vessels, or fa-                      chanical methods.




                                                                    ADD-13
A Case #22-7063                            Document #1989387                                                                                    Filed: 03/09/2023                                             Page 97 of


          Coast Guard, DOT                                                                                                                                                   Pt. 154, App. C
            8.6 The use of in-situ burning as a non-                                                                   9.2 A facility owner or operator shall
          mechanical response method is still being                                                                  evaluate the availability of adequate tem-
          studied. Because limitations and uncertain-                                                                porary storage capacity to sustain the effec-
          ties remain for the use of this method, it                                                                 tive daily recovery capacities from equip-
          may not be used to reduce required oil recov-                                                              ment identified in the plan. Because of the
          ery capacity in 1993.                                                                                      inefficiencies of oil spill recovery devices, re-
                                                                                                                     sponse plans must identify daily storage ca-
           9. Additional Equipment Necessary to Sustain                                                              pacity equivalent to twice the effective daily
                       Response Operations                                                                           recovery rate required on scene. This tem-
                                                                                                                     porary storage capacity may be reduced if a
            9.1 A facility owner or operator is respon-                                                              facility owner or operator can demonstrate
          sible for ensuring that sufficient numbers of                                                              by waste stream analysis that the effi-
          trained personnel and boats, aerial spotting                                                               ciencies of the oil recovery devices, ability
          aircraft, containment boom, sorbent mate-                                                                  to decant waste, or the availability of alter-
          rials, boom anchoring materials, and other                                                                 native temporary storage or disposal loca-
          supplies are available to sustain response op-                                                             tions will reduce the overall volume of oily
          erations to completion. All such equipment                                                                 material storage requirement.
          must be suitable for use with the primary                                                                    9.3 A facility owner or operator shall en-
          equipment identified in the response plan. A                                                               sure that his or her planning includes the ca-
          facility owner or operator is not required to                                                              pability to arrange for disposal of recovered
          list these response resources, but shall cer-                                                              oil products. Specific disposal procedures
          tify their availability.                                                                                   will be addressed in the applicable ACP.

                              TABLE 1.-RESPONSE RESOURCE OPERATING CRITERIA OIL RECOVERY DEVICES
                                                Operating environment                                                                         Significant wave height I                        Sea State
         Rivers and Canals ...................................................................................                      51 Foot ....................................................          1
                                            .            .
         Inland .......................................................................................................
                                                                    .          .           .           .           .     ..         -<3 feet . . . . . ...................................
                                                                                                                                                                            .          ....              2
         Great Lakes.................................................................                                               :4 feet .................         .. .....................         2-3
         Ocean .......................................................................                            ..........         6 feet...............................                             3-4
                                                                                                                   BOOM

                                                                                                                                                                   Use
                                                 Boom propery                                                           Rivers and                   Inland              Great Lakes           Ocean
                                                                                                                          canals
         Significant Wave Height I ..........................................................                 !1          53        _<4         _<6
         Sea State ......................................................................................       1          2       2-3        3-4
         Boom height--in. (draft plus freeboard) .......................................                   6-18       18-42      18-42        _42
         Reserve Buoyancy to Weight Ratio ..............................................                      2:1        2:1        2:1 3:1 to 4:1
         Total Tensile Strength--lbs ..........................................................           .4,500  15-20,000  15-20.000     20,000
         Skirt Fabric Tensile Strength--bs ................................................                  200        300        300        500
         Skirt Fabric Tear Strength---lbs ....................................................               100        100        100        125
           1Oil recovery devices and boom must be at least capable of operating in wave heights up to and including the values listed in
         Table 1 for each operating environment.

                                                               TABLE 2.-REMOVAL CAPACITY PLANNING TABLE

                      Spill location                                  Rivers and canals                           Nearshore/inland Great Lakes                                   Offshore
          Sustainability of on-water oil                                      3 Days                                                   4 Days                                     6 Days
                         recovery
                                                            % Nat-            % Re-                                %Nt                  % Re-                                      % Re-
                                                           ural di           covered           % Oil on            %                   covered       % Oil on        % -          covered          % Oil on
                                                           a                  loiural                                dis-              floating
                                                                                                                                          oil         shore          Ural dis-    floating          shore
                                                                                                                                                                     sipation        oil

         1 Non-persistent oils              80 10 10                                                                           80             20              10            95             5
         2 Light crudes ................... 40 15 45                                                                           50             50              30            75            25             5
         3 Medium crudes and
          fuels .................................
                                            20 15 65                                                                           30             50              50            60            40            20
         4 Heavy crudes and fuels            5 20 75                                                                           10             50              70            50            40            30

                TABLE 3.-EMULSIFICATION FACTORS FOR                                                                            TABLE 3.-EMULSIFICATION FACTORS FOR
                        PETROLEUM OIL GROUPS                                                                                     PETROLEUM OIL GROUPS-Continued

                                                                                                                         Group II ................................                                     1.8
         Non-Persistent Oil:
                                                                                                                         Group III ......................................                              2.0
           G roup I .........................................................                           1.0
                                                                                                                         G roup IV ......................................................              1.4
         Persistent Oil:




                                                                                                ADD-14
A Case #22-7063                        Document #1989387                                                                        Filed: 03/09/2023                                        Page 98 of


        Pt. 154, App. D                                                                                                  33 CFR Ch. I (7-1-99 Edition)
                 TABLE 4.-ON WATER OIL RECOVERY                                                        TABLE 4.-ON WATER OIL RECOVERY
                  RESOURCE MOBILIZATION FACTORS                                                    RESOURCE MOBILIZATION FACTORS-Continued

                                                                               3
                                                                       Tier Tier2                                    Operating Area                               Tier     Tier   Tier
                       Operating Area                                                                                                                              1        2      3

        Rivers &Canals ....................................          .30     .40        .60       Offshore .................................................       .10     .165    .21
        Inland/Nearshore/Great Lakes ..............                  .15     .25        .40         Note: These mobilization factors are for total response re-
                                                                                                  sources mobilized, not incremental response resources.

                                         TABLE 5.-RESPONSE CAPABILITY CAPS BY OPERATING AREA

                                                                                   Tier 1                                    Tier 2                                  Tier 3
        February 18, 1993:
            All except rivers and canals, Great                       10K bbls/day ....................       20K bbls/day ....................            40K bbls/day/
               Lakes.
            Great Lakes ....................                          5K bbls/day ...........                10K bbls/day ..........                       20K bbls/day.
            Rivers and canals ................................        1,500 bbtslday .................       3,000 bbts/day .................              6,000 bblslday.
        February 18, 1998:
            All except rivers and canals, Great                       12.5K bbtalday .................       25K bbls/day ....................             50K bbls/day.
              Lakes.
            Great Lakes ..........................................    6.35K bbls/day .................       12.3K bbls/day .................              25K bbls/day.
            Rivers and canals ................................        1,875 bbls/day .................       3,750 bbls/day .................              7,500 bbls/day.
        February 18, 2003:
            All except rivers and canals, Great                       TBD ................                   T                 .................           TBD.
              Lakes.
            Great Lakes ....................        TBD ................          TBD................ TBD.
            Rivers and canals ................      T           ................. TBD................        I TBD.
          Note: The caps show cumulative overall effective daily recovery capacity, not incremental increases.
          TBD=To be determined.


        [CGD 91-036, 61 FR 7933, Feb. 29, 1996, as                                               prescribed to them. It should also describe
        amended by CGD 96-026, 61 FR 33666, June 28,                                             how the training will be delivered to the var-
        1996]                                                                                    ious personnel. Further, this section of the
                                                                                                 plan must work in harmony with those sec-
        APPENDiX D TO PART 154-TRAINING                                                          tions of the plan dealing with exercises, the
           ELEMENTS FOR OIL SPILL RESPONSE                                                       spill management team, and the qualified in-
           PLANS                                                                                 dividual.
                                                                                                   1.3 The material in this appendix D is not
                                        1. General                                               all-inclusive and is provided for guidance
           1.1 The portion of the plan dealing with                                              only.
         training is one of the key elements of a re-                                                                2. Elements To Be Addressed
         sponse plan. This concept is clearly ex-
         pressed by the fact that Congress, in writing                                             2.1 To assist in the preparation of the
         OPA 90, specifically included training as one                                           training section of a facility response plan,
         of the sections required in a vessel or facility                                        some of the key elements that should be ad-
         response plan. In reviewing submitted re-                                               dressed are indicated in the following sec-
         sponse plans, it has been noted that the                                                tions. Again, while it is not necessary that
         plans often do not provide sufficient infor-                                            the comprehensive training program for the
         mation in the training section of the plan for                                          company be included in the response plan, it
         either the user or the reviewer of the plan. In                                         is necessary for the plan to convey the ele-
         some cases, plans simply state that the crew                                            ments that define the program as appro-
         and others will be trained in their duties and                                          priate.
        responsibilities, with no other information                                                2.2 An effective spill response training
        being provided. In other plans, information                                              program should consider and address the fol-
        is simply given that required parties will re-                                           lowing:
        ceive the necessary worker safety training                                                 2.2.1 Notification requirements and proce-
         (HAZWOPER).                                                                             dures.
           1.2 The training section of the plan need                                               2.2.2 Communication system(s) used for
        not be a detailed course syllabus, but it must                                           the notifications.
        contain sufficient information to allow the                                                2.2.3 Procedures to mitigate or prevent
        user and reviewer (or evaluator) to have an                                              any discharge or a substantial threat of a
        understanding of those areas that are be-                                                discharge of oil resulting from failure of
        lieved to be critical. Plans should identify                                             manifold, mechanical loading arm, or other
        key skill areas and the training that is re-                                             transfer equipment or hoses, as appropriate;
        quired to ensure that the individual identi-                                               2.2.3.1 Tank overfill;
        fied will be capable of performing the duties                                              2.2.3.2 Tank rupture;




                                                                                   ADD-15
USCA Case #22-7063                           Document #1989387                                             Filed: 03/09/2023                     Page 99 of 137




             Pt. 154, App. C                                                                               33 CFR Ch. I (7-1-14 Edition)
                                             ATTACHMENT 1                                          2. Equipment Operability and Readiness

                                                                         Experimental max-
                                                                                                 2.1 All equipment identified in a response
                                                                          imum safe gap        plan must be designed to operate in the con-
                    Inflammable gas or vapour
                                                                                               ditions expected in the facility's geographic
                                                                          mm           in.     area. These conditions vary widely based on
             M ethane ...........................................           1.170      0.046   location and season. Therefore, it is difficult
             Blast furnace gas ............................                 1.193      0.047   to identify a single stockpile of response
             Propane ...........................................            0.965      0.038   equipment that will function effectively in
             B utane .............................................          1.066      0.042   each geographic location.
             Pentane ...........................................            1.016      0.040     2.2 Facilities handling, storing, or trans-
             Hexane ............................................            0.965      0.038
             Heptane ...........................................            0.965      0.038
                                                                                               porting oil in more than one operating envi-
             Iso-octane ........................................            1.040      0.041   ronment as indicated in Table 1 of this ap-
             Decane ............................................            1.016      0.040   pendix must identify equipment capable of
             Benzene ..........................................             0.99       0.039   successfully functioning in each operating
             Xylene ..............................................          1.066      0.042   environment.
             Cyclohexane ....................................               0.94       0.037     2.3 When identifying equipment for re-
             Acetone ...........................................            1.016      0.040
             Ethylene ...........................................           0.71       0.028
                                                                                               sponse plan credit, a facility owner or oper-
             Methyl-ethyl-ketone .........................                  1.016      0.040   ator must consider the inherent limitations
             Carbon monoxide ............................                   0.915      0.036   in the operability of equipment components
             Methyl-acetate .................................               0.990      0.039   and response systems. The criteria in Table
             Ethyl-acetate ....................................             1.04       0.041   1 of this appendix should be used for evalu-
             Propyl-acetate .................................               1.04       0.041
                                                                                               ating the operability in a given environment.
             Butyl-acetate ....................................             1.016      0.040
             Amyl-acetate ....................................              0.99       0.039   These criteria reflect the general conditions
             Methyl alcohol .................................               0.915      0.036   in certain operating areas.
             Ethyl alcohol ....................................             1.016      0.040     2.3.1 The Coast Guard may require docu-
             Iso-butyl-alcohol ..............................               0.965      0.038   mentation that the boom identified in a re-
             Butyl-alcohol (Normal) .....................                   0.94       0.037   sponse plan meets the criteria in Table 1. Ab-
             Amyl-alcohol ....................................              0.99       0.039
                                                                                               sent acceptable documentation, the Coast
             Ethyl-ether .......................................            0.864      0.034
             Coal gas (H 2 57%) ..........................                  0.482      0.019   Guard may require that the boom be tested
             Acetylene .........................................            0.025     <0.001   to demonstrate that it meets the criteria in
             Carbon disulphide ...........................                  0.203      0.008   Table 1. Testing must be in accordance with
             Hydrogen .........................................             0.102      0.004   ASTM F 715 (incorporated by reference, see
             Blue water gas (H 2 53% CO 47%)                                0.203      0.008   §154.106), or other tests approved by the
             Ethyl nitrate .....................................            0.025     <0.001
             Am m onia ........................................      .     13.33      10.133
                                                                                               Coast Guard.
             Ethylene oxide .................................               0.65       0.026     2.4 Table 1 of this appendix lists criteria
             Ethyl nitrite .......................................          0.922      0.038   for oil recovery devices and boom. All other
                                                                                               equipment necessary to sustain or support
                1Approximately.                                                                response operations in the specified oper-
             [CGD 88-102, 55 FR 25435, June 21, 1990; 55 FR                                    ating environment must be designed to func-
             39270, Sept. 26, 1990, as amended by CGD 96-                                      tion in the same conditions. For example,
             026, 61 FR 33666, June 28, 1996; USCG-1999-                                       boats which deploy or support skimmers or
             5832, 64 FR 34715, June 29, 1999; USCO-2000-                                      boom must be capable of being safely oper-
             7223, 65 FR 40058, June 29, 2000; USCO-2010-                                      ated in the significant wave heights listed
             0351, 75 FR 36284, June 25, 2010; USCO-1999-                                      for the applicable operating environment.
             5150, 78 FR 42641, July 16, 2013]                                                   2.5 A facility owner or operator must
                                                                                               refer to the applicable local contingency
                 APPENDIX B TO PART 154 [RESERVED]                                             plan or ACP, as appropriate, to determine if
                                                                                               ice, debris, and weather-related visibility are
             APPENDIX C TO PART 154-GUIDELINES                                                 significant factors in evaluating the oper-
                                                                                               ability of equipment. The local contingency
                FOR DETERMINING AND EVALUATING
                                                                                               plan or ACP will also identify the average
                REQUIRED RESPONSE RESOURCES FOR                                                temperature ranges expected in the facility's
                FACILITY RESPONSE PLANS                                                        operating area. All equipment identified in a
                                                                                               response plan must be designed to operate
                                                  1. Purpose
                                                                                               within those conditions or ranges.
               1.1 The purpose of this appendix is to de-                                        2.6 The requirements of subparts F, 0, H
             scribe the procedures for identifying re-                                         and I of this part establish response resource
             sponse resources to meet the requirements of                                      mobilization and response times. The dis-
             subpart F of this part. These guidelines will                                     tance of the facility from the storage loca-
             be used by the facility owner or operator in                                      tion of the response resources must be used
             preparing the response plan and by the Cap-                                       to determine whether the resources can ar-
             tain of the Port (COTP) when reviewing                                            rive on scene within the stated time. A facil-
             them. Response resources identified in sub-                                       ity owner or operator shall include the time
             parts H and I of this part should be selected                                     for notification, mobilization, and travel
             using the guidelines in section 2 and Table 1                                     time of response resources identified to meet
             of this appendix.                                                                 the maximum most probable discharge and

                                                                                             382




                                                                                     ADD-16
USCA Case #22-7063         Document #1989387                              Filed: 03/09/2023                   Page 100 of 137




             Coast Guard, DHS                                                               Pt. 154, App. C
             Tier 1 worst case discharge response time re-     charges up to the maximum most probable
             quirements. For subparts F and 0, tier 2 and      discharge volume for that facility. This will
             3 response resources must be notified and         require response resources capable of con-
             mobilized as necessary to meet the require-       taining and collecting up to 1,200 barrels of
             ments for arrival on scene in accordance          oil or 10 percent of the worst case discharge,
             with §154.1045 or §154.1047 of subpart F, or      whichever is less. All equipment identified
             §154.1135 of subpart 0, as appropriate. An on     must be designed to operate in the applicable
             water speed of 5 knots and a land speed of 35     operating environment specified in Table 1 of
             miles per hour is assumed unless the facility     this appendix.
             owner or operator can demonstrate other-            4.2 Oil recovery devices identified to meet
             wise.                                             the applicable maximum most probable dis-
               2.7 For subparts F and 0, in identifying        charge volume planning criteria must be lo-
             equipment, the facility owner or operator         cated such that they arrive on scene within
             shall list the storage location, quantity, and    6 hours in higher volume port areas (as de-
             manufacturer's make and model. For oil re-        fined in §154.1020) and the Great Lakes and
             covery devices, the effective daily recovery      within 12 hours in all other areas.
             capacity, as determined using section 6 of          4.3 Because rapid control, containment,
             this appendix must be included. For boom,         and removal of oil is critical to reduce spill
             the    overall   boom    height   (draft   plus   impact, the effective daily recovery capacity
             freeboard) should be included. A facility         for oil recovery devices must equal 50 per-
             owner or operator is responsible for ensuring     cent of the planning volume applicable for
             that identified boom has compatible connec-       the facility as determined in section 4.1 of
             tors.                                             this appendix. The effective daily recovery
               2.8 For subparts H and I, in identifying        capacity for oil recovery devices identified in
             equipment, the facility owner or operator         the plan must be determined using the cri-
             shall list the storage location, quantity, and    teria in section 6 of this appendix.
             manufacturer's make and model. For boom,            4.4 In addition to oil recovery capacity,
             the    overall   boom    height   (draft   plus   the plan must identify sufficient quantities
             freeboard) should be included. A facility         of containment boom available, by contract
             owner or operator is responsible for ensuring     or other approved means as described in
             that identified boom has compatible connec-       §154.1028(a), to arrive within the required re-
             tors.                                             sponse times for oil collection and contain-
                                                               ment and for protection of fish and wildlife
             3. Determining Response Resources Required for    and sensitive environments. While the regu-
                  the Average Most Probable Discharge          lation does not set required quantities of
                                                               boom for oil collection and containment, the
               3.1 A facility owner or operator shall          response plan must identify and ensure, by
             identify sufficient response resources avail-     contract or other approved means as de-
             able, through contract or other approved          scribed in §154.1028(a), the availability of the
             means as described in §154.1028(a), to respond    boom identified in the plan for this purpose.
             to the average most probable discharge. The         4.5 The plan must indicate the avail-
             equipment must be designed to function in         ability of temporary storage capacity to
             the operating environment at the point of         meet the guidelines of section 9.2 of this ap-
             expected use.                                     pendix. If available storage capacity is insuf-
               3.2 The response resources must include:        ficient to meet this level, then the effective
               3.2.1 1,000 feet of containment boom or         daily recovery capacity must be derated to
             two times the length of the largest vessel        the limits of the available storage capacity.
             that regularly conducts oil transfers to or         4.6 The following is an example of a max-
             from the facility, whichever is greater, and a    imum most probable discharge volume plan-
             means deploying it available at the spill site    ning calculation for equipment identifica-
             within 1 hour of the discovery of a spill.        tion in a higher volume port area: The facili-
               3.2.2 Oil recovery devices with an effec-       ty's worst case discharge volume is 20,000
             tive daily recovery capacity equal to the         barrels. Ten percent of this is 2,000 barrels.
             amount of oil discharged in an average most       Since this is greater than 1,200 barrels, 1,200
             probable discharge or greater available at        barrels is used as the planning volume. The
             the facility within 2 hours of the detection of   effective daily recovery capacity must be 50
             an oil discharge.                                 percent of this, or 600 barrels per day. The
               3.2.3 Oil storage capacity for recovered        ability of oil recovery devices to meet this
             oily material indicated in section 9.2 of this    capacity will be calculated using the proce-
             appendix.                                         dures in section 6 of this appendix. Tem-
                                                               porary storage capacity available on scene
             4. Determining Response Resources Required for
                                                               must equal twice the daily recovery rate as
                 the Maximum Most Probable Discharge
                                                               indicated in section 9 of this appendix, or
               4.1 A facility owner or operator shall          1,200 barrels per day. This is the information
             identify sufficient response resources avail-     the facility owner or operator will use to
             able, by contract or other approved means as      identify and ensure the availability of,
             described in §154.1028(a), to respond to dis-     through contract or other approved means as

                                                           383




                                                     ADD-17
USCA Case #22-7063          Document #1989387                              Filed: 03/09/2023                   Page 101 of 137




             Pt. 154, App. C                                                33 CFR Ch. I (7-1-14 Edition)
             described in §154.1028(a), the required re-        age capacity is insufficient to meet this re-
             sponse resources. The facility owner will also     quirement, then the effective daily recovery
             need to identify how much boom is available        capacity must be derated to the limits of the
             for use.                                           availabile storage capacity.
                                                                  5.5 When selecting response resources nec-
             5. Determining Response Resources Required for     essary to meet the response plan require-
                the Worst Case Dischargeto the Maximum Ex-      ments, the facility owner or operator must
                tent Practicable                                ensure that a portion of those resources are
               5.1 A facility owner or operator shall           capable of being used in close-to-shore re-
             identify and ensure availability of, by con-       sponse activities in shallow water. The fol-
             tract or other approved means, as described        lowing percentages of the on-water response
             in §154.1028(a), sufficient response resources     equipment identified for the applicable geo-
             to respond to the worst case discharge of oil      graphic area must be capable of operating in
             to the maximum extent practicable. Section         waters of 6 feet or less depth:
             7 of this appendix describes the method to            (i) Offshore-10 percent
             determine the required response resources.            (ii) Nearshore/inland/Great     Lakes/rivers
               5.2 Oil spill response resources identified      and canals-20 percent.
             in the response plan and available through           5.6 In addition to oil spill recovery de-
             contract or other approved means, as de-           vices, a facility owner or operator shall iden-
             scribed in § 154.1028(a), to meet the applicable   tify sufficient quantities of boom that are
             worst case discharge planning volume must          available, by contract or other approved
             be located such that they can arrive at the        means as described in §154.1028(a), to arrive
             scene of a discharge within the times speci-       on scene within the required response times
             fied for the applicable response tiers listed in   for oil containment and collection. The spe-
             §154.1045.                                         cific quantity of boom required for collection
               5.3 The effective daily recovery capacity        and containment will depend on the specific
             for oil recovery devices identified in a re-       recovery equipment and strategies em-
             sponse plan must be determined using the           ployed. A facility owner or operator shall
             criteria in section 6 of this appendix. A facil-   also identify sufficient quantities of oil con-
             ity owner or operator shall identify the stor-     tainment boom to protect fish and wildlife
             age locations of all response resources that       and sensitive environments for the number
             must be used to fulfill the requirements for       of days and geographic areas specified in
             each tier. The owner or operator of a facility     Table 2.      Sections   154.1035(b)(4)(iii) and
             whose required daily recovery capacity ex-         154.1040(a), as appropriate, shall be used to
             ceeds the applicable response capability caps      determine the amount of containment boom
             in Table 5 of this appendix shall identify         required, through contract or other approved
             sources of additional equipment, their loca-       means as described in §154.1028(a), to protect
             tions, and the arrangements made to obtain         fish and wildlife and sensitive environments.
             this equipment during a response. The owner          5.7 A facility owner or operator must also
             or operator of a facility whose calculated         identify, through contract or other approved
             planning volume exceeds the applicable con-        means as described in §154.1028(a), the avail-
             tracting caps in Table 5 shall identify            ability of an oil spill removal organization
             sources of additional equipment equal to           capable of responding to a shoreline cleanup
             twice the cap listed in Tiers 1, 2, and 3 or the   operation involving the calculated volume of
             amount necessary to reach the calculated
                                                                oil and emulsified oil that might impact the
             planning volume, whichever is lower. The re-
                                                                affected shoreline. The volume of oil that
             sources identified above the cap must be ca-
                                                                must be planned for is calculated through
             pable of arriving on scene not later than the
                                                                the application of factors contained in Ta-
             Tiers 1, 2, and 3 response times in §154.1045.
                                                                bles 2 and 3. The volume calculated from
             No contract is required. While general list-
                                                                these tables is intended to assist the facility
             ings of available response equipment may be
                                                                owner or operator in identifying a contractor
             used to identify additional sources, a re-
                                                                with sufficient resources and expertise. This
             sponse plan must identify the specific
                                                                planning volume is not used explicitly to de-
             sources, locations, and quantities of equip-
             ment that a facility owner or operator has         termine a required amount of equipment and
             considered in his or her planning. When list-      personnel.
             ing Coast Guard classified oil spill removal           6. Determining Effective Daily Recovery
             organization(s) which have sufficient re-                 Capacity for Oil Recovery Devices
             moval capacity to recover the volume above
             the response capability cap for the specific         6.1 Oil recovery devices identified by a fa-
             facility, as specified in Table 5 of this appen-   cility owner or operator must be identified
             dix, it is not necessary to list specific quan-    by manufacturer, model, and effective daily
             tities of equipment.                               recovery capacity. These rates must be used
               5.4 A facility owner or operator shall           to determine whether there is sufficient ca-
             identify the availability of temporary stor-       pacity to meet the applicable planning
             age capacity to meet the requirements of           critieria for the average most probable dis-
             section 9.2 of this appendix. If available stor-   charge, maximum most probable discharge,

                                                            384




                                                      ADD-18
USCA Case #22-7063         Document #1989387                               Filed: 03/09/2023                   Page 102 of 137




             Coast Guard, DHS                                                                Pt. 154, App. C
             and worst case discharge to the maximum             6.3.2 A facility owner or operator pro-
             extent practicable.                               posing a different effective daily recovery
                6.2 For the purpose of determining the ef-     rate for use in a response plan shall provide
             fective daily recovery capacity of oil recov-     data for the oil recovery devices listed. The
             ery devices, the formula listed in section        following is an example of these calcula-
             6.2.1 of this appendix will be used. This meth-   tions:
             od considers potential limitations due to           A weir skimmer identified in a response
             available daylight, weather, sea state, and       plan has a manufacturer's rated throughput
             percentage of emulsified oil in the recovered     at the pump of 267 gallons per minute (gpm).
             material. The Coast Guard may assign a            267 gpm=381 barrels per hour
             lower efficiency factor to equipment listed in    R=381x24x.2=1829 barrels per day
             a response plan if it determines that such a
                                                                 After testing using ASTM procedures, the
             reduction is warranted.
                                                               skimmer's oil recovery rate is determined to
                6.2.1 The following formula must be used
                                                               be 220 gpm. The facility owner of operator
             to calculate the effective daily recovery ca-
                                                               identifies sufficient response resources avail-
             pacity:
                                                               able to support operations 12 hours per day.
             R=Tx24 hoursxE
                                                               220 gpm=314 barrels per hour
             R=Effective daily recovery capacity               R=314x12=3768 barrels per day
             T=Throughout rate in barrels per hour
                                                                 The facility owner or operator will be able
                   (nameplate capacity)
                                                               to use the higher rate if sufficient temporary
             E=20 percent Efficiency factor (or lower fac-
                                                               oil storage capacity is available. Determina-
                   tor as determined by Coast Guard)
                                                               tions of alternative efficiency factors under
                6.2.2 For those devices in which the pump
                                                               paragraph 6.2 or alternative effective daily
             limits the throughput of liquid, throughput
                                                               recovery capacities under paragraph 6.3 of
             rate will be calculated using the pump ca-
                                                               this appendix will be made by Commandant,
             pacity.
                                                               (CG-535), 2100 2nd St., SW., Stop 7363, Wash-
                6.2.3 For belt or mop type devices, the
                                                               ington, DC 20593-7363. Response contractors
             throughput rate will be calculated using the
                                                               or equipment manufacturers may submit re-
             speed of the belt or mop through the device,
                                                               quired information on behalf of multiple fa-
             assumed thickness of oil adhering to or col-
                                                               cility owners or operators directly in lieu of
             lected by the device, and surface area of the
                                                               including the request with the response plan
             belt or mop. For purposes of this calculation,
                                                               submission.
             the assumed thickness of oil will be ¼ inch.
                6.2.4 Facility owners or operators includ-         7. Calculating the Worst Case Discharge
             ing oil recovery devices whose throughput is                     Planning Volumes
             not measurable using a pump capacity or
             belt/mop speed may provide information to           7.1 The facility owner or operator shall
             support an alternative method of calcula-         plan for a response to a facility's worst case
             tion. This information must be submitted          discharge. The planning for on-water recov-
             following the procedures in paragraph 6.3.2 of    ery must take into account a loss of some oil
             this appendix.                                    to the environment due to evaporative and
                6.3 As an alternative to 6.2, a facility       natural dissipation, potential increases in
             owner or operator may submit adequate evi-        volume due to emulsification, and the poten-
             dence that a different effective daily recov-     tial for deposit of some oil on the shoreline.
             ery capacity should be applied for a specific       7.2 The following procedures must be used
             oil recovery device. Adequate evidence is ac-     to calculate the planning volume used by a
             tual verified performance data in spill condi-    facility owner or operator for determining
             tions or tests using ASTM F 631 (incor-           required on water recovery capacity:
                                                                 7.2.1 The following must be determined:
             porated by reference, see §154.106), or an
                                                               The worst case discharge volume of oil in the
             equivalent test approved by the Coast Guard.
                                                               facility; the appropriate group(s) for the type
                6.3.1 The following formula must be used
                                                               of oil handled, stored, or transported at the
             to calculate the effective daily recovery ca-
                                                               facility (non-persistent (Group I) or per-
             pacity under this alternative:
                                                               sistent (Groups II, III, or IV)); and the facili-
             R=DxU                                             ty's specific operating area. Facilities which
             R=Effective daily recovery capacity               handle, store, or transport oil from different
             D=Average Oil Recovery Rate in barrels per        petroleum oil groups must calculate each
                   hour (Item 26 in ASTM F 808; Item 13.2.16   group separately. This information is to be
                   in ASTM F 631; or actual performance        used with Table 2 of this appendix to deter-
                   data)                                       mine the percentages of the total volume to
             U=Hours per day that a facility owner or op-      be used for removal capacity planning. This
                   erator can document capability to oper-     table divides the volume into three cat-
                   ate equipment under spill conditions.       egories: Oil lost to the environment; oil de-
                   Ten hours per day must be used unless a     posited on the shoreline; and oil available for
                   facility owner or operator can dem-         on-water recovery.
                   onstrate that the recovery operation can      7.2.2 The on-water oil recovery volume
                   be sustained for longer periods.            must be adjusted using the appropriate

                                                           385




                                                     ADD-19
USCA Case #22-7063          Document #1989387                                   Filed: 03/09/2023                           Page 103 of 137




             Pt. 154, App. C                                                     33 CFR Ch. I (7-1-14 Edition)
             emulsification factor found in Table 3 of this      groups, each group must be calculated sepa-
             appendix. Facilities which handle, store, or        rately. Using this information, Table 2 of
             transport oil from different petroleum              this appendix must be used to determine the
             groups must assume that the oil group re-           percentages of the total planning volume to
             sulting in the largest on-water recovery vol-       be used for shoreline cleanup resource plan-
             ume will be stored in the tank or tanks iden-       ning.
             tified as constituting the worst case dis-             7.3.2 The shoreline cleanup planning vol-
             charge.                                             ume must be adjusted to reflect an emulsi-
                7.2.3 The adjusted volume is multiplied by       fication factor using the same procedure as
             the on-water oil recovery resource mobiliza-        described in section 7.2.2.
             tion favor found in Table 4 of this appendix           7.3.3 The resulting volume will be used to
             from the appropriate operating area and re-         identify an oil spill removal organization
             sponse tier to determine the total on-water         with the appropriate shoreline cleanup capa-
             oil recovery capacity in barrels per day that       bility.
             must be identified or contracted for to arrive         7.3.4 The following is an example of the
             on-scene with the applicable time for each          procedure described above: A facility re-
             response tier. Three tiers are specified. For       ceives oil from barges via a dock located on
             higher volume port areas, the contracted            a bay and transported by piping to storage
             tiers of resources must be located such that        tanks. The facility handles Number 6 oil
             they can arrive on scene within 6, 30, and 54       (specific gravity .96) and stores the oil in
             hours of the discovery of an oil discharge.         tanks where it is held prior to being burned
             For all other river, inland, nearshore, off-        in an electric generating plant. The MTR
             shore areas, and the Great Lakes, these tiers       segment of the facility has six 18-inch diame-
             are 12, 36, and 60 hours.                           ter pipelines running one mile from the
                7.2.4 The resulting on-water recovery ca-        dock-side manifold to several storage tanks
             pacity in barrels per day for each tier must        which are located in the non-transportation-
             be used to identify response resources nec-         related portion of the facility. Although the
             essary to sustain operations in the applica-        facility piping has a normal working pres-
             ble operating area. The equipment must be           sure of 100 pounds per square inch, the piping
             capable of sustaining operations for the time
                                                                 has a maximum allowable working pressure
             period specified in Table 2 of this appendix.
                                                                 (MAWP) of 150 pounds per square inch. At
             The facility owner or operator must identify
                                                                 MAWP, the pumping system can move 10,000
             and ensure the availability, through con-
                                                                 barrels (bbls) of Number 6 oil every hour
             tract or other approved means as described
                                                                 through each pipeline. The facility has a rov-
             in §154.1028(a), of sufficient oil spill recovery
                                                                 ing watchman who is required to drive the
             devices to provide the effective daily recov-
                                                                 length of the piping every 2 hours when the
             ery oil recovery capacity required. If the re-
                                                                 facility is receiving oil from a barge. The fa-
             quired capacity exceeds the applicable cap
                                                                 cility operator estimates that it will take
             specified in Table 5 of this appendix, then a
             facility owner or operator shall ensure, by         approximately 10 minutes to secure pumping
             contract or other approved means as de-             operations when a discharge is discovered.
             scribed in §154.1028(a), only for the quantity      Using the definition of worst case discharge
             of resources required to meet the cap, but          provided in §154.1029(b)(ii), the following cal-
             shall identify sources of additional resources      culation is provided:
             as indicated in §154.1045(m). The owner or op-      2 hrs + 0.17 hour x 10,000 bbls per hour .........   21,700
                                                                                             3
                                                                 Piping volume = 37,322 ft - 5.6 ft/bbl .........     +6,664
             erator of a facility whose planning volume
             exceeds the cap for 1993 must make arrange-         Discharge volume per pipe ..........         ...     28,364
             ments to identify and ensure the avail-             Number of pipelines ......     .............             x6
             ability, through contract or other approved
             means as described in §154.1028(a), of the ad-      Worst case discharge from MTR facility               170,184
             ditional capacity in 1998 or 2003, as appro-          To calculate the planning volumes for on-
             priate. For a facility that handles, stores, or     shore recovery:
             transports multiple groups of oil, the re-
             quired effective daily recovery capacity for        Worst case discharge: 170,184 bbls. Group IV
             each group is calculated before applying the          oil
             cap.                                                Emulsification factor (from Table 3): 1.4
                7.3 The following procedures must be used        Operating Area impacted: Inland
             to calculate the planning volume for identi-        Planned percent oil onshore recovery (from
             fying shoreline cleanup capacity:                     Table 2): Inland 70%
                7.3.1 The following must be determined:          Planning volumes for onshore recovery: In-
             The worst case discharge volume of oil for            land 170,184 x.7 x 1.4 = 166,780 bbls.
             the facility; the appropriate group(s) for the        Conclusion: The facility owner or operator
             type of oil handled, stored, or transported at      must contract with a response resource capa-
             the facility (non-persistent (Group I) or per-      ble of managing a 166,780 barrel shoreline
             sistent (Groups II, III, or IV)); and the oper-     cleanup.
             ating area(s) in which the facility operates.         To calculate the planning volumes for on-
             For a facility storing oil from different           water recovery:

                                                             386




                                                       ADD-20
USCA Case #22-7063                  Document #1989387                                          Filed: 03/09/2023                    Page 104 of 137




             Coast Guard, DHS                                                                                    Pt. 154, App. C
             Worst case discharge: 170,184 bbls. Group IV                             8.1.2 Determine the WCD volume of oil in
               oil                                                                 gallons and the appropriate oil group for the
             Emulsification factor (from Table 3): 1.4                             type of petroleum oil (persistent Groups II,
             Operating Area impacted: Inland                                       III, and IV). For facilities with mixed petro-
             Planned percent oil on-water recovery (from                           leum oils, assume a total WCD volume using
               Table 2): Inland 50%                                                the group that constitutes the largest por-
             Planning volumes for on-water recovery: In-                           tion of the oil being handled or the group
               land 170,184x.5x1.4 = 119,128 bbls.                                 with the smallest natural dissipation factor;
                                                                                      8.1.3 Multiply the total WCD amount in
               To determine the required resources for                             gallons by the natural dissipation factor for
             on-water recovery for each tier, use the mo-                          the appropriate oil group as follows: Group II
             bilization factors from Table 4:                                      factor is 0.50; Group III is 0.30; and Group IV
                                                                                   is 0.10. This represents the amount of oil that
                                                      Tier 1   Tier 2   Tier 3
                                                                                   can be expected to be lost to natural dissipa-
             Inland = 119,128 bbls. ...............    x .15    x .25    x .40     tion in a nearshore environment. Subtract
                                                                                   the oil amount lost to natural dissipation
             Barrels per day (pbd) ................   17,869   29,782   47,652     from the total WCD amount to determine
                                                                                   the remaining oil available for treatment by
                Conclusion: Since the requirements for all                         dispersant application; and
             tiers for inland exceed the caps, the facility                           8.1.4 Multiply the oil available for dis-
             owner will only need to contract for 10,000                           persant treatment by the dispersant-to-oil
             bpd for Tier 1, 20,000 bpd for Tier 2, and 40,000                     planning application ratio of 1 part dispers-
             bpd for Tier 3. Sources for the bpd on-water                          ant to 20 parts oil (0.05). The resulting num-
             recovery resources above the caps for all                             ber represents the cumulative total dispers-
             three Tiers need only be identified in the re-                        ant-application capability that must be en-
             sponse plan.                                                          sured available within the first 60 hours.
               Twenty percent of the capability for In-                               8.1.5(i) The following is an example of the
             land, for all tiers, must be capable of oper-                         procedure described in paragraphs 8.1.1
             ating in water with a depth of 6 feet or less.                        through 8.1.4 above: A facility with a 1,000,000
               The facility owner or operator will also be                         gallon WCD of crude oil (specific gravity
             required to identify or ensure, by contract or                        0.87) is located in an area with pre-authoriza-
             other approved means as described in                                  tion for dispersant use in the nearshore envi-
             §154.1028(a), sufficient response resources re-                       ronment on the U.S. East Coast:
             quired under §§154.1035(b)(4) and 154.1045(k) to                         WCD: 1,000,000 gallons, Group III oil.
             protect fish and wildlife and sensitive envi-                            Natural dissipation factor for Group III: 30
             ronments identified in the response plan for                          percent.
             the worst case discharge from the facility.                              General formula to determine oil available
                                                                                   for dispersant treatment: (WCD)- [(WCD) x
               The COTP has the discretion to accept
                                                                                   (natural dissipation factor)] = available oil.
             that a facility can operate only a limited
                                                                                      E.g., 1,000,000 gal-(1,000,000 gal x .30) =
             number of the total pipelines at a dock at a
                                                                                   700,000 gallons of available oil.
             time. In those circumstances, the worst case
                                                                                      Cumulative application capacity = Avail-
             discharge must include the drainage volume
                                                                                   able oil x planning application ratio (1 gal
             from the piping normally not in use in addi-
                                                                                   dispersant/20 gals oil = 0.05).
             tion to the drainage volume and volume of
                                                                                      E.g., 700,000 gal oil x (0.05) = 35,000 gallons
             oil discharged during discovery and shut
                                                                                   cumulative dispersant-application capacity.
             down of the oil discharge from the operating
                                                                                      (ii) The requirements for cumulative dis-
             piping.
                                                                                   persant-application capacity (35,000 gallons)
                 8. Determining the Capability of High-Rate                        for this facility's WCD is less than the over-
                             Response Methods                                      all dispersant capability for non-Gulf Coast
                                                                                   waters required by §155.1045(i)(3) of this
               8.1. Calculate cumulative dispersant ap-                            chapter. Because paragraph 8.1.1 of this ap-
             plication capacity as follows:                                        pendix requires owners and operators to en-
               8.1.1 A facility owner or operator must                             sure the availability of the lesser of a facili-
             plan either for a dispersant capacity to re-                          ty's dispersant requirements for WCD or the
             spond to a facility's worst case discharge                            amount of the dispersant cap provided for in
             (WCD) of oil, or for the amount of the dis-                           §154.1045(i)(3), the facility in this example
             persant     resource   cap  as   required by                          would be required to ensure the availability
             §154.1045(i)(3) of this chapter, whichever is                         of 35,000 gallons of dispersant. More specifi-
             the lesser amount. When planning for the cu-                          cally, this facility would be required to meet
             mulative application capacity required, the                           the      following    tier     requirements     in
             calculations must account for the loss of                             §154.1045(i)(3), which total 35,000 gallons ap-
             some oil to the environment due to natural                            plication:
             dissipation causes (primarily evaporation).                              Tier 1-4,125 gallons-Completed in 12
             The following procedure must be used to de-                           hours.
             termine the cumulative application require-                              Tier 2-23,375 gallons-Completed in 36
             ments:                                                                hours.

                                                                                 387




                                                                        ADD-21
USCA Case #22-7063                            Document #1989387                                                                                  Filed: 03/09/2023                                             Page 105 of 137




             Pt. 154, App. C                                                                                                                       33 CFR Ch. I (7-1-14 Edition)
               Tier 3-7,500 gallons-Completed in 60                                                                             8.3 In addition to the equipment and sup-
             hours.                                                                                                           plies required, a facility owner or operator
               8.2 Determine Effective Daily Application                                                                      must identify a source of support to conduct
             Capacities (EDACs) for dispersant response                                                                       the monitoring and post-use effectiveness
             systems as follows:                                                                                              evaluation required by applicable regional
               8.2.1 EDAC planning estimates for compli-                                                                      plans and ACPs.
             ance with the dispersant application require-                                                                      8.4 Identification of the resources for dis-
             ments in §154.1045(i)(3) are to be based on:                                                                     persant application does not imply that the
               8.2.1.1 The spill occurring at the facility;                                                                   use of this technique will be authorized. Ac-
               8.2.1.2 Specific    dispersant    application                                                                  tual authorization for use during a spill re-
             platform operational characteristics identi-                                                                     sponse will be governed by the provisions of
             fied in the Dispersant Mission Planner 2 or                                                                      the National Oil and Hazardous Substances
             as demonstrated by operational tests;                                                                            Contingency Plan (40 CFR part 300) and the
               8.2.1.3 Locations of primary dispersant
                                                                                                                              applicable Local or Area Contingency Plan.
             staging sites; and
               8.2.1.4 Locations and quantities of dispers-                                                                    9. Additional Equipment Necessary To Sustain
             ant stockpiles.                                                                                                               Response Operations
               8.2.2 EDAC calculations with supporting
             documentation must be submitted to the                                                                             9.1 A facility owner or operator is respon-
             NSFCC for classification as a Dispersant Oil                                                                     sible for ensuring that sufficient numbers of
             Spill Removal Organization.                                                                                      trained personnel and boats, aerial spotting
               8.2.3(i) EDAC can also be calculated using                                                                     aircraft, containment boom, sorbent mate-
             the Dispersant Mission Planner 2 (DMP2).                                                                         rials, boom anchoring materials, and other
             The DMP2 is a downloadable application                                                                           supplies are available to sustain response op-
             that calculates EDAC for different dispers-                                                                      erations to completion. All such equipment
             ant response systems. It is located on the                                                                       must be suitable for use with the primary
             Internet                at:               http:/                                                                 equipment identified in the response plan. A
             www.response.restoration.noaa.gov/spilltools.                                                                    facility owner or operator is not required to
                (ii) The DMP2 contains operating informa-                                                                     list these response resources, but shall cer-
             tion for the vast majority of dispersant ap-                                                                     tify their availability.
             plication platforms, including aircraft, both
                                                                                                                                9.2 A facility owner or operator shall
             rotary and fixed wing, and vessels. The
                                                                                                                              evaluate the availability of adequate tem-
             DMP2 produces EDAC estimates by per-
                                                                                                                              porary storage capacity to sustain the effec-
             forming calculations based on performance
                                                                                                                              tive daily recovery capacities from equip-
             parameters of dispersant application plat-
                                                                                                                              ment identified in the plan. Because of the
             forms, locations of primary dispersant stag-
             ing sites, home-based airport or port loca-                                                                      inefficiencies of oil spill recovery devices, re-
             tions, and the facility location (for the spill                                                                  sponse plans must identify daily storage ca-
             site).                                                                                                           pacity equivalent to twice the effective daily
               8.2.4 For each Captain of the Port zone                                                                        recovery rate required on scene. This tem-
             where a dispersant response capability is re-                                                                    porary storage capacity may be reduced if a
             quired, the response plan must identify:                                                                         facility owner or operator can demonstrate
               8.2.4.1 The type, number, and location of                                                                      by waste stream analysis that the effi-
             each dispersant-application       platform in-                                                                   ciencies of the oil recovery devices, ability
             tended for use to meet dispersant delivery                                                                       to decant waste, or the availability of alter-
             requirements specified in §154.1045(i)(3) of                                                                     native temporary storage or disposal loca-
             this chapter;                                                                                                    tions will reduce the overall volume of oily
               8.2.4.2 The amount and location of avail-                                                                      material storage requirement.
             able dispersant stockpiles to support each                                                                         9.3 A facility owner or operator shall en-
             platform; and,                                                                                                   sure that his or her planning includes the ca-
               8.2.4.3 A primary staging site for each                                                                        pability to arrange for disposal of recovered
             platform that will serve as its base of oper-                                                                    oil products. Specific disposal procedures
             ations for the duration of the response.                                                                         will be addressed in the applicable ACP.
                                   TABLE 1-RESPONSE RESOURCE OPERATING CRITERIA OIL RECOVERY DEVICES

                                                     Operating environment                                                                      Significant wave height'                           Sea State

             Rivers and Canals                       ............................                                                   1 Foot ....................................................            1
             Inland .......................................................................................................        <3 feet .....................................................           2
             G reat Lakes .............................................................................................            <4 feet .....................................................         2-3
             Ocean ......................................................................................................          <6 feet .....................................................         3-4




                                                                                                                      388




                                                                                                        ADD-22
USCA Case #22-7063                         Document #1989387                                                                              Filed: 03/09/2023                                              Page 106 of 137




             Coast Guard, DHS                                                                                                                                              Pt. 154, App. C

                                                                                                           BOOM

                                                                                                                                                               Use
                                                    Boom property                                                     Rivers and                 Inland              Great Lakes             Ocean
                                                                                                                        canals                   Iln                  ra ae                   ca

             Significant W ave Height' ..............................................................                             <1                    <3                    <4                     <6
             S ea S tate ......................................................................................                     1                    2                   2- 3                  3- 4
             Boom height- in. (draft plus freeboard) .......................................                                    6-18                18-42                  18-42                   <42
             Reserve Buoyancy to W eight Ratio ..............................................                                     2:1                  2:1                    2:1            3:1 to 4:1
             Total Tensile Strength- lbs. ..........................................................                           4,500            15-20,000              15-20,000               <20,000
             Skirt Fabric Tensile Strength- lbs ................................................                                 200                  300                    300                   500
             Skirt Fabric Tear Strength- lbs ....................................................                                100                  100                    100                    125
               1 Oil recovery devices and boom must be at least capable of operating in wave heights up to and including the values listed in
             Table 1 for each operating environment.

                                                                  TABLE 2-REMOVAL CAPACITY PLANNING TABLE

                         Spill location                                 Rivers and canals                         Nearshore/inland Great Lakes                                 Offshore

             Sustainability of on-water oil                                     3 Days                                           4 Days                                        6 Days
                      recovery
                                                              % Nat-            % Re-                             % Nat-         % Re-                           % Nat-          % Re-
                                                                a dis          covered          % Oil on          ural d        covered         % Oil on           al d         covered       % Oil on
                            Oil group                         siation
                                                              sipation         floating          shore            siation       floating         shore           siation        floating       shore
                                                                                  oil                             sipation         oil                           sipation          oil

             1  Non-persistent oils                                   80                10                10             80              20               10              95            5




                                                                                                                                                                                                     /
             2  Light crudes ...................                      40                15                45             50              50               30              75           25             5
             3  Medium crudes and
              fuels .................................                 20                15                65             30              50               50              60           40            20
             4 Heavy crudes and fuels                                  5                20                75             10              50               70              50           40            30


                    TABLE 3-EMULSIFICATION FACTORS FOR                                                                        TABLE 4-ON WATER OIL RECOVERY
                           PETROLEUM OIL GROUPS                                                                                RESOURCE MOBILIZATION FACTORS

             Non-Persistent Oil:                                                                                                     Operating Area                             Tier      T2er    T3er
                     Group I ...............                               ...............               1.0
             Persistent O il:                                                                                       Rivers & Canals ....................................         .30        .40      .60
                 Group II ..............             ................                                    1.8        Inland/Nearshore/Great Lakes ..............                  .15        .25      .40
                                                                                                         2.0        Offshore ...............................................     .10       .165      .21
                 G roup III            .............................
                 Group IV ..............              ...............                                    1.4          Note: These mobilization factors are for total response re-
                                                                                                                    sources mobilized, not incremental response resources.

                                                    TABLE 5-RESPONSE CAPABILITY CAPS BY OPERATING AREA

                                                                                                     Tier 1                                   Tier 2                                Tier 3

             February 18, 1993:
                     All except rivers and canals, Great 10K bbls/day ....................                                    20K bbls/day ....................         40K bbls/day/
                        Lakes.
                     G reat Lakes .................................. 5 K bbls/day ......................                      10K bbls/day ....................         20K bbls/day.
                     Rivers and canals          ............... 1,500 bbls/day .................                              3,000 bbls/day .................          6,000 bbls/day.
             February 18, 1998:
                     All except rivers and canals, Great 12.5K bbls/day .................                                     25K bbls/day ....................         50K bbls/day.
                        Lakes.
                     G reat Lakes .................................. 6.25K bbls/day .................                         12.3K bbls/day .................          25K bbls/day.
                     Rivers and canals          ............... 1,875 bbls/day .................                              3,750 bbls/day .................          7,500 bbls/day.
             February 18, 2003:
                     All except rivers & canals & Great 12.5K bbls/day .................                                      25K bbls/day ....................         50K bbls/day.
                        Lakes.
                     G reat Lakes .................................. 6.25K bbls/day .................                         12.3K bbls/day .................          25K bbls/day.
                     Rivers & canals ................. 1,875 bbls/day .................                                       3,750 bbls/day .................          7,500 bbls/day.
                 NOTE: The caps show cumulative overall effective daily recovery capacity, not incremental increases.
                 TBD = To be determined.

             [CGD 91-036, 61 FR 7933, Feb. 29, 1996, as amended by CGD 96-026, 61 FR 33666, June 28, 1996;
             USCG 1999-5151, 64 FR 67175, Dec. 1, 1999; USCG 2000-7223, 65 FR 40058, June 29, 2000; USC-
             2005-21531, 70 FR 36349, June 23, 2005; USCG 2001-8661, 74 FR 45025, Aug. 31, 2009; USCG-2010-
             0351, 75 FR 36284, June 25, 20101




                                                                                                              389




                                                                                                ADD-23
A Case #22-7063         Document #1989387                         Filed: 03/09/2023                   Page 107 o

          §$39.63                                                 38 CFR Ch. 1(7-1-11 Edition)
          protect the following types of vehicles      Association Life Safety Code and Er-
          and equipment: Dump trucks, pickup           rata (NFPA 101), the 2003 edition of the
          trucks, cemetery automobiles, gang           NFPA 5000, Building Construction and
          and circular mowers.                         Safety Code, and the 2002 edition of the
            (d) Interment/committal service shelter.   National Electrical Code, NFPA 70,
          One permanent shelter is authorized          may be obtained from the National
          for every five interments per day. The       Fire Protection Association,            Inc.
          shelter may include a covered area to        (NFPA), 1 Batterymarch Park, P.O.
          provide seating for approximately 20         Box 9101, Quincy, MA 02269-9101, 800-
          people and an uncovered paved area to        844-6058 (toll free). Copies of the 2003
          provide space for approximately 50 ad-       edition of the Uniform Mechanical
          ditional people. The shelter may also        Code and the 2003 edition of the Uni-
          include a small, enclosed equipment/         form Plumbing Code may be obtained
          storage area. Provisions must be made        from the International Association of
          for the playing of Taps by recorded          Plumbing and Mechanical Officials,
          means.                                       5001 E. Philadelphia Street, Ontario,
            (e) Public Information Center. One per-    CA 91761-2816. 909-472-4100 (this is not a
          manent Public Information Center is          toll-free number). The 2002 and 2003
          authorized per facility. A Public Infor-     NFPA and IAPMO code publications
          mation Center is used to orient visitors     can be inspected at VA by calling 202-
          and funeral corteges. It should include
          the gravesite locator. The public rest-      461-4902 for an appointment.
          rooms may also be combined with this            (a) Architectural and structuralrequire-
          structure. Space determinations for          ments-(1) Life Safety Code. Standards
          separate structures for public rest-         must be in accordance with the 2003
          rooms shall be considered on an indi-        edition of the National Fire Protection
          vidual basis. The Public Information         Association Life Safety Code, NFPA
          Center, including public restrooms,          101. Fire safety construction features
          may be combined with the administra-         not included in NFPA 101 shall be de-
          tive building.                               signed in accordance with the require-
            (f) Other interment structures. Space      ments of the 2003 edition of the NFPA
          determinations for other support facili-     5000, Building Construction and Safety
          ties such as columbaria, preplaced           Code. Where the adopted codes state
          graveliners (or crypts), garden niches,      conflicting requirements, the NFPA
          etc., will be considered on an individual    National Fire Codes shall govern.
          basis in accordance with §39.60(d).             (2) State and local codes. In addition to
          (Authority: 38 U.S.C. 501, 2408)             compliance with the standards set
                                                       forth in this section, all applicable
          § 39.63 Architecturaldesign standards.       local and State building codes and reg-
             The publications listed in this sec-      ulations must be observed. In areas not
          tion are incorporated by reference. The      subject to local or State building
          Director of the Federal Register ap-         codes, the recommendations contained
          proves this incorporation by reference       in the 2003 edition of the NFPA 5000,
          in accordance with 5 U.S.C. 552(a) and 1     Building Construction and Safety Code,
          CFR part 51. Copies of these publica-        shall apply.
          tions may be inspected at the office of         (3) Occupational safety and health
          the State Cemetery Grants Service,           standards. Applicable standards con-
          National Cemetery Administration,            tained in the Occupational Safety and
          Department of Veterans Affairs, 810          Health Act of 1970 (29 U.S.C. 651 et seq.)
          Vermont Avenue, NW., Washington, DC          must be observed.
          20420 or at the National Archives and           (b) Mechanical requirements. The heat-
          Records Administration (NARA). For           ing system, boilers, steam system, ven-
          information on the availability of this      tilation system, and air-conditioning
          material at NARA, call 202-741--6030 or      system shall be furnished and installed
          go       to       http://www.archives.gov    to meet all requirements of the local
          federal register/                            and State codes and regulations. Where
          code offederal regulations/                  no local or State codes are in force, the
          ibr locations.html. Copies of the 2003       2003 edition of the Uniform Mechanical
          edition of the National Fire Protection      Code shall apply.

                                                   828




                                              ADD-24
A Case #22-7063          Document #1989387                             Filed: 03/09/2023              Page 108 o


         Department of Veterans Affairs                                                      §39.81
           (c) Plumbing requirements. Plumbing            total amount of grants awarded during
         systems shall comply with all applica-           any fiscal year for Operation and Main-
         ble local and State codes, the require-          tenance Projects does not exceed $5
         ments of the State Department of                 million. In determining whether suffi-
         Health, and the minimum general                  cient funds are available, VA shall con-
         standards as set forth in this part.             sider the project's ranking in Priority
         Where no local or State codes are in             Group 4; the total amount of funds
         force, the 2003 edition of the Uniform           available for cemetery grant awards in
         Plumbing Code shall apply.                       Priority Group 4 during the applicable
           (d) Electrical requirements. The instal-       fiscal year; and the prospects of higher
         lation of electrical work and equip-             ranking projects being ready for the
         ment shall comply with all local and             award of a grant before the end of the
         State codes and laws applicable to elec-         applicable fiscal year.
         trical installations and the minimum
         general standards set forth in the               (Authority: 38 U.S.C. 501, 2408)
         NFPA 70, National Electrical Code, 2002
         edition. The regulations of the local            §39.81 Preapplication requirements.
         utility company shall govern service             (a) A State seeking a grant for the
         connections. Aluminum bus ways shall           operation or maintenance of a State
         not be used as a conducting medium in          veterans cemetery must submit a
         the electrical distribution system.            preapplication to the Director, State
         (Authority: 38 U.S.C. 501, 2408)               Cemetery Grants Service, through
                                                        http://www.cem.va.gov/cem./
              Subpart C-Operation and                   scg-grants.asp.
                Maintenance Projects                      (b) No detailed drawings, plans, or
                                                        specifications are required with the
          GRANT REQUIREMENTS AND PROCEDURES             preapplication. As a part of the
                                                        preapplication, the State must submit
         §39.80 General requirements for a              each of the following:
             grant.
                                                          (1) Standard Form 424 (Application
           (a) For a State to obtain a grant for        for Federal Assistance) and Standard
         the operation or maintenance of a              Form 424C (Budget Information) signed
         State veterans cemetery:                       by the authorized representative of the
           (1) Its preapplication for the grant
         must be approved by VA under                   State. These forms document the
         §39.81(e);                                     amount of the grant requested, which
            (2) Its project must be ranked suffi-       may not exceed 100 percent of the esti-
         ciently high within Priority Group 4 as        mated cost of the project to be funded
         defined in §39.3 for the applicable fiscal     with the grant.
         year so that funds are available for the          (2) VA Form 40-0895-2 (Certification
         project, and a grant for the project           of Compliance with Provisions of the
         must not result in payment of more             Davis-Bacon Act) to certify that the
         than the $5 million total amount per-          State has obtained the latest pre-
         missible for all Operation and Mainte-         vailing wage rates for Federally funded
         nance Projects in any fiscal year;             projects. Any construction project
            (3) Its plans and specifications for the    fully or partially funded with Federal
         project must be approved by VA under           dollars must comply with those rates
         §39.82;                                        for specific work by trade employees
            (4) The State must meet the applica-        (e.g., electricians, carpenters).
         tion requirements in §39.84; and                  (3) VA Form 40-0895-6 (Certification
            (5) Other requirements specified in         of State or Tribal Government Match-
         §§ 39.6, 39.10, and 39.83 must be satisfied.   ing Architectural and Engineering
            (b) VA may approve under §39.85 any         Funds to Qualify for Group 1 on the
         Operation and Maintenance Project              Priority List) to provide documenta-
         grant application up to the amount of          tion that the State has legislative au-
         the grant requested once the require-          thority to support the project and the
         ments under paragraph (a) of this sec-         resources necessary to initially fund
         tion have been satisfied, provided that        the architectural and engineering por-
         sufficient funds are available and that        tion of the project development. Once

                                                    829




                                                ADD-25
A Case #22-7063          Document #1989387                                  Filed: 03/09/2023                  Page 109 o


          Pt. 75, App. D                                                     40 CFR Ch. 1 (7-1-10 Edition)
            3.2.6 Use the calculated monitor or moni-         tween the flow measured in the pipe leading
          toring system data averages, maximum val-           to the unit and the flow in the pipe diverting
          ues, and percentile values to substitute for        fuel away from the unit. However, the addi-
          missing flow rate and NOx emission rate             tional fuel flowmeter is not required if, on an
          data (and where applicable, NOx concentra-          annual basis, the total amount of fuel di-
          tion data) according to the procedures in           verted away from the unit, expressed as a
          subpart D of this part.                             percentage of the total annual fuel usage by
                                                              the unit is demonstrated to be less than or
          [58 FR 3701, Jan. 11, 1993, as amended at 60
                                                              equal to 5.0 percent. The owner or operator
          FR 26547, 26548, May 17, 1995; 63 FR 57313, Oct.    may make this demonstration in the fol-
          27, 1998; 64 FR 28652, May 26, 1999; 67 FR 40459,   lowing manner:
          June 12, 2002]                                         2.1.1.1 For existing units with fuel usage
                                                              data from fuel flowmeters, if data are sub-
          APPENDIX D TO PART 75--OPTIONAL S02                 mitted from a previous year demonstrating
             EMISSIONS  DATA    PROTOCOL   FOR                that the total diverted yearly fuel does not
             GAS-FIRED AND OIL-FIRED UNITS                    exceed 5% of the total fuel used; or
                                                                 2.1.1.2 For new units which do not have
                         1. APPLICABILITY                     historical data, if a letter is submitted
             1.1 This protocol may be used in lieu of         signed by the designated representative cer-
          continuous SO 2 pollutant concentration and         tifying that, in the future, the diverted fuel
          flow monitors for the purpose of determining        will not exceed 5.0% of the total annual fuel
          hourly SO 2 mass emissions and heat input           usage; or
          from: gas-fired units, as defined in §72.2 of          2.1.1.3 By using a method approved by the.
          this chapter, or oil-fired units, as defined in     Administrator under § 75.66(d).
          §72.2 of this chapter. Section 2.1 of this ap-         2.1.2 Install and use fuel flowmeters meet-
          pendix provides procedures for measuring oil        ing the requirements of this appendix in a
          or gaseous fuel flow using a fuel flowmeter,        pipe going to each unit, or install and use a
          section 2.2 of this appendix provides proce-        fuel flowmeter in a common pipe header (as
          dures for conducting oil sampling and anal-         defined in §72.2). However, the use of a fuel
          ysis to determine sulfur content and gross          flowmeter in a common pipe header and the
          calorific value (GCV) of fuel oil, and section      provisions of sections 2.1.2.1 and 2.1.2.2 of this
          2.3 of this appendix provides procedures for        appendix shall not apply to any unit that is
          determining the sulfur content and GCV of           using the provisions of subpart H of this part
          gaseous fuels.                                      to monitor, record, and report NOx mass
             1.2 Pursuant to the procedures in §75.20,        emissions under a State or federal NOx mass
          complete all testing requirements to certify        emission reduction program, unless both of
          use of this protocol in lieu of a flow monitor      the following are true: all of the units served
          and an SO 2 continuous emission monitoring          by the common pipe are affected units, and
          system. Complete all testing requirements           all of the units have similar efficiencies.
          no later than the applicable deadline speci-        When a fuel flowmeter is installed in a com-
          fied in §75.4. Apply to the Administrator for       mon pipe header, proceed as follows:
          initial certification to use this protocol no          2.1.2.1 Measure the fuel flow rate in the
          later than 45 days after the completion of all      common pipe, and combine SO 2 mass emis-
          certification tests.                                sions (Acid Rain Program units only) for the
                                                              affected units for recordkeeping and compli-
                           2. PROCEDURE                       ance purposes; and
                                                                 2.1.2.2 Apportion the heat input rate
                2.1   Fuel Flowmeter Measurements
                                                              measured at the common pipe to the indi-
             For each hour when the unit is combusting        vidual units, using Equation F-21a, F-21b, or
          fuel, measure and record the flow rate of fuel      F-21d in appendix F to this part.
          combusted by the unit, except as provided in           2.1.3 For a gas-fired unit or an oil-fired
          section 2.1.4 of this appendix. Measure the         unit that continuously or frequently com-
          flow rate of fuel with an in-line fuel flow-        busts a supplemental fuel for flame stabiliza-
          meter, and automatically record the data             tion or safety purposes, measure the flow
          with a data acquisition and handling system,        rate of the supplemental fuel with a fuel
          except as provided in section 2.1.4 of this ap-     flowmeter meeting the requirements of this
          pendix.                                             appendix.
             2.1.1 Measure the flow rate of each fuel
          entering and being combusted by the unit. If,            2.1.4     Situations in Which Certified
          on an annual basis, more than 5.0 percent of                     Flowmeter is Not Required
          the fuel from the main pipe is diverted from               2.1.4.1   Start-up or Ignition Fuel
          the unit without being burned and that di-
          version occurs downstream of the fuel flow-           For an oil-fired unit that uses gas solely
          meter, an additional in-line fuel flowmeter is      for start-up or burner ignition, a gas-fired
          required to account for the unburned fuel. In       unit that uses oil solely for start-up or burn-
          this case, record the flow rate of each fuel        er ignition, or an oil-fired unit that uses a
          combusted by the unit as the difference be-         different grade of oil solely for start-up or




                                                    ADD-26
A Case #22-7063          Document #1989387                             Filed: 03/09/2023                    Page 110 o


         Environmental Protection Agency                                                Pt. 75, App. D
             (d) Continue using the assumed value(s), so   D1217-93 (Reapproved 1998), Standard Test
         long as the sample results do not exceed the      Method for Density and Relative Density
         assumed value(s). However, if the actual          (Specific Gravity) of Liquids by Bingham
         sampled sulfur content, gross calorific value,    Pycnometer, ASTM D1481-93 (Reapproved
         or density of an oil sample is greater than       1997), Standard Test Method for Density and
         the assumed value for that parameter, then,       Relative Density (Specific Gravity) of Vis-
         consistent with section 2.3.7 of this appendix,   cous Materials by Lipkin Bicapillary Pyc-
         begin to use the actual sampled value for         nometer, ASTM D1480-93 (Reapproved 1997),
         sulfur content, gross calorific value, or den-    Standard Test Method for Density and Rel-
         sity of fuel to calculate S02 mass emission       ative Density (Specific Gravity) of Viscous
         rate or heat input rate. Consider the sampled     Materials by Bingham Pycnometer, ASTM
         value to be the new assumed sulfur content,       D1298-99, Standard Test Method for Density,
         gross calorific value, or density.. Continue      Relative Density (Specific Gravity), or API
         using this new assumed value to calculate         Gravity of Crude Petroleum and Liquid Pe-
         S02 mass emission rate or heat input rate         troleum Products by Hydrometer Method, or
         unless and until: it is superseded by a higher    ASTM D4052-96 (Reapproved 2002), Standard
         value from an oil sample; or (if applicable) it   Test Method for Density and Relative Den-
         is superseded by a new contract in which          sity of Liquids by Digital Density Meter (all
         case the new contract value becomes the as-       incorporated by reference under §75.6 of this
         sumed value at the time the fuel specified        part). Alternatively, the oil samples may be
         under the new contract begins to be com-          analyzed for density or specific gravity by
         busted in the unit; or (if applicable) both the   any consensus standard method prescribed
         calendar year in which the sampled value ex-      for the affected unit under part 60 of this
         ceeded the assumed value and the subsequent       chapter.
         calendar year have elapsed.                          2.2.7 Analyze oil samples to determine the
             2.2.5 For each oil sample that is taken on-   heat content of the fuel. Determine oil heat
         site at the affected facility, split and label    content in accordance with ASTM D240-00,
         the sample and maintain a portion (at least       Standard Test Method for Heat of Combus-
         200 cc) of it throughout the calendar year        tion of Liquid Hydrocarbon Fuels by Bomb
         and in all cases for not less than 90 calendar    Calorimeter, ASTM D4809-00, Standard Test
         days after the end of the calendar year al-       Method for Heat of Combustion of Liquid Hy-
         lowance accounting period. This requirement       drocarbon Fuels by Bomb Calorimeter (Pre-
         does not apply to oil samples taken from the      cision Method), -or ASTM D5865-01a, Stand-
         fuel supplier's storage container, as de-         ard Test Method for Gross Calorific Value of
          scribed in section 2.2.4.3 of this appendix.     Coal and Coke (all incorporated by reference
          Analyze oil samples for percent sulfur con-      under §75.6 of this part) or any other proce-
          tent by weight in accordance with ASTM           dures listed in section 5.5 of appendix F of
          D129-00, Standard Test Method for Sulfur in      this part. Alternatively, the oil samples may
          Petroleum Products (General Bomb Method),        be analyzed for heat content by any con-
          ASTM D1552-01, Standard Test Method for          sensus standard method prescribed for the
          Sulfur in Petroleum Products (High-Tem-          affected unit under part 60 of this chapter.
          perature Method), ASTM D2622-98, Standard           2.2.8 Results from the oil sample analysis
          Test Method for Sulfur in Petroleum Prod-
                                                           must be available no later than thirty cal-
          ucts by Wavelength Dispersive X-ray Fluo-
                                                           endar days after the sample is composited or
         'rescence Spectrometry,       ASTM D4294-98,
                                                           taken. However, during an audit, the Admin-
          Standard Test Method for Sulfur in Petro-
                                                           istrator may require that the results of the
          leum and Petroleum Products by Energy-
                                                           analysis be available as soon as practicable,
          Dispersive X-ray Fluorescence Spectrom-
                                                           and no later than 5 business days after re-
          etry, or ASTM D5453-06, Standard Test Meth-
                                                           ceipt of a request from the Administrator.
          od for Determination of Total Sulfur in
          Light Hydrocarbons, Spark Ignition Engine        2.3 SO 2 Emissions From Combustion of Gaseous
          Fuel, Diesel Engine Fuel, and Engine Oil by                           Fuels
          Ultraviolet Fluorescence (all incorporated
          by reference under §75.6 of this part). Alter-     (a) Account for the hourly SO 2 mass emis-
          natively, the oil samples may be analyzed for    sions due to combustion of gaseous fuels for
          percent sulfur by any consensus standard         each hour when gaseous fuels are combusted
          method prescribed for the affected unit          by the unit using the procedures in this sec-
          under part 60 of this chapter.                   tion.
             2.2.6 Where the flowmeter records volu-         (b) The procedures in sections 2.3.1 and
          metric flow rate rather than mass flow rate,     2.3.2 of this appendix, respectively, may be
          analyze oil samples to determine the density     used to determine SO2 mass emissions from
           or specific gravity of the oil. Determine the   combustion of pipeline natural gas and nat-
           density or specific gravity of the oil sample   ural gas, as defined in §72.2 of this chapter.
          in    accordance with ASTM D287-92 (Re-          The procedures in section 2.3.3 of this appen-
          approved 2000), Standard Test Method for         dix may be used to account for SO2 mass
          API Gravity of Crude Petroleum and Petro-        emissions from any gaseous fuel combusted
           leum Products (Hydrometer Method), ASTM         by a unit. For each type of gaseous fuel, the




                                                  ADD-27
A Case #22-7063            Document #1989387                               Filed: 03/09/2023                  Page 111 o




                     SUBCHAPTER D-WATER PROGRAMS (CONTINUED)

          PART    136-GUIDELINES   ESTAB-                     § 136.2   Definitions.
            LISHING TEST PROCEDURES FOR                         As used in this part, the term:
            THE ANALYSIS OF POLLUTANTS                          (a) Act means the Clean Water Act of
                                                              1977, Pub. L. 95-217, 91 Stat. 1566, et seq.
          Sec.                                                (33 U.S.C. 1251 et seq.) (The Federal
          136.1 Applicability.                                Water Pollution Control Act Amend-
          136.2 Definitions.
          136.3 Identification of test procedures.            ments of 1972 as amended by the Clean
          136.4 Application for alternate test proce-         Water Act of 1977).
               dures.                                           (b) Administrator means the Adminis-
          136.5 Approval of alternate test procedures.        trator of the U.S. Environmental Pro-
          APPENDIX A TO PART 136-METHODS FOR OR-              tection Agency.
             GANIC CHEMICAL ANALYSIS OF MUNICIPAL               (c) Regional Administrator means one
             AND INDUSTRIAL WASTEWATER
                                                              of the EPA Regional Administrators.
          APPENDIX B TO PART 136-DEFINITION AND
             PROCEDURE FOR THE DETERMINATION OF                 (d) Director means the Director of the
             THE METHOD DETECTION LIMIT-REVISION              State Agency authorized to carry out
              1.11                                            an approved National Pollutant Dis-
          APPENDIX C TO PART 136-INDUCTIVELY COU-             charge Elimination System Program
             PLED PLASMA-ATOMIC EMISSION SPEC-                under section 402 of the Act.
             TROMETRIC METHOD FOR TRACE ELEMENT
             ANALYSIS OF WATER AND WASTES METHOD
                                                                (e) National Pollutant Discharge Elimi-
              200.7                                           nation System (NPDES) means the na-
          APPENDIX D TO PART 136--PRECISION AND RE-           tional system for the issuance of per-
             COVERY STATEMENTS FOR METHODS FOR                mits under section 402 of the Act and
             MEASURING METALS                                 includes any State or interstate pro-
            AUTHORITY: Secs. 301, 304(h), 307 and 501(a),     gram which has been approved by the
          Pub. L. 95-217, 91 Stat. 1566, et seq. (33 U.S.C.   Administrator, in whole or in part,
          1251, et seq.) (the Federal Water Pollution         pursuant to section 402 of the Act.
          Control Act Amendments of 1972 as amended             (f) Detection limit means the minimum
          by the Clean Water Act of 1977).
                                                              concentration of an analyte (sub-
          § 136.1     Applicability.                          stance) that can be measured and re-
                                                              ported with a 99% confidence that the
            The procedures prescribed herein                  analyte concentration is greater than
          shall, except as noted in § 136.5, be used          zero as determined by the procedure
          to perform the measurements indicated               set forth at appendix B of this part.
          whenever the waste constituent speci-
          fied is required to be measured for:                [38 FR 28758, Oct. 16, 1973, as amended at 49
            (a) An application submitted to the               FR 43250, Oct. 26, 1984]
          Administrator, or to a State having an
          approved NPDES program for a permit                 § 136.3 Identification    of   test   proce-
          under section 402 of the Clean Water                    dures.
          Act of 1977, as amended (CWA), and/or                 (a) Parameters or pollutants, for
          to reports required to be submitted                 which methods are approved, are listed
          under NPDES permits or other re-                    together with test procedure descrip-
          quests for quantitative or qualitative              tions and references in Tables IA, IB,
          effluent data under parts 122 to 125 of             IC, ID, IE, and IF. The full text of the
          title 40, and,                                      referenced test procedures are incor-
             (b) Reports required to be submitted             porated by reference into Tables IA, IB,
          by discharges under the NPDES estab-                IC, ID, IE, and IF. The incorporation by
          lished by parts 124 and 125 of this chap-           reference of these documents, as speci-
          ter, and,                                           fied in paragraph (b) of this section,
             (c) Certifications issued by States              was approved by the Director of the
          pursuant to section 401 of the CWA, as              Federal Register in accordance with 5
          amended.                                            U.S.C. 552(a) and 1 CFR part 51. Copies
          [38 FR 28758, Oct. 16, 1973, as amended at 49       of the documents may be obtained from
          FR 43250, Oct. 26, 1984]                            the sources listed in paragraph (b) of




                                                     ADD-28
A Case #22-7063        Document #1989387                        Filed: 03/09/2023                 Page 112 o


          § 136.3                                              40 CFR Ch. 1 (7-1-03 Edition)
          this section. Information regarding ob-    ical test procedures incorporated by
          taining these documents can be ob-         reference and described in Tables IA,
          tained from the EPA Office of Water        IB, IC, IE, and IF, or by any alternate
          Statistics and Analytical       Support    test procedure which has been approved
          Branch at 202-566-1000. Documents may      by the Administrator under the provi-
          be inspected at EPA's Water Docket,        sions of paragraph (d) of this section
          EPA West, 1301 Constitution Avenue,        and §§ 136.4 and 136.5. Under certain cir-
          NW., Room B135, Washington, DC             cumstances (paragraph (b) or (c) of this
          (Telephone: 202-566-2426); or at the Of-
                                                     section or 40 CFR 401.13) other test pro-
          fice of the Federal Register, 800 North
                                                     cedures may be more advantageous
          Capitol Street, NW., Suite 700, Wash-
          ington, DC. These test procedures are      when such other test procedures have
          incorporated as they exist on the day      been previously approved by the Re-
          of approval and a notice of anys change    gional Administrator of the Region in
          in these test procedures will be pub-      which the discharge will occur, and
          lished in the FEDERAL REGISTER. The        providing the Director of the State in
          discharge parameter values for which       which such discharge will occur does
          reports are required must be deter-        not object to the use of such alternate
          mined by one of the standard analyt-       test procedure.




                                             ADD-29
A Case #22-7063                     Document #1989387                                                               Filed: 03/09/2023             Page 113 o


         Environmental Protection Agency                                                                                                § 136.3




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A Case #22-7063     Document #1989387                                                        Filed: 03/09/2023                                             Page 114 o


           §136.3                                                                             40 CFR Ch. 1 (7-1-03 Edition)




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A Case #22-7063                   Document #1989387                                                                                  Filed: 03/09/2023                                                          Page 115 o


         Environmental Protection Agency                                                                                                                                                          § 136.3




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A Case #22-7063          Document #1989387                                                                        Filed: 03/09/2023                                                      Page 116 o


          § 136.3                                                                                                 40 CFR Ch. 1 (7-1-03 Edition)




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A Case #22-7063                                   Document #1989387                                                                                   Filed: 03/09/2023                   Page 117 o


         Environmental Protection Agency                                                                                                                                      § 136.3




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A Case #22-7063                 Document #1989387                                                                        Filed: 03/09/2023                                      Page 118 o


           § 136.3                                                                                                       40 CFR Ch. I (7-1-03 Edition)




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A Case #22-7063                              Document #1989387                                                              Filed: 03/09/2023                                                     Page 119 o


        Environmental Protection Agency                                                                                                                                              § 136.3




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A Case #22-7063                     Document #1989387                                          Filed: 03/09/2023                          Page 120 o


          § 136.3                                                                              40 CFR Ch. 1 (7-1-03 Edition)




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A Case #22-7063                             Document #1989387                                               Filed: 03/09/2023                                              Page 121 o


         Environmental Protection Agency                                                                                                                     § 136.3




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A Case #22-7063            Document #1989387                                                                 Filed: 03/09/2023                                     Page 122 o


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A Case #22-7063                    Document #1989387                                                                          Filed: 03/09/2023                                                       Page 123 o


        Environmental Protection Agency                                                                                                                                       § 136.3



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A Case #22-7063     Document #1989387         Filed: 03/09/2023           Page 124 o


           §136.3           § 136.340           CFR Ch. 1(7-1-03 Edition)



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                                     ADD-41
A Case #22-7063                                          Document #1989387                                                                                                                                     Filed: 03/09/2023                                  Page 125 o


        Environmental Protection Agency                                                                                                                                                                                                           §136.3



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A Case #22-7063                       Document #1989387                                                                              Filed: 03/09/2023                                                Page 126 o

           Environmental Protection Agency                                                                                                                                        § 1065.1010
               Symbol                                 Quantity                                                    Unit                                  Unit symbol                   Base SI units

           m ...............    mass ................................................  kilogram .........................                 ....... kg ........................     kg
                                                                                                                                                                                          -
           m............... mass rate ...................                              kilogram per second ....................... kg/s             2              ...........    kg2 • s
           v ................ viscosity, kinematic .........................           meter squared per second ..............                    m /s ..............             m . S-1
           N ...............   total number in series .....................
           n ................ am ount of substance ......................              m ole ................................................     m ol ......................     m ol
           n ................ amount of substance rate ...............                 mole per second .............................              moVs ...................        mol - s-3
                                                                                                                                                                                          2
           P ...............   power .................................... kilowat .........................................                       kW .          ...............   103 rn - kg - s-'
           PF ............. penetration fraction .........................
                                                                                                                                                                                      -          -2
           p ................  pressure ......................................         pascal ............................................        Pa ............                 m i - kg - s
           p................ mass density .................                            kilogram per cubic meter .........                         kg/m3 .........                 kg • m-3
           r .................  ratio of pressures ............................        pascal per pascal ............................             Pa/Pa ................          1
             2
           R .............. coefficient of determination .............
           Ra ............. average surface roughness ............                     micrometer ......................................          pm            ...............   m
           Re. ............     Reynolds number ............................
           RF ............. response factor ...............................
           RH %                relative hum idity ...............                      001................. ...............................       % ........................      10-2
              ................ non-biased standard deviation.
           S ...............   Sutherland constant ............                        kelvin ......................                              K............K
           SEE ........... standard estimate .of error ..............
           T ................ absolute tem perature ...................... kevin ......................                                           K.........................      K
           T ................ Celsius temperature .......................              degree Celsius ...............                               .      .        .        .    K-273.15
                                                                                                                                                                                    2
           T ................  torque (moment of force) ................ newton meter ................                                            N - m..........                 m • kg- a 2
             ................. tim e ................................................  second ..............           .............s....   .... a ... ................           s
           At ...............  time interval,. period, 1/frequency ... second ......... . .......................... 3 . . .. . .. . ..                                           s3
           V ...............   volum e ............................................    cubic m eter ..................                            M3              .............   m3 - 1
               ............... volume rate ....................................        cubic meter per second ..........                          m /s ....................       m -S        2
           W ..............    w ork ................................................. kilow att hour .. .............................            kW • h .................        3.6 - 10-6 m .
                                                                                                                                                                                           - 2
                                                                                                                                                                                      kg . S
           w. ..............     carbon mass concentration .............2                 gram per gram ...............                             g/g ............              1
           x................     amount of substance mole fraction                        mole per mole ................                            mol/mol ..............        (1)
              ................   flow-weighted mean concentration                         mole per mole .................................           mol/mol ...........           1
           y ................    generic variable ...............................
               1See paragraph (f)(2) of this section for the values to use for molar masses. Note that in the cases of NOx and HC, the regu-
           lations specify effective molar masses based on assumed speciation rather than actual speciation.
              2 Note that mole fractions for THC, THCE, NMHC, NMHCE, and NOTHC are expressed on a C1 equivalent basis.



                                                                                                               PEMS portable emission measurement sys-
                                                                                                                 tem
             (g) Other acronyms and abbreviations. This
                                                                                                               PFD partial-flow dilution
           part uses the following additional abbrevia-
           tions and acronyms:                                                                                 PMP Polymethylpentene
                                                                                                               pt. a single point at the mean value ex-
           ASTM              American              Society            for Testing                and
                                                                                                                 pected at the standard
               Materials
           BMD bag mini-diluter                                                                                PTFE polytetrafluoroethylene   (commonly
           BSFC brake-specific fuel consumption                                                                  known as TeflonTM)
           CARB California Air Resources Board                                                                 RE rounding error.
           CPR Code of Federal Regulations                                                                     RMC ramped-modal cycle
           CFV critical-flow venturi                                                                           RMS root-mean square
           CI compression-ignition                                                                             RTD resistive temperature detector
           CITT Curb Idle Transmission Torque                                                                  SSV subsonic venturi
           CLD chemiluminescent detector
           CVS constant-volume sampler
                                                                                                               SI spark-ignition
           DF deterioration factor                                                                             UCL upper confidence limit
           ECM electronic control module                                                                       UFM ultrasonic flow meter
           EFC electronic flow control                                                                         U.S.C. United States Code
           EGR exhaust gas recirculation
           EPA Environmental Protection Agency                                                                 § 1065.1010                  Reference materials.
           FEL Family Emission Limit
           FI)   flame-ionization detector                                                                       Documents listed in this section have
           IBP initial boiling point                                                                           been incorporated by reference into
           ISO International Organization for Stand-                                                           this part. The Director of the Federal
             ardization                                                                                        Register approved the incorporation by
           LPG liquefied petroleum gas                                                                         reference as prescribed in     5 U.S.C.
           NDIR nondispersive infrared
                                                                                                               552(a) and 1 CFR part 51. Anyone may
           NDUV nondispersive ultraviolet
           NIST National Institute for Standards and                                                           inspect copies at the U.S. EPA, Air and
             Technology                                                                                        Radiation Docket and        Information
           PDP positive-displacement pump                                                                      Center. 1301 Constitution Ave., NW.,

                                                                                                      1053




                                                                                          ADD-43
A Case #22-7063                    Document #1989387                                                            Filed: 03/09/2023                                        Page 127 o

         § 1065.1010                                                                                         40 CFR Ch. I (7-1-08 Edition)

         Room B102, EPA West Building, Wash-                                             Society for Testing and Materials that
         ington, DC 20460 or at the National Ar-                                         we have incorporated by reference. The
         chives and Records Administration                                               first column lists the number and name
         (NARA). For information on the avail-                                           of the material. The second column
         ability of this material at NARA, call                                          lists the sections of this part where we
         202-741-6030,   or    go    to:    http://                                      reference it. Anyone may purchase cop-
         www.archives.gov/federaliregisterl                                              ies of these materials from the Amer-
         code offederalregulations/                                                      ican Society for Testing and Materials,
         ibr locations.html.                                                             100 Barr Harbor Dr., P.O. Box C700,
           (a) ASTM material. Table 1 of this sec-                                       West Conshohocken,        PA 19428 or
         tion lists material from the American                                           www.astm.com. Table 1 follows:
                                                   TABLE 1 OF § 1065.1010--ASTM MATERIALS
                                                    Document number and name                                                              Part 1065 reference

         ASTM D 86-04b, Standard Test Method for Distillation of Petroleum Products at Atmospheric Pres-
           s ure ........................................................................................................................................................             1065.703, 1065.710
         ASTM D 93-02a, Standard Test Methods for Flash Point by Pensky-Martens Closed Cup Tester                                                                                               1065.703
         ASTM 0 287 92 (Reapproved 2000), Standard Test Method for API Gravity of Crude Petroleum and
           Petroleum Products (Hydrometer Method) ............................................................................................                                                  1065.703
         ASTM D 323-99a, Standard Test Method for Vapor Pressure of Petroleum Products (Reid Method)                                                                                            1065.710
         ASTM D 445-04, Standard Test Method for Kinematic Viscosity of Transparent and Opaque Liquids
           (and the Calculation of Dynamic Viscosity) ...........................................................................................                                               1065.703
         ASTM D 613-03b, Standard Test Method for Cetane Number of Diesel Fuel Oil ..................................                                                                           1065.703
         ASTM D 910-04a, Standard Specification for Aviation Gasolines ...........................................................                                                              1065.701
         ASTM D 975-04c, Standard Specification for Diesel Fuel Oils ...............................................................                                                            1065.701
         ASTM D 1266-98 (Reapproved 2003), Standard Test Method for Sulfur in Petroleum Products (Lamp
           Meth od ) ........................................................................             .........................................................................             1065.710
         ASTM D 1267-02, Standard Test Method for Gage Vapor Pressure of Liquefied Petroleum (LP)
           Gases (LP-Gas Method) .......................................................................................................................                                        1065.720
         ASTM D 1319-03, Standard Test Method for Hydrocarbon Types in Liquid Petroleum Products by
           Fluorescent Indicator Adsorption ...........................................................................................................                                         1065.710
         ASTM D 1655-04a, Standard Specification for Aviation Turbine Fuels ...........................................                                                                         1065.701
         ASTM D 1837-02a, Standard Test Method for Volatility of Liquefied Petroleum (LP) Gases ................                                                                                1065.720
         ASTM D 183-03, Standard Test Method for Copper Strip Corrosion by Liquefied Petroleum (LP)
           G ases ...............................................................................................                                                                               1065.720
         ASTM D 1945-03, Standard Test Method for Analysis of Natural Gas by Gas Chromatography ..........                                                                                      1065.715
         ASTM D 2158-04, Standard Test Method for Residues in Liquefied Petroleum (LP) Gases .................                                                                                  1065.720
         ASTM D 2163-91 (Reapproved 1996), Standard Test Method for Analysis of Liquefied Petroleum
           (LP) Gases and Propene Concentrates by Gas Chromatography .......................................................                                                                    1065.720
         ASTM D 2598-02, Standard Practice for Calculation of Certain Physical Properties of Liquefied Pe-
           troleum (LP) Gases from Compositional Analysis ................................................................................                                                      1065.720
         ASTM D 2622-03, Standard Test Method for Sulfur in Petroleum Products by Wavelength Dispersive
           X-ray Fluorescence Spectrom etry .........................................................................................................                                           1065.703
         ASTM D 2713-91 (Reapproved 2001), Standard Test Method for Dryness of Propane (Valve Freeze
           Meth o d) .......................................................................................               ..........................................................           1065.720
         ASTM D 2784-98 (Reapproved 2003), Standard Test Method for Sulfur in Liquefied Petroleum
           Gases (Oxy-Hydrogen Bumer or Lamp) ...............................................................................................                                                   1065.720
         ASTM D 2880-03, Standard Specification for Gas Turbine Fuel Oils .....................................................                                                                 1065.701
         ASTM D 2986-95a (Reapproved 1999), Standard Practice for Evaluation of Air Assay Media by the
           Monodisperse DOP (Dioctyl Phthalate) Smoke Test ............................................................................                                                         1065.170
         ASTM D 3231-02, Standard Test Method for Phosphorus in Gasoline ..................................................                                                                     1065.710
         ASTM D 3237-02, Standard Test Method for Lead in Gasoline By Atomic Absorption Spectroscopy ..                                                                                         1065.710
         ASTM D 4814-04b, Standard Specification for Automotive Spark-ignition Engine Fuel .........................                                                                            1065.701
         ASTM D 5186-03, Standard Test Method for Determination of the Aromatic Content and Polynuclear
           Aromatic Content of Diesel Fuels and Aviation Turbine Fuels By Supercritical Fluid Chroma-
           tog ra phy .................................................................................................................................................                         1065.703
         ASTM D 5797-96 (Reapproved 2001), Standard Specification for Fuel Methanol (M70-M85) for Auto-
           motive Spark-Ignition Engines ...............................................................................................................                                        1065.701
         ASTM D 5798-99 (Reapproved 2004), Standard Specification for Fuel Ethanol (Ed75-Ed85) for Auto-
           motive Spark-Ignition Engines ...............................................................................................................                                        1065.701
         ASTM D 6615-04a, Standard Specification for Jet B Wide-Cut Aviation Turbine Fuel ..........................                                                                            1065.701
         ASTM D 6751-03a, Standard Specification for Biodiesel Fuel Blend Stock (B100) for Middle Distillate
            Fuels ......................................................................................................................................................                        1065.701
         ASTM D 6985-04a, Standard Specification for Middle Distillate Fuel Oil Military Marine Applications ..                                                                                 1065.701
         ASTM F 1471-93 (Reapproved 2001), Standard Test Method for Air Cleaning Performance of a
            High-Efficiency Particulate Air Filter System .........................................................................................                                            1065.1001




                                                                                  1054




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A Case #22-7063                      Document #1989387                                                                        Filed: 03/09/2023                                           Page 128 o


          Environmental Protection Agency                                                                                                                             § 1065.1010
            (b) ISO material. Table 2 of this sec-                                                      part where we reference it. Anyone
          tion lists material from the Inter-                                                           may purchase copies of these materials
          national Organization for Standardiza-                                                        from the International Organization
          tion that we have incorporated by ref-                                                        for Standardization, Case Postale 56,
          erence. The first column lists the num-                                                       CH-1211 Geneva 20, Switzerland or
          ber and name of the material. The sec-                                                        www.iso.org. Table 2 follows:
          ond column lists the section of this
                                                              TABLE 2 OF § 1065.1010-ISO MATERIALS
                                                             Document number and name                                                                      I    Part 1065 reference

           ISO 14644-1, Cleanrooms and associated controlled environments ......................................................                           1                   1065.190




            (c) NIST material. Table 3 of this sec-                                                     part where we reference it. Anyone
          tion lists material from the National                                                         may purchase copies of these materials
          Institute of Standards and Technology                                                         from the Government Printing Office,
          that we have incorporated by ref-                                                             Washington, DC 20402 or download
          erence. The first column lists the num-                                                       them free from the Internet at
          ber and name of the material. The sec-                                                        www.nist.gov. Table 3 follows:
          ond column lists the section of this
                                                              TABLE 3 OF § 1065.1010. NIST MATERIALS
                                                             Document number and name                                                                           Part 1065 reference
           NIST   Special Publication 811, 1995 Edition, Guide for the Use of the International System of Units ]
             (SI), Barry N. Taylor, Physics Laboratory .............................................................................................               1065.20, 1065.1001,
                                                                                                                                                                      S1065.1005
           NIST Technical Note 1297, 1994 Edition, Guidelines for Evaluating and Expressing the Uncertainty of
             NIST Measurement Results, Barry N. Taylor and Chris E. Kuyatt ........... _.........................................                                             1065.1001




             (d) SAE material. Table 4 of this sec-                                                     the sections of this part where we ref-
           tion lists material from the Society of                                                      erence it. Anyone may purchase copies
           Automotive Engineering that we have                                                          of these materials from the Society of
           incorporated by reference. The first                                                         Automotive Engineers, 400 Common-
           column lists the number and name of                                                          wealth Drive, Warrendale, PA 15096 or
           the material. The second column lists                                                        www.sae.org. Table 4 follows:
                                                              TABLE 4 OF § 1065.1010. SAE MATERIALS
                                                                                                                                                                              Part1065
                                                                      Document number and name                                                                                reference

           "Optimization of Flame Ionization Detector for Determination of Hydrocarbon in Diluted Automotive Exhausts,"
             Reschke Gten D., SA E 770141 .................................................................................................................................    1065.360
           "Relationships Between Instantaneous and Measured Emissions in Heavy Duty Applications," Ganesan B. and
             Clark N. N., W est Virginia University, SAE 2001-01-3536 ......................................................................................                   1065.309



             (e) California Air Resources Board ma-                                                     second column lists the sections of this
           terial. Table 5 of this section lists mate-                                                  part where we reference it. Anyone
           rial from the California Air Resources                                                       may get copies of these materials from
           Board that we have incorporated by                                                           the California Air Resources Board 9528
           reference. The first column lists the                                                        Telstar Ave., El Monte, California
           number and name of the material. The                                                         91731. Table 5 follows:




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                                                                                     ADD-45
USCA Case #22-7063                                                           Document #1989387                                                     Filed: 03/09/2023                 Page 129 of 137




                                                                         § 1065.1010                                                                              40 CFR Ch. I (7–1–21 Edition)
                                                                         GC–FID .......          gas chromatograph with a flame ionization          day, excluding legal holidays. The tele-
                                                                                                    detector.
                                                                         HEPA ...........        high-efficiency particulate air.                   phone number of the EPA/DC Public
                                                                         IBP ...............     initial boiling point.                             Reading Room is (202) 566–1744, and the
                                                                         IBR ..............      incorporated by reference.                         telephone number for the Air Docket is
                                                                         i.e .................   in other words.
                                                                         ISO ..............      International Organization for Standardization.
                                                                                                                                                    (202) 566–1742. These approved materials
                                                                         LPG .............       liquefied petroleum gas.                           are also available for inspection at the
                                                                         MPD ............        magnetopneumatic detection.                        National Archives and Records Admin-
                                                                         NDIR ............       nondispersive infrared.                            istration (NARA).For information on
                                                                         NDUV ..........         nondispersive ultraviolet.
                                                                         NIST ............       National Institute for Standards and Tech-         the availability of this material at
                                                                                                    nology.                                         NARA, email fedreg.legal@nara.gov or
                                                                         NMC ............        nonmethane cutter.                                 go to www.archives.gov/federal-reg-
                                                                         PDP .............       positive-displacement pump.
                                                                         PEMS ..........         portable emission measurement system.              ister/cfr/ibr-locations.html. In addi-
                                                                         PFD .............       partial-flow dilution.                             tion, these materials are available
                                                                         PLOT ...........        porous layer open tubular.                         from the sources listed below.
                                                                         PMD ............        paramagnetic detection.
                                                                         PMP .............       Polymethylpentene.
                                                                                                                                                      (b) ASTM material. The following
                                                                         pt .................    a single point at the mean value expected at       standards are available from ASTM
                                                                                                    the standard.                                   International, 100 Barr Harbor Dr., P.O.
                                                                         psi ................    pounds per square inch.                            Box C700, West Conshohocken, PA
                                                                         PTFE ...........        polytetrafluoroethylene (commonly known as
                                                                                                    Teflon TM).                                     19428–2959, (877) 909–2786, or http://
                                                                         RE ...............      rounding error.                                    www.astm.org:
                                                                         RESS ...........        rechargeable energy storage system.
                                                                         RFPF ...........        response factor penetration fraction.                 (1) ASTM D86–12, Standard Test Method for
                                                                         RMC ............        ramped-modal cycle.                                Distillation of Petroleum Products at At-
                                                                         rms ..............      root-mean square.                                  mospheric Pressure, approved December 1,
                                                                         RTD .............       resistive temperature detector.                    2012 (‘‘ASTM D86’’), IBR approved for
                                                                         SAW ............        surface acoustic wave.
                                                                                                                                                    §§ 1065.703(b) and 1065.710(b) and (c).
                                                                         SEE .............       standard estimate of error.
                                                                         SSV .............       subsonic venturi.                                     (2) ASTM D93–13, Standard Test Methods
                                                                         SI .................    spark-ignition.                                    for Flash Point by Pensky-Martens Closed
                                                                         THC–FID .....           total hydrocarbon flame ionization detector.       Cup Tester, approved July 15, 2013 (‘‘ASTM
                                                                         TINV ............       inverse student t-test function in Microsoft       D93’’), IBR approved for § 1065.703(b).
                                                                                                    Excel.                                             (3) ASTM D130–12, Standard Test Method
                                                                         UCL .............       upper confidence limit.                            for Corrosiveness to Copper from Petroleum
                                                                         UFM .............       ultrasonic flow meter.
                                                                                                                                                    Products by Copper Strip Test, approved No-
                                                                         U.S.C ...........       United States Code.
                                                                                                                                                    vember 1, 2012 (‘‘ASTM D130’’), IBR approved
                                                                                                                                                    for § 1065.710(b).
                                                                         [79 FR 23815, Apr. 28, 2014, as amended at 81                                 (4) ASTM D381–12, Standard Test Method
                                                                         FR 74191, Oct. 25, 2016]                                                   for Gum Content in Fuels by Jet Evapo-
                                                                                                                                                    ration, approved April 15, 2012 (‘‘ASTM
                                                                           EFFECTIVE DATE NOTE: At 86 FR 34575, June
                                                                                                                                                    D381’’), IBR approved for § 1065.710(b).
                                                                         29, 2021, § 1065.1005 was amended, effective
                                                                                                                                                       (5) ASTM D445–12, Standard Test Method
                                                                         July 29, 2021.
                                                                                                                                                    for Kinematic Viscosity of Transparent and
                                                                         § 1065.1010 Incorporation      by    ref-                                  Opaque Liquids (and Calculation of Dynamic
                                                                              erence.                                                               Viscosity), approved April 15, 2012 (‘‘ASTM
                                                                                                                                                    D445’’), IBR approved for § 1065.703(b).
                                                                            (a) Certain material is incorporated                                       (6) ASTM D525–12a, Standard Test Method
                                                                         by reference into this part with the ap-                                   for Oxidation Stability of Gasoline (Induc-
                                                                         proval of the Director of the Federal                                      tion Period Method), approved September 1,
                                                                         Register under 5 U.S.C. 552(a) and 1                                       2012 (‘‘ASTM D525’’), IBR approved for
                                                                         CFR part 51. To enforce any edition                                        § 1065.710(b).
                                                                                                                                                       (7) ASTM D613–13, Standard Test Method
                                                                         other than that specified in this sec-                                     for Cetane Number of Diesel Fuel Oil, ap-
                                                                         tion, a document must be published in                                      proved December 1, 2013 (‘‘ASTM D613’’), IBR
                                                                         the FEDERAL REGISTER and the mate-                                         approved for § 1065.703(b).
                                                                         rial must be available to the public. All                                     (8) ASTM D910–13a, Standard Specification
                                                                         approved materials are available for in-                                   for Aviation Gasolines, approved December 1,
                                                                         spection at the Air and Radiation                                          2013 (‘‘ASTM D910’’), IBR approved for
                                                                         Docket and Information Center (Air                                         § 1065.701(f).
                                                                         Docket) in the EPA Docket Center                                              (9) ASTM D975–13a, Standard Specification
                                                                                                                                                    for Diesel Fuel Oils, approved December 1,
                                                                         (EPA/DC) at Rm. 3334, EPA West Bldg.,
                                                                                                                                                    2013 (‘‘ASTM D975’’), IBR approved for
                                                                         1301 Constitution Ave. NW., Wash-                                          § 1065.701(f).
   rmajette on DSKBCKNHB2PROD with CFR




                                                                         ington, DC. The EPA/DC Public Read-                                           (10) ASTM D1267–12, Standard Test Method
                                                                         ing Room hours of operation are 8:30                                       for Gage Vapor Pressure of Liquefied Petro-
                                                                         a.m. to 4:30 p.m., Monday through Fri-                                     leum (LP) Gases (LP-Gas Method), approved

                                                                                                                                               284



                                         VerDate Sep<11>2014   10:44 Mar 24, 2022         Jkt 253188       PO 00000     Frm 00294      Fmt 8010     Sfmt 8010   Y:\SGML\253188.XXX   253188

                                                                                                                     ADD-46
USCA Case #22-7063                                                         Document #1989387                               Filed: 03/09/2023                  Page 130 of 137




                                                                       Environmental Protection Agency                                                              § 1065.1010
                                                                       November 1, 2012 (‘‘ASTM D1267’’), IBR ap-                   (24) ASTM D2880–13b, Standard Specifica-
                                                                       proved for § 1065.720(a).                                 tion for Gas Turbine Fuel Oils, approved No-
                                                                          (11) ASTM D1319–13, Standard Test Method               vember 15, 2013 (‘‘ASTM D2880’’), IBR ap-
                                                                       for Hydrocarbon Types in Liquid Petroleum                 proved for § 1065.701(f).
                                                                       Products by Fluorescent Indicator Adsorp-                    (25) ASTM D2986–95a, Standard Practice for
                                                                       tion, approved May 1, 2013 (‘‘ASTM D1319’’),              Evaluation of Air Assay Media by the
                                                                       IBR approved for § 1065.710(c).                           Monodisperse DOP (Dioctyl Phthalate)
                                                                          (12) ASTM D1655–13a, Standard Specifica-               Smoke Test, approved September 10, 1995
                                                                       tion for Aviation Turbine Fuels, approved                 (‘‘ASTM        D2986’’),  IBR   approved     for
                                                                       December 1, 2013 (‘‘ASTM D1655’’), IBR ap-                § 1065.170(c). (Note: This standard was with-
                                                                       proved for § 1065.701(f).                                 drawn by ASTM.)
                                                                          (13) ASTM D1837–11, Standard Test Method                  (26) ASTM D3231–13, Standard Test Method
                                                                       for Volatility of Liquefied Petroleum (LP)                for Phosphorus in Gasoline, approved June
                                                                       Gases, approved October 1, 2011 (‘‘ASTM                   15, 2013 (‘‘ASTM D3231’’), IBR approved for
                                                                       D1837’’), IBR approved for § 1065.720(a).                 § 1065.710(b) and (c).
                                                                          (14) ASTM D1838–12a, Standard Test Meth-                  (27) ASTM D3237–12, Standard Test Method
                                                                       od for Copper Strip Corrosion by Liquefied                for Lead in Gasoline By Atomic Absorption
                                                                       Petroleum (LP) Gases, approved December 1,                Spectroscopy, approved June 1, 2012 (‘‘ASTM
                                                                       2012 (‘‘ASTM D1838’’), IBR approved for                   D3237’’), IBR approved for § 1065.710(b) and (c).
                                                                       § 1065.720(a).                                               (28) ASTM D4052–11, Standard Test Method
                                                                                                                                 for Density, Relative Density, and API Grav-
                                                                          (15) ASTM D1945–03 (Reapproved 2010),
                                                                                                                                 ity of Liquids by Digital Density Meter, ap-
                                                                       Standard Test Method for Analysis of Nat-
                                                                                                                                 proved October 15, 2011 (‘‘ASTM D4052’’), IBR
                                                                       ural Gas by Gas Chromatography, approved
                                                                                                                                 approved for § 1065.703(b).
                                                                       January 1, 2010 (‘‘ASTM D1945’’), IBR ap-
                                                                                                                                    (29) ASTM D4629–12, Standard Test Method
                                                                       proved for § 1065.715(a).
                                                                                                                                 for Trace Nitrogen in Liquid Petroleum Hy-
                                                                          (16) ASTM D2158–11, Standard Test Method               drocarbons by Syringe/Inlet Oxidative Com-
                                                                       for Residues in Liquefied Petroleum (LP)                  bustion and Chemiluminescence Detection,
                                                                       Gases, approved January 1, 2011 (‘‘ASTM                   approved April 15, 2012 (‘‘ASTM D4629’’), IBR
                                                                       D2158’’), IBR approved for § 1065.720(a).                 approved for § 1065.655(e).
                                                                          (17) ASTM D2163–07, Standard Test Method                  (30) ASTM D4814–13b, Standard Specifica-
                                                                       for Determination of Hydrocarbons in Lique-               tion for Automotive Spark-Ignition Engine
                                                                       fied Petroleum (LP) Gases and Propane/                    Fuel, approved December 1, 2013 (‘‘ASTM
                                                                       Propene Mixtures by Gas Chromatography,                   D4814’’), IBR approved for § 1065.701(f).
                                                                       approved December 1, 2007 (‘‘ASTM D2163’’),                  (31) ASTM D4815–13, Standard Test Method
                                                                       IBR approved for § 1065.720(a).                           for Determination of MTBE, ETBE, TAME,
                                                                          (18) ASTM D2598–12, Standard Practice for              DIPE, tertiary-Amyl Alcohol and C1 to C4 Al-
                                                                       Calculation of Certain Physical Properties of             cohols in Gasoline by Gas Chromatography,
                                                                       Liquefied Petroleum (LP) Gases from                       approved October 1, 2013 (‘‘ASTM D4815’’),
                                                                       Compositional Analysis, approved November                 IBR approved for § 1065.710(b).
                                                                       1, 2012 (‘‘ASTM D2598’’), IBR approved for                   (32) ASTM D5186–03 (Reapproved 2009),
                                                                       § 1065.720(a).                                            Standard Test Method for Determination of
                                                                          (19) ASTM D2622–16, Standard Test Method               the Aromatic Content and Polynuclear Aro-
                                                                       for Sulfur in Petroleum Products by Wave-                 matic Content of Diesel Fuels and Aviation
                                                                       length Dispersive X-ray Fluorescence Spec-                Turbine Fuels By Supercritical Fluid Chro-
                                                                       trometry, approved January 1, 2016 (‘‘ASTM                matography, approved April 15, 2009 (‘‘ASTM
                                                                       D2622’’), IBR approved for §§ 1065.703(b) and             D5186’’), IBR approved for § 1065.703(b).
                                                                       1065.710(b) and (c).                                         (33) ASTM D5191–13, Standard Test Method
                                                                          (20) ASTM D2699–13b, Standard Test Meth-               for Vapor Pressure of Petroleum Products
                                                                       od for Research Octane Number of Spark-Ig-                (Mini Method), approved December 1, 2013
                                                                       nition Engine Fuel, approved October 1, 2013              (‘‘ASTM        D5191’’),  IBR   approved     for
                                                                       (‘‘ASTM       D2699’’),   IBR   approved   for            § 1065.710(b) and (c).
                                                                       § 1065.710(b).                                               (34) ASTM D5291–10, Standard Test Meth-
                                                                          (21) ASTM D2700–13b, Standard Test Meth-               ods for Instrumental Determination of Car-
                                                                       od for Motor Octane Number of Spark-Igni-                 bon, Hydrogen, and Nitrogen in Petroleum
                                                                       tion Engine Fuel, approved October 1, 2013                Products and Lubricants, approved May 1,
                                                                       (‘‘ASTM       D2700’’),   IBR   approved   for            2010 (‘‘ASTM D5291’’), IBR approved for
                                                                       § 1065.710(b).                                            § 1065.655(e).
                                                                          (22) ASTM D2713–13, Standard Test Method                  (35) ASTM D5453–19a, Standard Test Meth-
                                                                       for Dryness of Propane (Valve Freeze Meth-                od for Determination of Total Sulfur in
                                                                       od), approved October 1, 2013 (‘‘ASTM                     Light Hydrocarbons, Spark Ignition Engine
                                                                       D2713’’), IBR approved for § 1065.720(a).                 Fuel, Diesel Engine Fuel, and Engine Oil by
                                                                          (23) ASTM D2784–11, Standard Test Method               Ultraviolet Fluorescence, approved July 1,
                                                                       for Sulfur in Liquefied Petroleum Gases                   2019 (‘‘ASTM D5453’’), IBR approved for
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                                                                       (Oxy-Hydrogen Burner or Lamp), approved                   §§ 1065.703(b) and 1065.710(b).
                                                                       January 1, 2011 (‘‘ASTM D2784’’), IBR ap-                    (36) ASTM D5599–00 (Reapproved 2010),
                                                                       proved for § 1065.720(a).                                 Standard Test Method for Determination of

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                                       VerDate Sep<11>2014   10:44 Mar 24, 2022   Jkt 253188   PO 00000   Frm 00295   Fmt 8010   Sfmt 8010   Y:\SGML\253188.XXX   253188




                                                                                                     ADD-47
USCA Case #22-7063                                                          Document #1989387                               Filed: 03/09/2023                 Page 131 of 137




                                                                       § 1065.1010                                                             40 CFR Ch. I (7–1–21 Edition)
                                                                       Oxygenates in Gasoline by Gas Chroma-                     available from the California Air Re-
                                                                       tography and Oxygen Selective Flame Ion-                  sources Board, Haagen-Smit Labora-
                                                                       ization Detection, approved October 1, 2010               tory, 9528 Telstar Ave., El Monte, CA
                                                                       (‘‘ASTM        D5599’’),  IBR    approved    for
                                                                       §§ 1065.655(e) and 1065.710(b).
                                                                                                                                 91731–2908, (800) 242–4450, or http://
                                                                          (37) ASTM D5762–12 Standard Test Method                www.arb.ca.gov:
                                                                       for Nitrogen in Petroleum and Petroleum                      (1) California Non-Methane Organic
                                                                       Products by Boat-Inlet Chemiluminescence,                 Gas Test Procedures, Amended July 30,
                                                                       approved April 15, 2012 (‘‘ASTM D5762’’), IBR             2002, Mobile Source Division, California
                                                                       approved for § 1065.655(e).                               Air Resources Board, IBR approved for
                                                                          (38) ASTM D5769–10, Standard Test Method               § 1065.805(f).
                                                                       for Determination of Benzene, Toluene, and
                                                                       Total Aromatics in Finished Gasolines by
                                                                                                                                    (2) [Reserved]
                                                                       Gas Chromatography/Mass Spectrometry,                        (d) Institute of Petroleum material. The
                                                                       approved May 1, 2010 (‘‘ASTM D5769’’), IBR                following documents are available from
                                                                       approved for § 1065.710(b).                               the Energy Institute, 61 New Cavendish
                                                                          (39) ASTM D5797–13, Standard Specification             St., London, W1G 7AR, UK, or by call-
                                                                       for Fuel Methanol (M70- M85) for Automotive               ing + 44–(0)20–7467–7100, or at http://
                                                                       Spark-Ignition Engines, approved June 15,                 www.energyinst.org:
                                                                       2013 (‘‘ASTM D5797’’), IBR approved for
                                                                                                                                    (1) IP–470, 2005, Determination of alu-
                                                                       § 1065.701(f).
                                                                          (40) ASTM D5798–13a, Standard Specifica-               minum, silicon, vanadium, nickel, iron,
                                                                       tion for Ethanol Fuel Blends for Flexible                 calcium, zinc, and sodium in residual
                                                                       Fuel Automotive Spark-Ignition Engines,                   fuels by atomic absorption spectrom-
                                                                       approved June 15, 2013 (‘‘ASTM D5798’’), IBR              etry, IBR approved for § 1065.705(b).
                                                                       approved for § 1065.701(f).                                  (2) IP–500, 2003, Determination of the
                                                                          (41) ASTM D6348–12 ε1, Standard Test Meth-             phosphorus content of residual fuels by
                                                                       od for Determination of Gaseous Compounds
                                                                                                                                 ultra-violet spectrometry, IBR ap-
                                                                       by Extractive Direct Interface Fourier
                                                                       Transform Infrared (FTIR) Spectroscopy, ap-               proved for § 1065.705(b).
                                                                       proved February 1, 2012 (‘‘ASTM D6348’’), IBR                (3) IP–501, 2005, Determination of alu-
                                                                       approved for §§ 1065.266(b) and 1065.275(b).              minum, silicon, vanadium, nickel, iron,
                                                                          (42) ASTM D6550–10, Standard Test Method               sodium, calcium, zinc and phosphorus
                                                                       for Determination of Olefin Content of Gaso-              in residual fuel oil by ashing, fusion
                                                                       lines     by     Supercritical-Fluid    Chroma-           and inductively coupled plasma emis-
                                                                       tography, approved October 1, 2010 (‘‘ASTM                sion spectrometry, IBR approved for
                                                                       D6550’’), IBR approved for § 1065.710(b).
                                                                          (43) ASTM D6615–11a, Standard Specifica-               § 1065.705(b).
                                                                       tion for Jet B Wide-Cut Aviation Turbine                     (e) ISO material. The following stand-
                                                                       Fuel, approved October 1, 2011 (‘‘ASTM                    ards are available from the Inter-
                                                                       D6615’’), IBR approved for § 1065.701(f).                 national Organization for Standardiza-
                                                                          (44) ASTM D6751–12, Standard Specification             tion, 1, ch. de la Voie-Creuse, CP 56,
                                                                       for Biodiesel Fuel Blend Stock (B100) for                 CH–1211 Geneva 20, Switzerland, 41–22–
                                                                       Middle Distillate Fuels, approved August 1,               749–01–11, or http://www.iso.org:
                                                                       2012 (‘‘ASTM D6751’’), IBR approved for
                                                                       § 1065.701(f).                                               (1) ISO 2719:2002, Determination of flash
                                                                          (45) ASTM D6985–04a, Standard Specifica-               point—Pensky-Martens closed cup method
                                                                       tion for Middle Distillate Fuel Oil—Military              (‘‘ISO 2719’’), IBR approved for § 1065.705(c).
                                                                       Marine Applications, approved November 1,                    (2) ISO 3016:1994, Petroleum products—De-
                                                                       2004 (‘‘ASTM D6985’’), IBR approved for                   termination of pour point (‘‘ISO 3016’’), IBR
                                                                       § 1065.701(f). (NOTE: This standard was with-             approved for § 1065.705(c).
                                                                       drawn by ASTM.)                                              (3) ISO 3104:1994/Cor 1:1997, Petroleum prod-
                                                                          (46) ASTM D7039–15a (Reapproved 2020),                 ucts—Transparent and opaque liquids—De-
                                                                       Standard Test Method for Sulfur in Gasoline,              termination of kinematic viscosity and cal-
                                                                       Diesel Fuel, Jet Fuel, Kerosine, Biodiesel,               culation of dynamic viscosity (‘‘ISO 3104’’),
                                                                       Biodiesel Blends, and Gasoline-Ethanol                    IBR approved for § 1065.705(c).
                                                                       Blends by Monochromatic Wavelength Dis-                      (4) ISO 3675:1998, Crude petroleum and liq-
                                                                       persive X-ray Fluorescence Spectrometry,                  uid petroleum products—Laboratory deter-
                                                                       approved May 1, 2020 (‘‘ASTM D7039’’), IBR                mination of density—Hydrometer method
                                                                       approved for §§ 1065.703(b) and 1065.710(b).              (‘‘ISO 3675’’), IBR approved for § 1065.705(c).
                                                                          (47) ASTM F1471–09, Standard Test Method                  (5) ISO 3733:1999, Petroleum products and
                                                                       for Air Cleaning Performance of a High- Effi-             bituminous       materials—Determination        of
                                                                       ciency Particulate Air Filter System, ap-                 water—Distillation method (‘‘ISO 3733’’), IBR
                                                                       proved March 1, 2009 (‘‘ASTM F1471’’), IBR                approved for § 1065.705(c).
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                                                                       approved for § 1065.1001.                                    (6) ISO 6245:2001, Petroleum products—De-
                                                                         (c) California Air Resources Board ma-                  termination of ash (‘‘ISO 6245’’), IBR ap-
                                                                       terial. The following documents are                       proved for § 1065.705(c).

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                                       VerDate Sep<11>2014   10:44 Mar 24, 2022   Jkt 253188   PO 00000   Frm 00296   Fmt 8010   Sfmt 8010   Y:\SGML\253188.XXX   253188




                                                                                                      ADD-48
USCA Case #22-7063                                                         Document #1989387                                Filed: 03/09/2023                 Page 132 of 137




                                                                       Environmental Protection Agency                                                              § 1065.1103
                                                                          (7) ISO 8217:2012(E), Petroleum products—                 (1) SAE 770141, 1977, Optimization of
                                                                       Fuels (class F)—Specifications of marine                  Flame Ionization Detector for Deter-
                                                                       fuels, Fifth edition, August 15, 2012 (‘‘ISO              mination of Hydrocarbon in Diluted
                                                                       8217’’), IBR approved for § 1065.705(b) and (c).
                                                                          (8) ISO 8754:2003, Petroleum products—De-
                                                                                                                                 Automotive       Exhausts,      Glenn D.
                                                                       termination of sulfur content—Energy-dis-                 Reschke, IBR approved for § 1065.360(c).
                                                                       persive X-ray Fluorescence spectrometry                      (2) SAE J1151, Methane Measurement
                                                                       (‘‘ISO 8754’’), IBR approved for § 1065.705(c).           Using Gas Chromatography, stabilized
                                                                          (9) ISO 10307–2(E):2009, Petroleum prod-               September 2011, IBR approved for
                                                                       ucts—Total sediment in residual fuel oils—                §§ 1065.267(b) and 1065.750(a).
                                                                       Part 2: Determination using standard proce-
                                                                       dures for ageing, Second Ed., February 1,                 [79 FR 23818, Apr. 28, 2014, as amended at 81
                                                                       2009 (‘‘ISO 10307’’), as modified by ISO 10307–           FR 74193, Oct. 25, 2016; 85 FR 78468, Dec. 4,
                                                                       2:2009/Cor.1:2010(E), Technical Corrigendum 1,            2020]
                                                                       published May 15, 2010, IBR approved for                    EFFECTIVE DATE NOTE: At 86 FR 34579, June
                                                                       § 1065.705(c).                                            29, 2021, § 1065.1010 was amended, effective
                                                                          (10) ISO 10370:1993/Cor 1:1996, Petroleum              July 29, 2021.
                                                                       products—Determination of carbon residue—
                                                                       Micro method (‘‘ISO 10370’’), IBR approved
                                                                       for § 1065.705(c).                                        Subpart L—Methods for Unregu-
                                                                          (11) ISO 10478:1994, Petroleum products—                  lated and Special Pollutants
                                                                       Determination of aluminium and silicon in
                                                                       fuel oils—Inductively coupled plasma emis-
                                                                       sion and atomic absorption spectroscopy                     SOURCE: 79 FR 23820, Apr. 28, 2014, unless
                                                                       methods (‘‘ISO 10478’’), IBR approved for                 otherwise noted.
                                                                       § 1065.705(c).
                                                                          (12) ISO 12185:1996/Cor 1:2001, Crude petro-           § 1065.1101     Applicability.
                                                                       leum and petroleum products—Determina-                      This subpart specifies procedures
                                                                       tion of density—Oscillating U-tube method
                                                                       (‘‘ISO 12185’’), IBR approved for § 1065.705(c).
                                                                                                                                 that may be used to measure emission
                                                                          (13) ISO 14596:2007, Petroleum products—               constituents that are not measured (or
                                                                       Determination of sulfur content—Wave-                     not separately measured) by the test
                                                                       length-dispersive X-ray fluorescence spec-                procedures in the other subparts of this
                                                                       trometry (‘‘ISO 14596’’), IBR approved for                part. These procedures are included to
                                                                       § 1065.705(c).                                            facilitate consistent measurement of
                                                                          (14) ISO 14597:1997, Petroleum products—               unregulated pollutants for purposes
                                                                       Determination of vanadium and nickel con-                 other than compliance with emission
                                                                       tent—Wavelength dispersive X-ray fluores-
                                                                       cence spectrometry (‘‘ISO 14597’’), IBR ap-
                                                                                                                                 standards. Unless otherwise specified
                                                                       proved for § 1065.705(c).                                 in the standard-setting part, use of
                                                                          (15) ISO 14644–1:1999, Cleanrooms and asso-            these procedures is optional and does
                                                                       ciated     controlled     environments     (‘‘ISO         not replace any requirements in the
                                                                       14644’’), IBR approved for § 1065.190(b).                 rest of this part.
                                                                         (f) NIST material. The following docu-
                                                                       ments are available from National In-                       SEMI-VOLATILE ORGANIC COMPOUNDS
                                                                       stitute of Standards and Technology,
                                                                       100 Bureau Drive, Stop 1070, Gaithers-                    § 1065.1103 General provisions             for
                                                                       burg, MD 20899–1070, (301) 975–6478, or                       SVOC measurement.
                                                                       www.nist.gov:                                               The provisions of §§ 1065.1103 through
                                                                         (1) NIST Special Publication 811, 2008                  1065.1111 specify procedures for meas-
                                                                       Edition, Guide for the Use of the Inter-                  uring semi-volatile organic compounds
                                                                       national System of Units (SI), March                      (SVOC) along with PM. These sections
                                                                       2008, IBR approved for §§ 1065.20(a) and                  specify how to collect a sample of the
                                                                       1065.1005.                                                SVOCs during exhaust emission test-
                                                                         (2) NIST Technical Note 1297, 1994                      ing, as well as how to use wet chem-
                                                                       Edition, Guidelines for Evaluating and                    istry techniques to extract SVOCs from
                                                                       Expressing the Uncertainty of NIST                        the sample media for analysis. Note
                                                                       Measurement Results, IBR approved                         that the precise method you use will
                                                                       for § 1065.1001.                                          depend on the category of SVOCs being
                                                                         (g) SAE International material. The                     measured. For example, the method
                                                                       following standards are available from                    used to measure polynuclear aromatic
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                                                                       SAE International, 400 Commonwealth                       hydrocarbons (PAHs) will differ slight-
                                                                       Dr., Warrendale, PA 15096–0001, (724)                     ly from the method used to measure
                                                                       776–4841, or http://www.sae.org:                          dioxins. Follow standard analytic

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                                       VerDate Sep<11>2014   10:44 Mar 24, 2022   Jkt 253188   PO 00000   Frm 00297   Fmt 8010   Sfmt 8010   Y:\SGML\253188.XXX   253188




                                                                                                      ADD-49
USCA Case #22-7063                                                       Document #1989387                                   Filed: 03/09/2023                       Page 133 of 137




                                                                       § 39.1005                                                             46 CFR Ch. I (10–1–21 Edition)

                                                                       mail to Commanding Officer (MSC),                         lected to or from a vessel. It includes
                                                                       Attn: Marine Safety Center, U.S. Coast                    the vapor collection system and vapor
                                                                       Guard Stop 7430, 2703 Martin Luther                       processing unit or a tank.
                                                                       King Jr. Avenue SE., Washington, DC                         Vapor processing unit means the com-
                                                                       20593–7430.                                               ponents of a VCS that recover, destroy,
                                                                         Maximum allowable gas-freeing rate                      or disperse vapor collected from a ves-
                                                                       means the maximum volumetric rate                         sel.
                                                                       at which a barge may be gas-freed dur-                      Vessel-to-vessel transfer (direct or
                                                                       ing cleaning operations.                                  through a shore loop) means either—
                                                                         Maximum allowable stripping rate
                                                                                                                                   (1) The transfer of a bulk liquid cargo
                                                                       means the maximum volumetric rate
                                                                                                                                 from a tank vessel to a service vessel;
                                                                       at which a barge may be stripped dur-
                                                                                                                                 or
                                                                       ing cleaning operations prior to the
                                                                       opening of any hatch and/or fitting on                      (2) The transfer of a bulk liquid cargo
                                                                       the cargo tank being stripped.                            from a service vessel to another vessel
                                                                         Maximum      allowable  transfer   rate                 in order to load the receiving vessel to
                                                                       means the maximum volumetric rate                         a deeper draft.
                                                                       at which a vessel may receive cargo or                      Vessel vapor connection means the
                                                                       ballast.                                                  point in a vessel’s fixed vapor collec-
                                                                         Minimum oxygen concentration for com-                   tion system where the system connects
                                                                       bustion (MOCC) means the lowest level                     with the vapor collection hose or arm.
                                                                       of oxygen in a vapor or vapor mixture                     [USCG–1999–5150, 78 FR 42642, July 16, 2013, as
                                                                       that will support combustion.                             amended by USCG–2013–0671, 78 FR 60147,
                                                                         New vapor collection system means a                     Sept. 30, 2013; USCG–2016–0498, 82 FR 35089,
                                                                       vapor collection system that is not an                    July 28, 2017]
                                                                       existing vapor collection system.
                                                                         Service vessel means a vessel that                      § 39.1005 Incorporation by reference—
                                                                       transports bulk liquid cargo between a                         TB/ALL.
                                                                       facility and another vessel.                                (a) Certain material is incorporated
                                                                         Set pressure means the pressure at                      by reference (IBR) into this part with
                                                                       which the pressure or vacuum valve be-                    the approval of the Director of the Fed-
                                                                       gins to open and the flow starts                          eral Register under 5 U.S.C. 552(a) and
                                                                       through the valve.                                        1 CFR part 51. To enforce any edition
                                                                         Stripping means the removal, to the                     other than that specified in this sec-
                                                                       maximum extent practicable, of cargo                      tion, the Coast Guard must publish no-
                                                                       residue remaining in the barge’s cargo
                                                                                                                                 tice of change in the FEDERAL REG-
                                                                       tanks and associated fixed piping sys-
                                                                                                                                 ISTER and the material must be avail-
                                                                       tem after cargo transfer or during
                                                                                                                                 able to the public. All approved mate-
                                                                       cleaning operations.
                                                                                                                                 rial is available for inspection at the
                                                                         Vacuum displacement system means a
                                                                                                                                 Coast    Guard      Headquarters,    Com-
                                                                       system that removes vapors from a
                                                                       barge’s cargo tanks during gas-freeing                    mandant (CG–ENG), Attn: Office of De-
                                                                       by sweeping air through the cargo tank                    sign and Engineering Standards, U.S.
                                                                       hatch openings.                                           Coast Guard Stop 7509, 2703 Martin Lu-
                                                                         Vapor balancing means the transfer of                   ther King Jr. Avenue SE, Washington,
                                                                       vapor displaced by incoming cargo                         DC 20593–7509, telephone 202–372–1418
                                                                       from the tank of a vessel or facility re-                 and at the National Archives and
                                                                       ceiving cargo into a tank of the vessel                   Records Administration (NARA). For
                                                                       or facility delivering cargo via a vapor                  information on the availability of this
                                                                       collection system.                                        material at NARA, call 202–741–6030 or
                                                                         Vapor collection system means an ar-                    go     to      http://www.archives.gov/fed-
                                                                       rangement of piping and hoses used to                     erallregister/
                                                                       collect vapor emitted to or from a ves-                   codeloflfederallregulations/
                                                                       sel’s cargo tanks and to transport the                    ibrllocations.html. Also, it is available
                                                                       vapor to a vapor processing unit or a                     from the sources indicated in this sec-
                                                                       tank.                                                     tion.
                                                                         Vapor control system (VCS) means an                       (b) American National Standards In-
   kpayne on VMOFRWIN702 with $$_JOB




                                                                       arrangement of piping and equipment                       stitute (ANSI), 25 West 43rd Street, 4th
                                                                       used to control vapor emissions col-                      floor, New York, NY 10036.

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                                       VerDate Sep<11>2014   12:14 Nov 15, 2021   Jkt 253206   PO 00000   Frm 00542   Fmt 8010   Sfmt 8010   Q:\46\46V1.TXT   PC31

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USCA Case #22-7063                                                       Document #1989387                               Filed: 03/09/2023                   Page 134 of 137




                                                                     Coast Guard, DHS                                                                              § 39.1009

                                                                        (1) ANSI B16.5, Steel Pipe Flanges                     (‘‘NEMA WD–6’’), IBR approved for
                                                                     and Flanged Fittings, 1981, IBR ap-                       § 39.2009(a)
                                                                     proved for §§ 39.2001(i) and 39.6001(k).                     (2) [Reserved]
                                                                        (2) [Reserved]                                            (h) National Fire Protection Associa-
                                                                        (c) American Petroleum Institute                       tion (NFPA), 1 Batterymarch Park,
                                                                     (API), 1220 L Street NW., Washington,                     Quincy, MA 02169–7471.
                                                                     DC 20005.                                                    (1) NFPA 70—National Electrical
                                                                        (1) API Standard 2000, Venting At-                     Code, 2011, IBR approved for § 39.2009(a).
                                                                     mospheric and Low-Pressure Storage
                                                                                                                                  (2) [Reserved]
                                                                     Tanks (Non-refrigerated and Refrig-
                                                                     erated), Third Edition, January 1982                         (i) Oil Companies International Ma-
                                                                     (reaffirmed      December        1987)(‘‘API              rine Forum (OCIMF), 29 Queen Anne’s
                                                                     2000’’), IBR approved for § 39.2011(b).                   Gate, London SWIH 9BU, England.
                                                                        (2) [Reserved]                                            (1) International Safety Guide for Oil
                                                                        (d) ASTM International (ASTM), 100                     Tankers and Terminals, Fifth Edition,
                                                                     Barr        Harbor        Drive,        West              2006 (‘‘ISGOTT’’), IBR approved for
                                                                     Conshohocken, PA 19428–2959.                              §§ 39.3001(g), 39.5001(c), 39.6001(g), and
                                                                        (1) ASTM F1122–87 (Reapproved1992)—                    39.6005(a).
                                                                     Standard Specification for Quick Dis-                        (2) [Reserved]
                                                                     connect Couplings (‘‘ASTM F1122’’),
                                                                                                                               [USCG–1999–5150, 78 FR 42642, July 16, 2013, as
                                                                     IBR approved for § 39.2001(k).
                                                                                                                               amended by USCG–2020–0304, 85 FR 58282,
                                                                        (2) ASTM F1271—Standard Specifica-
                                                                                                                               Sept. 18, 2020]
                                                                     tion for Spill Valves for Use in Marine
                                                                     Tank Liquid Overpressure Protection                       § 39.1009 Additional tank vessel vapor
                                                                     Applications (‘‘ASTM F1271’’), Decem-                          processing unit requirements—TB/
                                                                     ber 29, 1989, IBR approved for                                 ALL.
                                                                     § 39.2009(a).
                                                                        (e) International Electrotechnical                       (a) Vapor piping, fitting, valves,
                                                                     Commission (IEC), Bureau Central de                       flanges, and pressure vessels com-
                                                                     la Commission Electrotechnique Inter-                     prising the construction and installa-
                                                                     nationale, 3, rue de Varembé, P.O. Box                   tion of a permanent or portable vapor
                                                                     131, CH—1211 Geneva 20, Switzerland.                      processing unit onboard a tank vessel
                                                                        (1) IEC 60309–1 Plugs, Socket-Outlets                  must meet the marine engineering re-
                                                                     and Couplers for Industrial Purposes—                     quirements of 46 CFR chapter I, sub-
                                                                     Part 1: General Requirements, Edition                     chapter F.
                                                                     4.2 2012–06, IBR approved for § 39.2009(a).                 (b) Electrical equipment comprising
                                                                        (2) IEC 60309–2 Plugs, Socket-Outlets                  the construction and installation of a
                                                                     and Couplers for Industrial Purposes—                     permanent or portable vapor proc-
                                                                     Part 2: Dimensional Interchangeability                    essing unit onboard a tank vessel must
                                                                     Requirements for Pin and Contact-tube                     meet the electrical engineering re-
                                                                     Accessories, Edition 4.2 2012–05, IBR ap-                 quirements of 46 CFR chapter I, sub-
                                                                     proved for § 39.2009(a).                                  chapter J.
                                                                        (f) International Maritime Organiza-                     (c) In addition to complying with the
                                                                     tion (IMO), 4 Albert Embankment,                          rules of this part, tank vessels with a
                                                                     London SE1 7SR, United Kingdom.
                                                                                                                               permanent or portable vapor proc-
                                                                        (1) International Convention for the
                                                                                                                               essing unit must comply with applica-
                                                                     Safety of Life at Sea, Consolidated
                                                                     Text of the 1974 SOLAS Convention,                        ble requirements of 33 CFR part 154,
                                                                     the 1978 SOLAS Protocol, the 1981 and                     subpart P.
                                                                     1983     SOLAS      Amendments         (1986)               (d) When differences between the re-
                                                                     (‘‘SOLAS’’),      IBR      approved       for             quirements for vessels contained in 46
                                                                     § 39.2001(e).                                             CFR chapter I, subchapters F and J and
                                                                        (2) [Reserved]                                         requirements for facilities contained in
                                                                        (g) National Electrical Manufactur-                    33 CFR part 154, subpart P need to be
                                                                     ers Association (NEMA), 1300 North                        resolved, the requirements of 46 CFR
                                                                     17th Street, Suite 1752, Rosslyn, VA                      chapter I, subchapters F and J apply,
                                                                     22209.                                                    unless specifically authorized by the
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                                                                        (1) ANSI NEMA WD–6—Wiring De-                          Marine Safety Center.
                                                                     vices, Dimensional Requirements, 1988

                                                                                                                          533



                                     VerDate Sep<11>2014   12:14 Nov 15, 2021   Jkt 253206   PO 00000   Frm 00543   Fmt 8010   Sfmt 8010   Q:\46\46V1.TXT   PC31




                                                                                                    ADD-51
USCA Case #22-7063                                                        Document #1989387                                    Filed: 03/09/2023                      Page 135 of 137




                                                                        Coast Guard, DHS                                                                                 § 39.2011

                                                                          (f) If a rupture disk is installed on a                   (viii) Has interconnecting cabling
                                                                        cargo tank fitted with a vapor collec-                    that meets 46 CFR 111.105–11(b) and (d),
                                                                        tion system, it must meet the require-                    and 46 CFR 111.105–17(a); and
                                                                        ments of 46 CFR 39.2009(a)(4).                              (ix) Has a male plug with a five-wire,
                                                                                                                                  16–A connector body meeting IEC
                                                                        [USCG-1999-5150, 78 FR 42642, July 16, 2013, as
                                                                        amended by USCG–2016–0498, 82 FR 35089,                   60309–1 and IEC 60309–2 (both incor-
                                                                        July 28, 2017]                                            porated by reference, see 46 CFR
                                                                                                                                  39.1005), that is—
                                                                        § 39.2009 Tank barge               liquid   overfill        (A) Configured with pins S2 and R1
                                                                             protection—B/ALL.                                    for the tank overfill sensor circuit, pin
                                                                          (a) Each cargo tank of a tank barge                     G connected to the cabling shield, and
                                                                        must have one of the following liquid                     pins N and T3 reserved for an optional
                                                                        overfill protection arrangements:                         high-level alarm circuit meeting the
                                                                                                                                  requirements of this paragraph; and
                                                                          (1) A system meeting the require-
                                                                        ments of 46 CFR 39.2007 that—                               (B) Labeled ‘‘Connector for Barge
                                                                                                                                  Overflow Control System’’ and labeled
                                                                          (i) Includes a self-contained power
                                                                                                                                  with the total inductance and capaci-
                                                                        supply;
                                                                                                                                  tance of the connected switches and ca-
                                                                          (ii) Is powered by generators on the                    bling;
                                                                        barge; or
                                                                                                                                    (3) A spill valve that meets ASTM
                                                                          (iii) Receives power from a facility                    F1271 requirements (incorporated by
                                                                        and is fitted with a shore tie cable and                  reference, see 46 CFR 39.1005), and—
                                                                        a 120-volt, 20-ampere explosion-proof
                                                                                                                                    (i) Relieves at a predetermined pres-
                                                                        plug that meets—                                          sure higher than the pressure at which
                                                                          (A) ANSI NEMA WD–6 (incorporated                        the pressure relief valves meeting the
                                                                        by reference, see 46 CFR 39.1005);                        requirements of 46 CFR 39.2011 operate;
                                                                          (B) NFPA 70, Articles 406.9 and 501–                      (ii) Limits the maximum pressure at
                                                                        145 (incorporated by reference, see 46                    the top of the cargo tank during liquid
                                                                        CFR 39.1005); and                                         overfill to not more than the maximum
                                                                          (C) 46 CFR 111.105–9;                                   design working pressure for the tank
                                                                          (2) An intrinsically safe overfill con-                 when at the maximum loading rate for
                                                                        trol system that—                                         the tank; and
                                                                          (i) Is independent of the cargo-gaug-                     (iii) Has a means to prevent opening
                                                                        ing device required by 46 CFR                             due to cargo sloshing while the vessel
                                                                        39.2003(a);                                               is in ocean or coastwise service; or
                                                                          (ii) Activates an alarm and auto-                         (4) A rupture disk arrangement that
                                                                        matic shutdown system at the facility                     meets paragraphs (a)(3)(i), (ii), and (iii)
                                                                        overfill control panel 60 seconds before                  of this section and is approved by the
                                                                        the tank is 100 percent liquid-full dur-                  Commandant.
                                                                        ing a facility-to-vessel cargo transfer;                    (b) A tank barge authorized to carry
                                                                          (iii) Activates an alarm and auto-                      a cargo having toxic properties, mean-
                                                                        matic shutdown system on the vessel                       ing they are listed in 46 CFR Table
                                                                        discharging cargo 60 seconds before the                   151.05 with the ‘‘Special requirements’’
                                                                        tank is 100 percent liquid-full during a                  column referring to 46 CFR 151.50–5,
                                                                        vessel-to-vessel cargo transfer;                          must comply with the requirements of
                                                                          (iv) Can be inspected at the tank for                   46 CFR 39.2001(m).
                                                                        proper operation prior to each loading;
                                                                          (v) Consists of components that, indi-                  § 39.2011 Vapor overpressure and vac-
                                                                        vidually or in series, will not generate                       uum protection—TB/ALL.
                                                                        or store a total of more than 1.2 volts                     (a) The cargo tank venting system
                                                                        (V), 0.1 amperes (A), 25 megawatts                        required by 46 CFR 32.55 must—
                                                                        (MW), or 20 microJoules (μJ);                               (1) Be capable of discharging cargo
                                                                          (vi) Has at least one tank overfill                     vapor at the maximum transfer rate
                                                                        sensor switch per cargo tank that is de-                  plus the vapor growth for the cargo
                                                                        signed to activate an alarm when its                      such that the pressure in the vapor
                                                                        normally closed contacts are open;                        space of each tank connected to the
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                                                                          (vii) Has all tank overfill sensor                      vapor control system (VCS) does not
                                                                        switches connected in series;                             exceed—

                                                                                                                             537



                                        VerDate Sep<11>2014   12:14 Nov 15, 2021   Jkt 253206   PO 00000   Frm 00547   Fmt 8010   Sfmt 8010   Q:\46\46V1.TXT   PC31

                                                                                                      ADD-52
A Case #22-7063            Document #1989387                                        Filed: 03/09/2023                                  Page 136 o


           § 56.60-2                                                                46 CFR Ch. I (10-1-97 Edition)
           [CGFR 68-82, 33 FR 18843, Dec. 18, 1968, as                 TABLE 56.60-2(a)-ADOPTED SPECIFICATIONS
           amended by CGFR 69-127, 35 FR 9978, June 17,                 NOT.LISTED IN THE ASME CODE-Continued
           1970; CGFR 72-59R, 37 FR 6190, Mar. 25, 1972;                ASTM specificatios          Source of allowable        Notes
           CGD 72-206R, 38 FR 17229, June 29, 1973; CGD
           73-248, 39 FR 30839, Aug. 26, 1974; CGD 73-254,                                                 stress
           40 FR 40165, Sept. 2, 1975; CGD 77-140, 54 FR                                 NONFERROUS MATERIALS
           40611, Oct. 2, 1989; 55 FR 39968, 39969, Oct. 1,
           1990; CGD 95-027, 61 FR 26001, May 23, 1996]              Bar stock:
                                                                       816 (soft and half hard See footnote 5 .          (.7).
           § 56.60-2     Limitations on materials.                       tempers)-
                                                                       B21 (alloys A, B. and     See footnote 8.         ().
              Welded pipe and tubing. The following                      C).
           restrictions apply to the use of welded                     8124:
           pipe and tubing specifications when                           Alloy 377 ..................
                                                                                                 See footnotes 5 and (5,    9).
                                                                                                   9.
           utilized in piping systems, and not                           Alloy 464 ..................
                                                                                                 See footnote 8 .     .        10).
           when utilized in heat exchanger, boiler,                      Alloy 655 ..................
                                                                                                 See footnote I    .1 (11).
           pressure vessel, or similar components:                       Alloy 642 ..................
                                                                                                 See footnote 12 .       (7. 12).

              (a) Longitudinal joint. Wherever pos-                      Alloy 630 ..................
                                                                                                 See footnote 13 .      (7.13).
                                                                         Alloy 485 ..................
                                                                                                 See footnote 8.        (.10).
           sible, the longitudinal joint of a welded                 Forgings:
           pipe shall not be pierced with holes for                    B283 (forging brass) .... See footnotes 5 and (5. 0).
           branch connections or other purposes.                                                   9.
              (b) Class II. Use unlimited except as                  Castings:
                                                                       B26 .............................
                                                                                                 See footnotes 5. 14. (5. 14.
           restricted by maximum temperature or                                                      and 15.                   11).
           pressure specified in Table 56.60-1(a) or                    B85 .............................
                                                                                          See footnotes 5. 14. (s.14.
           by the requirements contained in                                                 and 15.              15).
           § 56.10-5(b) of this chapter.                                 2'For limitations in use refer to §56.60-5.
                                                                            Allowable stresses shall be the same as those listed In
              (c) Class 1. (1) For those specifica-                   UCS23 of section VIII of the ASME Code for SA-675 material
           tions in which a filler metal is used,                     of equivalent tensile strength.
                                                                         3Physical testing shall be performed as for material manu-
           the following applies to the material as                   factured to ASME Specification SA-675, except that the bend
          furnished prior to any fabrication:                         test
                                                                         4 shall not be required.
                                                                            Alowable stresses shall be the same as those listed in
             (I) For use in service above 800 OF.                     UCS23 of section VIII of the ASME Code for the correspond-
          full welding procedure qualifications                       ingSA--182 material.
          by the Coast Guard are required. See                              Umited to air and hydraulic service with a maximum de-
                                                                      sign temperature of 150 *F. The material must not be used for
          part 57 of this subchapter.                                 salt water service or other fluids that may cause
                                                                      dezincification or stress corrosion cracking.
             (ii) Ultrasonic examination as re-                          e7 [Reserved]
          quired by item S-6 in ASTM A-376 shall                           An amonia vapor test, in accordance with ASTM B 858M-
          be certified as having been met In all                      95,shall be performed on a representative model of each fin-
                                                                          8 product design.
                                                                      ished
          applications except where 100 percent                            Alewable stresses shall be the same as those listed in
          radiography is a requirement of the                         UNF23 of section ViII of the ASME Code for SB-171. naval
                                                                      brass.
          particular material specification.                              OAn amonia vapor test. inaccordance with ASTM B 858-
             (2) For those specifications in which                    95. shall be performed on a representative model for each fin-
                                                                      ished product design. Tension testsshall be performed to de-
          no filler material is used in the welding                   termine tensile strength, yield strength, and elongation. Mini-
          process, the ultrasonic examination as                      mum values shag be those listed in table 3 of ASTM B283.
                                                                          1oPhysical testing, including mercurous nitrate test, shall be
          required by item S-6 in ASTM A-376                         performed as for material manufactured to ASTM B21.
          shall be certified as having been met                           IPhysical testing shall be performed as for material manu-
                                                                     factured to ASTM 096. Allowable stresses shall be the same
          for service above 800 OF.                                   as those listed In UNF23 of section VIII of the ASME Code for
                                                                      $8-96 and shall be limited to a maximum allowable tempera-
                                                                     ture of 212 *F.
            TABLE 56.60-2(a)-ADOPTED SPECIFICATIONS                       12physical testing shall be perforned as for material manu-
                   NOT LISTED IN THE ASME CODE                       factured to ASTM 8171, alloy D. Allowable Stresses shall be
                                                                     the same as those listed in UNF23 of section VIII of the
             ASTM speciftcation Soure of allowable Notes             ASME Code for $8-171, aluminum bronze D.
                                                                         13Physical testing shal be performed as for material manu-
                                            stress                   factured to ASTM B171. alloy E. Allowable stresses shall be
                                                  1                  the same as those listed inUNF23 of section VIII of the
                             FERROUS
                                  MATERIALS                          ASME 4    Code for $8-171. aluminum bronze, alloy E.
                                                                         1 Tenslon tests shag be performed to determine tensile
           Bar stock:                                                strength, yield strength. and elongation. Meinmum     values shall
            A276 (Grades            See footnote 4 ........   (4).   be those
                                                                          5      listed In table X-2 of ASTM 985.
                                                                           mThose alloys with a maximum copper content of 0.6 per-
               304-A.304L-A.                                         cent or less shal be acceptable under this Specification. Cast
               310-A, 316-A                                          aluminum shall not be welded or brazed.
               316L-A, 321-A,
               347-A. and 348-A).                                       Note: This Table 56.60-2(a) is a isting of adopted bar stock
            A575 and A576
                                                                     and nonferrous forging and casq specifations not listed In
                                                                     the ASME Code. Particular atention should be given to the
               (Grades 1010-1030)   See footnote 2..          ().    suppl!ment   tetsh requirements and service limitations
                                                                            cotie
                                                                              n    footnotes.




                                                               ADD-53
A Case #22-7063                  Document #1989387                                            Filed: 03/09/2023                          Page 137 o


        Coast Guard, DOT                                                                                              §56.60-10
         [CGFR 68-82, 33 FR 18843, Dec. 18, 1968, as                     §56.60-2 Umitations on materials.
         amended by CGFR 69-127, 35 FR 9978, June 17.                      (a) Stresses. The maximum stress in the
         1970; CGD 72-104R, 37 FR 14233, July 18, 1972;                  materials listed in Table 56.60-1(a) must be 80
         CGD 73-248, 39 FR 30839, Aug. 26, 1974; CGD                     percent of the value contained in the des-
        .73-254, 40 FR 40165, Sept. 2, 1975; CGD 77-140.                 ignated source of allowable stress values, un-
         54 FR 40612, Oct. 2, 1989; CGD 95-012, 60 FR                    less the dynamic effect Is accounted for in
         48050, Sept. 18, 1995; CGD 95-027, 61 FR 26001,                 the design in accordance with the require-
         May 23, 1996; CGD 95-028, 62 FR 51201, Sept.                    ment contained in §56.07-10(c) of this chap-
         30, 1997]                                                       ter. Further limitations on allowable stress
                                                                         values are contained in §56.07-10 (c) and (e).
           EFFECTIVE DATE NOTE: By CGD 95- 028, 62                       Italicized values of stress in referenced speci-
        FR 51201, Sept. 30, 1997, § 56.60-2 was amended                  fications shall not be used.
        by removing paragraph (a); by redesignating
        paragraph (b) as the introductory text to the
        section; by redesignating paragraphs (b)(1),                           (c)* * *
        (b)(2),    (b)(3),  (b)(3)(i),  (b)(3)(i)(A), and
        (b)(3)(i)(B) as paragraphs (a), (b), (c), (c)(1),                  (2) For those specifications in which no
        (c)(1)(1), and (c)(1)(ii), respectively; by redes-               filler metal is used in the welding process,
        ignating paragraph (b)(3)(ii) as paragraph                       the following applies:
        (c)(2) and revising the paragraph; and by re-                      (A) Ultrasonic examination as required by
        vising footnotes 7 and 9 in the table, effec-                    item S-6 in ASTM A-76 shall be certified as
        tive Oct. 30, 1997. For the convenience of the                   having been met for service above 800 *F.
        user, the superseded text Is set forth as fol-
        lows:
                TABLE 56.60-2(A)-ADOPTED SPECIFICATIONS NOT LISTED IN THE ASME CODE ,pO,6/7



        7A mercurous nitrate test In accordance with ASTM 8154, shal be performed on a representative model of each finished prod-
          uct design.
        9A mercurous nitrate test In accordance with ASTM B154, shall be peformed on a representative model for each finished
          product design. Tension tests shall be performed to determine tensile strength, yield strength, and elongation. Minimum val-
          ues shal be thse listed In table 3 of ASTM B283.



        § 56 60-3 Ferrous materials.                                     875 OF., the carbide phase of alloy
                                                                         steels, such as carbon-molybdenum,
           (a) Ferrous pipe used for salt water
                                                                         manganese-molybdenum-vanadium,
        service must be protected against cor-
                                                                         manganese-chromium-vanadium           and
        rosion by hotdip galvanizing or by the
                                                                         chromium-vanadium,        may be con-
        use of extra heavy schedule material.
                                                                         verted to graphite.
           (b) (Reproduces 123.2.3(c)). Carbon or
                                                                           (c) [Reserved]
        alloy steel having a carbon content of
        more than 0.35 percent may not be used                             (d) The design temperature of a pip-
                                                                         ing system employing one or more of
        in welded construction or be shaped by
                                                                         the materials listed in paragraphs (a),
        oxygen cutting process or other ther-
                                                                         (b), and (c) of this section shall not ex-
        mal cutting process.
                                                                         ceed the lowest graphitization tem-
        [CGD 73-254, 40 FR 40165, Sept. 2, 1975]                         perature specified for materials used.
        §5660-5 Steel (High temperature ap-                              [CGFR 68-82, 33 FR 18843, Dec. 18, 1968, as
           plications).                                                  amended by CGFR 69-127, 35 FR 9978, June 17,
                                                                         1970; CGD 72-104R, 37 FR 14233, July 18, 1972;
          (a) (Reproduces 123.2.3(a).) Upon pro-                         CGD 73-248, 39 FR 30839, Aug. 26, 1974; CGD
        longed exposure to temperatures above                            73-254, 40 FR 40165, Sept. 2, 1975]
        775 OF., the carbide phase of plain car-                         §56.60-10 Cast iron and malleable
        bon steel, plain nickel alloy steel, car-
        bon-manganese alloy steel, manganese-                                 iron.
        vanadium alloy steel, and carbon-sili-                             (a) The low ductility of cast iron and
        con steel may be converted to graphite.                          malleable iron should be recognized
          (b) (Reproduces 123.2.3(b).) Upon pro-                         and the use of these metals where
        longed exposure to temperatures above                            shock loading may occur should be

                                                                      15
             174-171   0-97--8




                                                                  ADD-54
